Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 1 of 95 Page ID
                                 #:57749




                               EXHrB7T 8
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 2 of 95 Page ID
                                 #:57750




           ^                                                                                 %




                     Wachuri6 Corpofallon                                      Fei    M. Shepard                             n„
     .               lkgal DnFsion .           -                               VSD2 pre5fdent                          t t
                     NC063D                                                    AS5i5t8f7tGegCfdICAW75C'I
                     361 Soulh Colge e5treet       ^                           Dltect Dlaf 709.383448                   r
                     Chartotte. IVC 2B28a                                      Fax 709-383-0649
                                                                               !t°wrr^.stity^ard^s)yvad^ov43.cam
                     Te! 704 374631



    ^
    r '
    r^4R                                                                 ^                        WA^HO'VxA




                                                          November 15, 2405


               yIA FAX AND i1S MAII^
               Robert G . Wilson, Esq,
               Cotlan , Collins, & Ginsburg
               304 South Grand Avenue, 24^ Floor
               I.os Angeles, CA 90071-3134

                         RE:    A-^NV.LA^tTANAI^EfIT.RA'FION

               Dear Mr: R'ilson:

                       Not only do i concur with Mr. lxeldinert's position , but also there is absolutely no
               way that i can produce the documents to you by Eoraotsow. 't'here are three (3) boxes of
               loan documents that need to be reviewed for responsiveness and privilege . Only after
               such a review, can these documents be made available.

                       Also, Ivlr. iaugton will be on vacation from November 21, 2005 through
               November 28 , 2005, Please let me know if you are agreeable to a stipulation as to the
               authenticity of the documents sa that lV1r . I.aughton will not have to appear . Otherwise,
               please let me Imow whoa , Ibis week, you will need Mr. I.aughton to testify.

                                                         very truly yours,

                                                       E'^^^^
                     .                                  fienita M. Shepard




               Cc:    Richard L. Kellner, Esq.
                      Robert M 'Planer, Esq.




                                                                .^                                          CC Q0570

           ^^
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 3 of 95 Page ID
                                 #:57751




                 waenovia CorporRGon                                      Fa'      M. Shepard
                 legal alvision                                           Ywr. , .esldenL
                 NC063D                                                   Assistant General C,auruel
                 Orre wackwwa Center
                 301 south CoBega sveet                                   Dln_ct Dial 704-383^4448
                 Charioae, He 2828s                                       Fax 704-383.Ofi44                       ^
                                                                          fe^ava..shepar^c^wadwvk. mm
                 lei 7D4 37A-6611




    ^^                                                                                      WACSOV^A                               r




                                                    November 15, 2045


            'ETA FAX AND U5 I4XAII.                                                                                            a
            Robert G Wilson, Fsq.                                                                           .
            Cotldn, Collins, 8c Ginsburg                                                                                      :;
            304 South Grand Avenge, 24`^ Floor                                                                                f

            T-os Angeles, CA 90471-3134

                   R^:     Y,axt^tx v. Laitza.ty AtinirRn+t7torr

           Dear ]b1r Wilson:

                   It is my understanding that the Defendants in the above referenced matter have
           filed a Motion to Quash ("Matian'^ seeking to quash the Hurd gamy subpoena (daces
           tecura) served on Bruce i.aughton , an employee of Wachovia Rank, N.A. Without
           waiving any objections it may have to the third party subpoena, Wacltovia Bank, N.A.
           wiA await a ruling from the Arbitration pane] on Defendant 's Motion before it responds
           to the subpoena. Should you wish to discuss this further , please feel free to contact me.


                                                   V^ ^tn^ilyyotusf^,


                                                   l^emta ]v,L SHepar




           Cc:   Richard );.. Kellner, Lsq.                                                            ..
                 Rabett M.'I^rner, Esq.
                                                                                                                      I   '




                                                                                                       CC 005T4
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 4 of 95 Page ID
                                 #:57752




                               EXHIBIT 9
                Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 5 of 95 Page ID
                                                 #:57753

                   RightF'AX                     8/^^+../2007 2:3^       PAC}E 002/s1o5 ^,^ax Sarver
                                                                                              ..


                 ate:; vs. rRStRtcr cav>^'c
                 c^cn^op cn^>^rr+u^                    .
                 rn
                 snn+^a
                 1s-ins-6 ...^... 1s=ai^s'^       /
                 Scan Onty^^. Duck^nod an [,'^i, jG
                 1l[!s cor^sTrrvrss xEysics o^,
                       g^^.^ ^ ,         sY^c^rrt^D
                                                                                              R1^^4RjT1P SEND
                 EA             flN:
                                                                                                                & ENTERED
                 BY             D^UIY
                                                       UNITED STATES DISTRICT GOURT
                                                      CENTRAL DISTRICT OF CALIFaRNIA
                                                  3470 Twelfth Street, Riverside , CA 92601
                                                        CIVIL Ml         -               .

                   Case No.        CV 04-09x49 SCI. ( RNBx)                                             Date: August 27, 2007

            .      Title:          CARTER BRYANT -v- MATTC;t., INC.
            '                          AND CONSOI^.IDATED ACTIONS

                   PRESENT: HDNORABI_E STEPHEN G_ CARSON, UNITED STATES DISTRICT JUDGE
        r
                                   Gina C. Guzrnari                                   Theresa Lanxa
                                   Caurtroom Deputy Clerk                             Court Reporter

        ^          ATTORNEYS PRESENT i'OR EAFiTER                            ATTDRNEY5.PRESENT^irOR MATTEL:
                   $RYANT:                                                                ..

                      Jahn W. Keker, Esq.                                     ,lot^n B. Quinn, Esq.
    ^                 {rrroming session only)                        ^        Michael T, Zeller, Esq.
        I                                                                     .tarp D. Gorey, Esq.

                      ATTORNEYS PRESENT FOR MCA:

                      Patricia Glaser, Esq.
                      Diana M. Torres, Esa.

                   PROCEEDINGS:                  ORDER © ENYING MdTION FDR TERIVtINATING SANCTIONS;
    i
                                                 ORDER DENYING REQI^EST FOR INTERLOCUTORY
                                                 APPEAL, ORDER REQUIRING FINING OF AFFIDAVITS RE
    ^                                            EVIDENCE PRESERVATION

                          This matter is before the Court on MGA's anti Carter Bryant's Motion far Terminating
                   Sanctions, filed on Juiy 24. 2007 (docket #889). This matter was heatrt an August 27, 2047, at
                   which #irr^e h was taken tinder submisslon. The Court has considered the rriaving, oppasitiara, and
                   reply briefs, as well as rite many declarations and other evidence presented'by ^e parties. The
j
^                  MII^IifrES ^aRM 04                                                        Initials of Deputy Cierk, g!
                   CNil. -- GEN                                                              'Flme: f}?J52.
                                                                         ^                   Docket No. 895
   Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 6 of 95 Page ID
                                    #:57754
       r"3.ig^^j^E. x                81:^     ^fl07 2 ::34       PA[3E 0[13/006 ^Fax Ser'v'er
                                         ^^                                       t^l




        Court has also considered me argurrients presented at the August 27 hearing and the swam
       testimony given:by Michael C. Moore, ir,-house counsol for Mattes . Although at the hearing the
        Court-indicated it would defer ruling on the present motion pending further filings by all parties
        regarding their efforts to preserve ®vidence, upon further reflection the Court Sees r^o reason to
        delay ruling onttie current motion.' As-set.fdrth below; the Court DENIES^the motion.

               Based on theft inherent power to sanction far "abusive litigation practices ,' district courts
       may impose sanctions against a party vvho destroys evidence , including the ultimate sanction of
       dismissal . Leon v: IDX Sys#ems Cam, A64 F.3d 961, 968 (Sth CIr. 2Q08). Dismissal is a harsh
       sanctiari , which:.maynonetheless. be.imposed .upontbose partles_who have "engegesr! deftbera#ely
       In deceptive practices. that unctermirie the integrity of judicial proceedings." Anheuser--Busch inc.
       v. lVatur^l Severacte . Cltstritiutors , S9 F.3d ^3T, 348 {$th Clr..'t985}, -However, before Imposing the
       uit[mate sanction of dismissal, district Courts should consider-five factors: "(1) the . public'a interest
       in expeditious resalutiarr of litigation; {2) #he.caurt`s need to rnar}aga its dockets; (3) tl7e risk of
       prejudice to the party seeking sanctions; (^t} the public policy favaring^dlspasition of cases^orr their
       merits; and -(5}. the availability . of^ less drastic sanctions;' !d. Nevertheless , district courts need not
       make. explicit findings regarding each of these factors and, in any event, "a finding of willfulness,
       fault, or bad faith is required for dismissal to'be ptroper." Leon , 464 F:3d 95 'f, 958 (9th Cir. 2006)
       {interrza! quotation marks and citation oniftted).

               "A party's destruc#ion of evidence qualifes as willful spoliation if the party has `soma notice
       that the dorirrnents were potentially relevant to the litigation before they were destroyed."' Id. at
       869 (quoting l^nited Statg^ v: Kitsap Physicians Serv.. 391 F.3d.5;3a, 101}'1 (9th Cir. 2002) {Ending
       no willful spoliation where documents were destroyed in the routine coarse of business )). Neither
       Lean nor Ki sa elaborate on when a party has the "notice" necessary to trigger the duty to
       preserve evidence. However, in In re Naoster. inc. Copyright L.ifigation, 4B2 F.Supp.2d 'I()B0,
       7ct68^(N.©. Cal..Ze06), the dfstriat court presented a persuasive discussion of the standard, first
       . retecting an argument tha# the duty to preserve evidence arises only when litigation is dimminent,"
        and tFren setting forth a [asset standard. Spectftcally, the Nai7ster chart noted that the duty arose
        'when a party should nave known that the evidence may be relevant to future Ittlgatipn," and that
        any sucrr "future litigation" inUSt be "prvtioble," anti nQt merely "possibl(e)." (intemai quotation
        marks and citation omitted).                                                                      -

              Keeping in mind these standards, the Court laths to the categories of evidence MGA and
       Bryant allege that Mattel has despoiled . As articulated by the Court at the hearing on this matter,
       those categories are (1 ) Mattel employees' emaits , (2}. documents maintained on the zees
       document storage system. (3) the delay in producing certain Rule 30(b)(8} witnesses. (4) Garter


                  By the same talcon , upon further reflection , the Court sees na reason to delay ruling on
       MGA's request far interlocutory appeal of the present order. Sgg^28 U.S.C. § i292(b) (stating.that
       certlflcations for interlocutory appeal should be set forth in tine onset to be appealtad). The Court's
       ruling an that matter appears ^.
       MfNUTES FbRM r30                                                           Initials of Deputy Cleric ^,gl^^ __
       GtVll. - G>`Pi                                                             Tlrne; 0?/52
                                                             2                    Docket 1rto. 895




^it^e^r ___.. ^...:-.-.. : _....___                              _     _ _...
^^^^
       Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 7 of 95 Page ID
                                        #:57755
             rZig^tFAk                        S/3^/2GU^ 2;:34     PAGE 0041aa6 ^iax Server
                                                  Jl                                ^a




            Bryant's missing phone rerords,.and (5} Carter t3ryant's missing time records.

                    1n considering the arguments of the parties regarding when Mattel's duty. ta begin to
            preserve evidence arose , the Court determines that November 2^, 2UD3 , marks the date when
            litigation between Mattel and.Bryant became more than merely spec [ilative and in^fact became
            probable . On this date, in-house counsel for Mattel received In discovery . in era unrelated action a
            copy of a cantract between MGA and Bryant that pre-dated 8ryant's resignation frarn Mattel. This
            cantract appeared to Mattel to viola#e certain employment agreements^executed by Bryant and
            Mattel, thus giving rise#a . Qne of the current consolidated acfians _ Although prlorto this date an
       ..   internal investigation may have taissd a suspicion on Mattel 's part that litigation might; arise, there
            was no evidence presented to the Court that Mattel should have known it had a viable daim_
            against Bryant before November 20Q3. C^,,'Fed. R. Civ. P . 1'1(bx3} ("13y presenting to the.caurt .. .
            a pleading ... , an attorney
            :.. is certifying that to the best of the person 's knowledge , in#orrnation; and.betlef, formed after an
            inquiry reasonable under the circumstances , ... the allegations and other factual contentlons^hava
            evidentiary support or; if specifically so identified, are' likely to have evidentiary support after a
            reasonabfs opportunity for further investigation or discovery ....').

                    The Court heard testimony from Mici^ael C. Moore, in -house counsel far Mattel, regarding
            the efforts to preserve email communications and other evidence . Counsel for MGA and Bryant
            cross=examined Mr. Moore at the hearing on tfiis matter; The Court credits his testlrnony. The
            efforts Mr. Moore described regarding the preservation of err ^ails Is reasonable; and certainty does
            not amount to spaliatiorr : Moore described communir<ationswtth specific individuals idenfifted.tiy
            Matte ! as those mosf likely to have infotmatlan relevant to the litigation and efforts. made to
            preserve any evidence Those individuals had ^in their custfldy or control . Ernails not otherwlse^
            archived from the relevant time period - mostly September and.DctobBr, 20Q0 -- had ^Iready been
            deleted from Mattel 's email servers in^accordanae with its email . retention policies. Mattel cannot
            ba faulted for deleting #hese emaiis In the regular course of business before. it had notice of its
            claims against Bryant..

                     In April, 2005, the current litigation took a dramatic turn, wharr MGA fled sui# against Mattes.
            At that time, ^i! Maffei employees were instructed to. maintain any evidence po#en^ally relevant to
            the litigation. Wizen that suit was filed, Mattel^t6ok action to presence ail of its erziaiis, capturing
            emaifa that date back to.[]ecerrtber, 2D04, -They retain these backup tapes to this day. -MGA-and
            Bryant make r^zuch of Mattel's failure to suspend its 90-day auto-delete policy regarding emalis,
            but fail t0 addrQSS two key points: First, Mattel altered only the storage rr^echanlsm for its emails; it
            diet not actuairy deie^te any emails; and second, Mattel, $ number of years ago, informed MGA that
            it was not planning on suspending its 90-day auto-delete policy, and MGA did trot at thgt tirl'te.
            object.

                   As far the Zeus tapes; there Is.slmply no evidence of spoliation. First and forerr^ost, as the
            system tzar been described to the Courl, the system is a cumulat'sve file systerrr that continues to
            accumulate. Tl^a system is still fn operation, does not have an auto-delete #unctian, and

            MItSU^ES FORM 9D                                                        Initials of Deputy Cleric,glg
            CIVIL -- GEN                                                             Time: 0215
                                                                3^                  Docket No. 89;;
   i




^^^;^= ___-____.___.-^-3 ^._.^.w_._..._.._^
     Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 8 of 95 Page ID
                                      #:57756

            :ii ;h ^^' ^                   S!^'2^07 2 : a4            r'^eiDE O^iSlU08 ^ v.x Server
                                                  i                                      .




            information dating back tca all relevant time period in this case may be accessed from it.
            Additionally, Mattel' s in-house counsel testl^ed as to the existence of several backup tapes that it
            can make available to MGA anti Bryant. Finally, outside of pure speculation, there.is na evidence
            that anyone has deleted anything from the Zeus system. Although praduckion issues may still
            remain with respect to these data , preservation of this data, in the Court's view, is simply not an
            issue based an the reoard. before the Court.

                   The delay ± n producing certain Ruts 3D(b){6 ) witnesses is not a proper basis for terrr ^inating
            sarctions in this .case, Na motions to comps[ were bmught to ^com^l these witnesses's
            ^epositians at earlier times,_and MGA.-and 8ryanYs. accusations that the delay ^in producing them
            for deposition is pa^t.of a cover; up af.the destruction of evldertce Is mere•unfounded speci^lat^on.
            Ma reoyer, the Gaurt is mindful that MGPi has bean found by the discovery master to be guilty of
            the very same unexcuseii delay of which it accuses Mattel . See August 14, 2QDT , J. Infante
            Order, at 8 and 9 {attached bo Elie Supplemental Proctor Dec1; as Ex. 'l}.

                  Rfthougi} Mattel is at a lass to explain the missing phone records from the critical month of
            October, 2000, there is no evidence that the records were destroyed.. Marea^er, ether evidanae
            presented by Mattel , especially phone records produced by Bryant that show he was in contact
            with MGA during that time period, suggest that the missing. records wnutd not assist Bryant.

                   The "missing" time records were either never created or were deleted. There is na
            evidence that the [after occurred. In fact; the only evidence on this point, from Mattel's Rule
            30{5)(8) uritness, is that although deletion of #irne records. is passible, he was unaware of any
            Instances of that occurring. Artavla pepv: 118, 170-71.                               _

                    In gum , MGA.and Bryant ,haya felled to present ^r C evidence regarding tF^e "wiltfufness,
            fault, or bad faith " regained to Justify the impositir^n of terminating sanctions .: ^eQn; 464 F.3d at
            958, Marry of MGA and Bryant's allegations ; especially those. raised in connection with Mattel's
            failure #a suspend its auto-delete policy ( portrayed as a wholesale failure i4 preserve smells less
            than 80 -days old }and the availability of .data from the Zeus system , are nothing mare than rhetoric
            laced with hyperbole, t7ther allegations, such as Mattel's motive far delaying certain Rule 30(b){fi)
            depositions, and the destruction of Bryant 's ^ctaber, 2000 , phone records . and-time records, are
            nothing more than sheer speculation , unsupp[^rted by sold ence_ Although counsel impressed
            upon the Court MGA's conviction of the righteousness : of its Douse, such overzealous. conviction.as
            witnessed by the Court at the hearing is rso substitute far^praaf

                   Accorciingly,.the Court DI=NiES MGA's and. Bryant's Motion for Terminating Sanctions.

                    At the hearing, counsel for MGA and Bryant requested the Court certify the present order
            for interlocutory appeal. That request Is D^NIfED. Permissive interlocutory appeals are gavemed


                             When a district judge , In making in a civil action an order not otherwise

            MfAfUTES FORM s4                                                          iraftlais of l]eputy Clerk _g1^
            C1ViL. - Gi=N                                                              Time: 02152
                                                                  4                  Docket No. 896




'fit' F;                   lJ I               ^   .
           wi
         Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 9 of 95 Page ID
                                          #:57757
              f^zghtFAK                     El30/2007 2: ^a            ae^^ 4fl5l^4^ ^ F:^..^c Sex"v'er




                      appealable under this section , shall.be of the opinion that such order involves a
                      controkiing quastiorr of law as to which there is substantial ground for difference of
     f
     ^                opinion and that.an immediate appeal from the order may materially advance the
     ^                ultimate termination of the 1[tlgatlon, he shall so slate in writing in such order.



              •^ Here, there is no "acmtro)lir<g.questian of fa>n^' irr car:troversy. The Isw. is Quite settled.
              Accordingly, certification for interlocutory appeal of the present older is unwarranted.

                     As stated at the hearing, tiie Cae^rt ORDERS -all parties to set forth, in.affdaWt forl'n, •their
              preservation efforts and policies with a=spect to t#1e present litigation an or before September ^a,
              aao^.              •
                      IT !S' SO ORE}ERED.




             MINUTES FDftivl 9Q                                                         fniflals of Deputy Clerk ^Ig
             CNIL - GEN                                                                 7fma: 42152
                                                                   s                    Doaket No. 895




.:
         ^y   !^ ..
         ^.Jk^;^^^T
        Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 10 of 95 Page ID
                                          #:57758
              rZignErt^ri                         s>'^Q>'2dU'7 2:^g             ^AQE 001/006 ^I;ax server
                                                      .` ;                                               ^.^


        From :            Name:         United States ❑ istrict Court
                                        312 North Spring Street
                                        Los Angeles, CA 90012
                         Voice Ptsone: •{218) 894-5474




    i
    '   ^O:              Noma:             Michael Zel.lar
                         Company:
                                           B65 S E'igueraa St,. 1D #:h E1ODX',
                         City/State:       Lec Aage3.08, Cl# 90017-2543
                         Fax Number :      213-443-3iD0


                                                  Ui^LTEb STATES DiSI'FtIC"i COiJRT' .
j                                                 GEN3PAL DISTi^C7' QF 4RLfFOf^R            ^^                ^


                                                                                             ^y^!`^-.m .e e


                                               Automated Document Delirrery Service
                                                         IVorlco pursuant to Rule 77(dJ FRGiv.P
                             The attached copy is hereby served upon you pursuant to Federai Rule of Civii Prgcedure 771dJ.

        ax Notes;
        :ass 2 .04-CV-09049            CARTER HRYAIST V. t+IATTEL INC


^       'ursuant tv Genem/ Order OB-47, Section F, the ^fn/lowing documents shat/6e submitted in the [raditiona! manner. Pen Registers, Search
'        Ihrarranrs, Seizure ili/arrants, 4k/ire Taps, Bond Related Documents, Under Seal and !n-Camera Aocuments, and sU1 Charging Documents
           fComplaints, Informations, lnd/crmontg, and Superseding Charging Dooumentsl. A11 otl^cr documents iilcd in cases unassigned to a
          judge shall tre filed electranicaUy with a copy e-mailed [a the criminal intake mailbox for the appropriate diylsian. 73re proper einai!
                                                             address for each division is as follows:
                                            Wesrem Division: Crim/ntakeCourtDacs-L,QC^cacd.uscourts.gav
                                            SauArrem Division: Cr7mlmakeCourtDacs^SA@cacd.uscouts,gav
                                            Eastern Division: CriminrekeCaurtOacs^fiSCg^cacd.uscourtsgov
             h'or additional infomzatian and assistance, please refer to the GM/bCFpag'B on rho Court tvebsitr at vrww.cacd.uscuurts.gov

                                            Swltah to e-ma11 deilvery and get these documents soeneri
                                                         1'o switch , complete and su9mit
                                                Optical Scanning Enrollment / iJpdate form G-76.
                                              Call 293-894-6474 for help grid free tec^nloai support.                          -

        f you received ttris document in en'ar becaux the attomey with whom. this document is directed is no loner the attomey on the easo,
          a Notice of Change. of .4ttamey lnfermatlan, form G-6, must be fled. If them era other cases which you ve received documents for
        which you an: no longer the attorney, separate notices must be' filed for each case. Failure to do so wi!! result in the continued sending
                 of documents to you. Form t3-S is available do the cqurt`s website at www.cacd.uscqurts,gov Drat the Clerk`s Office.

        'ate and time of transmission:           Thursday, August 34, 20D7 2: 34:D4 PM
        :umber of pages inoluding this cover sheet: D6




        p'    [[ ^^++



        ^^u^ .._.._^.____.._.^. ^ --^_. _r^__
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 11 of 95 Page ID
                                  #:57759




                               ExHrsrT r o
       Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 12 of 95 Page ID
                                         #:57760




                                                 q^lll n emar^ue^ friar rawyers




                                                                                                                                             WRITER'S DIRECT DEAL TdO.
                                                                                                                                                        (z13) 443-3675

                                                                                                                                         WRITER'S tP1TERNET ADDRESS
                                                                                                                                     taniakrebsQquinnemanuei.com
                  November 2$, 2005



                  Robert Wilson -
                  Cotkin Collins & Ginsburg
                  300 South Grand Avenue, 24th Floor
                  Las Angeles, CA 90071



                  Dear Bob:

                  As you know, this firm represents Mattel in ongoing litigation against Carter Bryant and MGA                                                           ..
                  that involves, at least in part, events pertaining to Bratz dolls , including the conception, design,
                  development and marketing of Bratz dolls.

                  We are aware that your client is in possession ofdocuments that fall into the following general
                  categories, among others: (I) internal MGA emails dating from the mid-I990s through 2005; {2}
                  emails between MGA employees and individuals outside MGA dating from the mid-I990s
                  through 2005; {3) emails between your client and various individuals regarding the timing of
                  Bratz development in 2000; and {4} other emails between your client and Isaac Larian.

                  Documents that we are aware are in your client's possession, custody and contro! which are
                  relevant to Mattel's litigation include -- but are in no way limited to -- the following:

                      •         An interim! MGA email dated November I6, 2000 that summarizes "Iast week's meeting"
                                with K-Mart and references Bratz.

                      •         An email from Fred Larian to Isaac Larian dated November 22, 2000 mentioning prices
                                fora "Bratz Fashion Pack."

                      •         A November 22, 2000 chart describing changes to the Bratz Doll Assortment and Bratz
                                Holiday doll.

                                                4GIpR pRiBRYpI BrQapBft OrlYEr 8 hBdpes, Ilp
                                                Rb5 Suu[ L Figueroa Srrecc , 0odi Fluor. L-css Angeles . California 90007 j "rs.0- x0 i-fxq-7707 vox ' 0 j-lxq-oL9 j
                                                Boy ^rhird Avenue. n0h rluor, New York, New York [oou f rra. x [x-7ox•Rroo Fox xix-yox-Bxoo
          ^^/1 ^ , xo0 Sansumc Strcci , (, t10 F1nur, Sxn Francisco. Cali(nmia 9q[oq ^ rht. q[f-9BC+-57oo^rnx .NS•98^•5707
^^^^^^^               ^L,fj          __ -_ _ S55 •lu•tn l)u1101[in l )rivr, 5vitc SAO . Redwood Sf[ures, C^leFurnia 9goC5 ^ ' rui. GSO.6io - gToo t^nx C,Sn - Gxo-g555
                                            ^" of-oxS Manimu Drive. SuiOr X, Indian Wells , Cxliforn[ a ryxx0o ^ 2'e0. yGo-j4f-47f7 rtix 76o- )q9-xg0q
                                                9gg5 Lastgate Mxl1. SuiOr xoo , tiara   Dicga, California 9x020 ^ Tr. t. NSR-80x-j0o7 cox 858-802-jjjG
                     ^3^
PAGE                      V'y                 --
   Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 13 of 95 Page ID
                                     #:57761




                •    An August 19, 2005 Fred Larian email to Scott Bachrach {at scottbac@aol.com)
                     inquiring about the first contact between Mr. Bachrach and MGA concerning Bretz, as
                     well associated .comrnunications.

                •    An August 22, 2005 Fred Larian email to Coileen O'Higgins
                     {colleenohiggins@msn.cvm) asking about Carter Bryant and Bretz licensees , as well as
                     associated communications.

                •    Communications with Bin Ton regarding Bretz, including without limitation those
                     relating to actual and/or draft Bin Ton declaration(s) regarding Bretz.

               •     Communications with Michael Lingg regarding Bretz, including without limitation those
                     relating to actual and /or draft Lingg declarations} regarding Bretz.

               •    Communications with Jennifer Maurus regarding Bretz, including without limitation
                    those relating to actual and/or draft Maurus declarations regarding Bretz.

            ^•      A December 21, 2000 email from Isaac Larian to Paul Warner, with copies to Dennis
                    Medici and Fred Larian, that mentions TRU purchases for products including Bretz.

            •       An August I, 2005 email from Fred Larian to Victoria O'Connor regarding Bretz
                    licensees, as well as associated communications.

            •       An August 1, 2005 email chain between Fred Larian and employees at dng.com asking
                    about Bretz, as well as associated communications.

            •       An August 7, 2005 email from Mark Fragel answering questions regarding Bretz
                    materials shown to Paulette Frim in November 2000.

            •       A document entitled "Analysis of Design, Packaging & Mock-Up Expense for 6 Months
                    Ending 6/30!99 and 6/30100" attached to an August 11, 2000 email from Dennis Medici
                    to Isaac Larian and Fred Larian.

            •       A May. 2^1, 2000 Fred Larian email to Isaac Larian which asserts that Isaac had instructed
                    Fred to withhold the originals of documents that had been located in connection with the
                    Fireman`s Fund case and "to tell him [an MGA attorney] we could not find the originals."

            •       An August I4, 2000 Isaac Larian email to Medici, Warner and Fred Larian that
                    references cost tracking sofZwaze used by Mattel that Isaac Larian says he learned about
                    from interviewing Mattel employees.

            •       Emails between Isaac Larian and Jahangir Makabi requesting that Mr. Makabi sign an
                    affidavit that he lost his original stock certificates despite Makabi 's protestation that he
                    never had any such certificates , as well as associated communications.

           •        A January 3l, 200! email from Isaac Larian to Atl in Marketing and Product
                    Development, Medici and Didi Brown asserting that he (Isaac Larian) had been




^>^^^           ^3^
  Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 14 of 95 Page ID
                                    #:57762




                  diagnosed with "Alzheimer's" and denying in substance that he ever said anything that
                  cannot be confirmed by a writing.

             •    A November 15, 2000 Paula Treantafelles email to Fred l.arian that says MGA will be
                  selling a Bratz backpack and states that a design for it is attached.

         As you also are aware, the MGAIBryant litigation is currently stayed pending an interlocutory
         appeal to the Ninth Circuit on jurisdictional issues. When discovery resumes, we plan to serve
         your client with a subpoena for the production of documents that include without limitation the
         documents listed above as well as such other documents in his possession, custody or control that
         refer or relate to the design, development, marketing, sale and/or any other activities regarding -
         Bratz prior to dune 30, 2001. You and your client are obligated to ensure that your client
         preserves all such documents in the interim. Moreover, you and your client have an obligation to
         retain alt electronic copies or versions of such documents that he has in his possession, custody
         or control and their associated metadata.

        lfyau disagree with our view on the preservation obligations that you and your client have, or if
        your client has taken or intends to take any seeps to dispose of or to otherwise dispossess himself
        of such documents, please let me know immediately so that we can seek Court intervention on
        the matter. Thank you in advance for your anticipated cooperation.



        Ver-y^,`truly    s,                                                                                    _,




        Tapia M. Krebs




EXN f 6lT^ __
SAGE          ^^^
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 15 of 95 Page ID
                                  #:57763




                               EXHIBIT 11
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 16 of 95 Page ID
                                  #:57764




                 THIS EXHIBIT XS FILED UNDER SEAL

                 PURSUANT TO PROTECTIVE ORDER
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 17 of 95 Page ID
                                  #:57765




                               EXH1BrT 12
      Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 18 of 95 Page ID
                                        #:57766

^,:               ,r                                                                     ;: ^E^-E^^'^E^ ^;
                                                                                              s^^ ^ o zo^7
                          1      DA^..E'1V1. CENDALI (admitted pro hac vice}
                                 dcendali{c^ornm.com^
                         2       DIANA 1GI. TORRES (s.a. ^i6228^4)
                                 dtorres {{c^ orrnn. coin
      .                   3 ^. JAN1E^`P. JENAL (s:s. #. isolgo)
                                 j enal axnnd.com .
                         4       ^'M^VENY`& MYERS LLP                               .
                                 400 Soutl# Hop
                                              p,e Slxeet .
                          5      Los Angeles, C:A ^ 94071-2899
                                 TeIephone:: 2.13 43'0-6000
                         6       Facsuni)e: 02133 430-6407
 ..                      ^,
                              PA.TRTCrA GL:ASER (s.B. ^ss^s
                         8 .. CHRISTENSEN,. GLASEg., F
                              JACOBS, VVEII. & SHAPIlIO LL
              .                 '10250 Constellation Boplevarc^, 19th Floor
                         9 i. -Los Angeles, CA. 90067                                    .
                        1Q ::T'ela^hone : 310 '553-3000
                                 Facsinv^Ie :     3103.557=9815                                   .
                        11- .    Attorneys for.MGA Entertainment, Inc..
                       ^12                             -     UNITED STATES DISTRICT COURT
                        13                                 CENTRAT , DISTRICT OF CALIFORNIA
 ^-                    14
                       15 . CARTER BRYANT, an individual,                  Case No. CV 04-09049 SGL ERNBx)
                                                                            consolidated with CV 04-9059 & 45-
                       16                                  Plaintiff,      ^727)
                       17                  v.
                                                                               DECLARATION OF DAPHNE .
                       18       MATTEL, INC., a Delaware
                                Corporation,                                   GRONICH IN RESPONSE T4 --
                       19                                                      COURT' S REQUEST FOR
                                                           Defendant.          INFORMATION REGARDING
                       20.
                                                                               DOCUMENT PRESERVATION
                       '21
                       22                                                  Discovery Cu#-off- March 3, 2008
                                                                           Pre-trial Coxaference :. June 2, 2008
                       23                                                  Trial Date: July 1, 2008

                       24                                                  Judge: Hon: Stephen G. Larson
                       25
                       26
                       27
          .            28
                                LA2r841486. l
                                                                                                        oxorr^ct^ ^a^cz.
                                                                                                CV 0409049 SGF. (RNBJ{)




                                                PA^^          ^Jy
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 19 of 95 Page ID
                                  #:57767

   ,^




                               ..    ^, Daphne Gronich, declare and state.as follows:
                                    ^1.      1 am General Counsel for^MGA Entertainment,:Inc. ("MGA")
                 and a resident of the state of California. All of the facts'set forth^herein are known
                 to me personally; except for those stated.on information and belief add if called as a
                 witness, I could and would testify competently thereto,


                 Document preservation Communications
                                    2:       I have been MGA's General Couxisel since:December, 2003,.and
                 have had oversight responsibility for^MGA's legal respozise to this Litigation since
           9
                 ;its inception.          Shortly after Mattel sued Carter Bryant in April 2004, even though
          10
                 MGA had not been named as a defendant i.n-that suit, I conn^unicated to MGA
          11
                 employees that Mattel had f led suit against Carter Bryant alleging that he had
          12
                 breached his. emplo^naent agreement with Mattel . I advised 1ti1GA's employees that
        ^13.
                 MGA might at .sorne. point become involved in the litigation,. and that it would be
         14
                 prudent for MG,A to presence aIl documents that might be potentially relevant to the
         15
                 claims at issue in the litigation. In addition to these initial communications, both I
         16
                 and my colleague, Rich Daniels, one of MGA 's: other in-house attorneys, repeated
         17
                 that advisement at numerous one-•on-one and griaup meetings (including those held
         18
                in Isaac Larian ' s office at MGA's former location on Schoenborn Avenue in North
         19
                Hills) involvizig senior executives, creative staff members, sales and administration
         20
                staff and others including lT personnel. These communications took place
        '21 ^
                throughout the late-Spring and Summer of 2004.
        • 22.
                                    3.       In addition to those communications; the legal department began
        23
                locating and collecting documents and materials that might be relevant to the
        24
                lawsuit against Mr. Bryant. In thatregard we were aided by the company's
        25
                .previous efforts to collect certain. documents and•materials related to the origin. and
        26
                initial development of "Bratz," due to •MGA's involvement in prior, unrelated
        27
                litigation (that did not challenge MGA's ownership of "Bratz"). As a result, we
        28

                                                                 -l-                            GItONICH DECL
                LA2:841g80.1
                                                                                        CV 0404449 SGL (RNI3X)




                           ^^^ ^                 ^3
          Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 20 of 95 Page ID
                                            #:57768

                      .^                                 -
fi


                                   1    were able to preserve potentially relevant documents and materials from MGA's
                                  2     employees izT California and its related company in-Hong Kong, including Isaac .

              .                    3    Larian, Paula Treantafelles (now Garcia), Dave 1Vlalacrida, Victoria O'Connor,
                                  4 ^ ^. Becky Harris, Charles O'Connor, Aileen^ .Stoz'er, Mercedeh Ward, Marcy George,
          .                      .S     ^Shirin^ Salemnia , Edmond Lee; Dennis Soai, Stephen: Lee, SainueT Wong, Cecilia
                                  6 Kwok and Franki Tsang.
     ..                           7.: ^. .^.  4      Yn addition to the . comrrTUnic^tions described above, in the weeks
                                  $^    following. the filing of Mattel's lawsuit against Carter Bryant, both I and' Rich
                                  9     Daniels and/or our outside counsel , spoke with and/or confirmed that MGA had the
                  .            ^ ^ 10.^: ^ documents ofkey^potential witnesses , including Isaac Larian , Paula Garcia,
                                 l I ^ 'V'ictoria O'Connor, Charles O'Connor, Aileen Starer,lVlercedeh Ward , Marcy ^ .
                                 12 ; George, Dennis Soai, Shinn Salemnia, and Dave Malacri .da. During those
                                 13'    conversations , we again personally directed MGA's potential witnesses to preserve .
                                 14 . ,their potentially relevant documents.
                                 15 ^                   S.   'As a result of those discussions , MGA's potential witnesses
                                 16 ^ were given express direction by myself, Mr. Daniels , or MGA's outside counsel to
                                 17     preserve their relevant paper documents and to assist, as necessary , MGA's IT
                                 18     department in presezving, their emails and electrpnic documents . We also directed
                                 14 . the IT department to segregate and preserve emails from MGA employees who:had

                           -     20 . since left the company , which former employees included some^who had also been
                                 21 . previously employed by Mattel prior to working for MGA.
                                 22                     6.   In the^years since the litigatii^n began, I have sent out reminder
                                 23     emails to MGA's employees reminding them o^'their continuing obligation to
                                 24     preserve ^docurnents potentially relevant to this litigation , including reiriinder emails
                                 2S     that I sent to all MGA .employees on April 14, 2005 , December 5, 2006 , and 7uly 5,
                                 26     2007 . In addition, other merr^bers of the legal department routinely advise the staff
                                 27     members with whom they work to retain relevant documents . For example, Sam
                                 28 ^ Khare, an MGA in-house lawyer who works closely with the product design teams,
                                                                                                                   GTtOIVICFT D^CL
                                        LA2:841460.1                              _^_
                                                                                                           CV 04-09099 SGT, (RNB7C)




                                                  ^^^            `^^
    Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 21 of 95 Page ID
                                      #:57769



a




             1     routinely reminds people in the design groups to^retain docurrrents.                             {

             2.                   7.^   After we became aware of Mattel's claims against MGA, on

           .3      December 5, 200b I serif an ^mail.to all MGA employees.reminding them of their
            ^4     ,ongoing obligations regarding Mattel' s suit against Carter Bryant and inforini-ug
             5     '.them of fihe nature of the new clai ms against MGA, including the allegation of trade
             6     secret theft. I rerni.ncled MGA's employees of I^IGA's policy that its employees

             7     must not bring with therm to MGA the property or confidential or proprietary -
             8     information of their former employers, and inst^ctod them to .preserve all

             9     documents and materials relevant to these new ^laizns as well.

           10                     8.    In addition .to that communication, we also began collecting and

           11      segregating the docuriaents of all former Mattel iemployees, including those who

           12      were no longer employed by MGA.
           13                     9.    While MGA is ready and willing to produce ifs communications

           14      for the Court's review, I have been informed by 1VIGA's outside counsel that Mattel

           15      -has talten theposition,that "it caxun.ot agree" that MGA.'s production of those
           16      communications would not constitute a waiver of fine attorney -client privilege.

           17      Attached hereto as Exhibit 1 is a true and correct copy of a letter from Mattel's
           18      counsel , Jon Carey, to MGA's outside counsel,:Bill Charron, asserting that
           19      position. If the Court wishes to see such communications and agrees with MGA

           20      that such production would not constitute a waiver of the attorney-client privilege,

           21      MGA will produce its communications within 24 hours of receiving the' Court's

           22      guidance.                ^                                  ^                      .^        .
           23
                   Paper Document Preservation
           24
                                  10.   MGA does not riow,.and never has had a policy to routinely
           25 ''
                   destroy paper documents. In particular, since this litigation began, MGA has
           26
                   expressly retained paper files in the Creative Departments, character art files,
           27
                   .vendor files, executive files and others.
           28^
                                                                                             GI20I+1^CI^ AECL
                   Lp2:641480.1                                 -3-
                                                                                     CV 44-49Q49 SGL (RNBXj
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 22 of 95 Page ID
                                  #:57770




          1   Email Preservation         -                                    .
          z                   11.   Since before.2004, MGA has used Microsoift's Exchange email
          3   system and the Qutlook email client to provide ema:^ support to^the company.
         "4   MGA-does not have,. and never has had, a policy to auto-delefe , emails; 'to.the .
          5   contrary, employees are advised #o retain work-related ezu;ails. `I am informed by
          6   our IT staffthat employees may, and often do, create email.storage files. {kaown as
         7    "pst" files} to which they cam move emails from their mailbox: on the Exchange
          S   server. MGA's practice is to preserve those pst^,files, and it has done so.
          9                   12.   MGA's process for preserving those emails has become-more
        10    automated o^?er time as our IT department has grown in its sophistication to meet
        11-   the needs of the company, particularly as MGAitself has grown.and expanded. 1
        12    am informed that in January of 2000, MGA only had around eighty employees, .
        13    whereas by January of 2004 that nrunber had grown to 196 and by January of 2007
        14    i# was approxianately 900 domestically and 670internationally, including
        15    subsidiaries.
        16^                   13.   In 2004, when an employee would leave the company; the XT
        17    department copied the pst files from the employee's corriputer and burned them
        18    onto CDs that were then retained by fine IT department. I am informed that in           .

        19    September 2005, tha system was improved so that instead ofhaving to copy those
     . . 20   pst files onto CDs, the IT department was then,able to preserve those pst files on a
        21    network servei.
        22                    14.   Emails in the departing employee's mailbox on our Exchange
        23    server are retained on. the Exchange server. The IT department's.network
        24,   administrators change the access permissions on that employee's mailbox so that
        25    only the administrators can access it. In that way, those ernaiis are retained and can
        26    be accessed when necessary with proper authorizataoza.
        27                    15.   In the past year, an even more automated process was put in
        28    place to preserve and manage email. In January 2007, the IT department began
                                                                                 cROrr^cx nEC^.
              r.r,2sa^asn.i                            "^"                        CV (k^D9049 SGL {RNBX)
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 23 of 95 Page ID
                                  #:57771




    .^       ^ ^1.     using a system known as "Archive One" which I am informed autamatically
                .2
                       archives ^emai.ls oldex than 90 da^+s once a user's mailbax^ exceeds a set size
                3.     threshold. In ^^is way, access ^to older emails is retained, but the size of.the user's
                4^ mailbox files on our Exchange server is controlled..
                5                     1 fi.   MGA's Exchange email server is also backed up on a nightly

         .      5      basis as a nr^eans of disaster recovery. Historically those backup tapes had been
                7      rotated on a 90-day cycle. However, because we have no policy of auto-deleting

                8^     eznails and: because we presezve the mailboxes (and pst files) of former employees,
                9      unless. an employee violates MGA's policies, and the legal department's express ^ -

               1a      andrepeated directives to preserve email, no email would be lost by recycling those

               1.1     backup'tapes.                                     '
               12
                       Other Electronic Document Preservation
               13
                                      17.     ,Employees are encouraged to store other electronic documents
               ^14
                       (such as Word documents or Exeel^spreadsheets) on a shared network file server:
               15
                       Some erriployee^ may also save electronic documents iri the "My Documents"
               16.
                       ^falder on their computer. As was the case for emaiIs saved to local pst files, going
               17
                       back to 2004, if an employee left fine company the contents of the My Documents
               18
                       folder was also copied onto CDs and preserved. Again, when the system evolved in
    .^         I9
                      ;,September of 2005, the My Documents'folder was preserved onto a network server.
              20
                       Since March of this year, the entire hard drive itself is preserved by the lT
              21 ^^
                       department.
              22
                                      1 S.    ha. addition to those preservation methods when an employee
              23
                       would leave the. company; f Ies saved to the shared network file server would be
              24
                       retained indefinitely and protected by nightly backups..l am informed -That since
              •25
                       #his litigation began in Apri12004, MGA has not suffered any server failures that
              26
                       resulted in the lass of data..
              27
                                      19.     1n April of this year, another automated capability was brought
              28
                                                                   5                  ^'^           cxoNrc^: ^n^c^,
                       rnz:sa^aso.i                                                         CV 04-09049 SCxi. (iLNBX)




                            P^^^                ^^^
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 24 of 95 Page ID
                                  #:57772
                                                                                      i-.




         1   online. MGA has naw; installed an automated process that daily copies the
         2   contents of the My Documents folder and any pst files that are saved. in the user's ^ .
         3   "Exchange" folder to a networrk file server.
         4               ^      20.             Within days of learning of Mattel's intent to bring claims                        .'
         5   against MGA, MGA made, and retains to this day,'a complete backup^of all of its
         6   servers.                      ^                                      ^     ^                     ^.
       ..7
         8 ^ Preservation of Data from Isaac Larian 's Coj^nputer                                               .
         ^                     ^21.             I am informed by our IT department tha#.there are always two
        1^   laptop computers assigned to Mr. Larian -the gomputer that he is actively using,
        ^1   and a second, "mirrored" spare computer. Whenever Mr. Larian docks his
              computer into the MGA network, any changes ghat have been made to the files on
        12
        1 ^ -his- computer are automatically "mirrored" or copied to .the spare: In that way, any

             potential data loss is minimized.
        14
                               22.             I am also informed by our IT department that when Mr, Larian
       15
       ^^    needs to zeplace his laptop, the IT department starts with the, mirrored spare.. If the
             haz-d drive on Mr. Larian's old laptop is still operable, they make sure that the files
       17
             on the mirrored spare contain the most up-to-date information that can be read from
       1S
             the old hard drive. ^Uhen all of that.data has been copied onto the spare, it is
       19
             provided to. Mr. Larian and a new laptop becorr^es the mirrored spare.
       2^
                               23.              Personal computers at MGA frequently contain a great deal of .
       2l
       22    MGA's confidential and trade secret information -and this is especially true for
             Mr. Larian's laptop. Tam informed by our IT department that prior to instituting
       23
             the present policy of retaining computer hard dives, whenever a computer that Mr.
       24
             Larian had' been using was to be retired from his use ^ whether due to damage or
       25
             simply the need to pz^ovide newer technology -the hard drive was backed up to one
       26
             of the IT department's archive servers so as to preserve the data that was^on the
       27
             hard drive in a secure location. Once the data had been safely preserved, the IT
       28

                                                      ^                     _6_             ^   - ^         ^   GRONTCHAECL
             ^saiasa.i
                                                                                                      • CV 04,09{}49 SGL (RN^X)

               ^t^n:         ._._._._.__-..._     _._...^-------....^r...


               ^^^^                            ^^
    Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 25 of 95 Page ID
                                      #:57773




     -                   .. i :. departzrfent: tl3en r^for^atted the hare} drive in such a wad thatt the coi^£identi.^.:axad
. _ .:                     ^ 2 : fi^ade secr^ data was no longer present a^ the haxd` drive. ..^'hus,^a^thaugh tlie^hard:^
     . ^- -              ^, ^ 3 . ^drive^laad :been "wilaed" before being put back into service'or disposed of,.^none of
                               ^ : ^e data had been lost to MGA as.it remained preser^red an-one Q^the Ti'^                      .^'.
         '                ^ , 5 ^ department' s. archive servers. Taclay; we would simply^retain the haird give from - .
                                                                                                               .
                              ^ I!^`x'. Larian...
                             7              ^           ^                                                 -
                                       Othiir ^arporate >Qata 1L'reset^vatio^                                       ^               - ^ ^.
                                                ^ 2^.        Tn 2004,N1GA:used an' erzterprise accountir^g .package known as
                        . ..- ^g.
                               ^^^                          _ ..              ^           -
' : .- -                      ^0 ^ Great Plains . 'In.Janua;ry 2006,1VIGA Converted to anewer system l^nown as.               .
                                                                                             -
.        :.                   i, i ^ ..'A^apta and aii;ez that time ; ali: r^ew business transactions. were processed an #he^
                  •       .i2- ^: Axapta ,system, Haweve:r.,-MGA b.as xetained the Great Plains . system. and.I am.. ^ -
   - ^-          . - ^. ^ ^3:      informed that na^data was"lostin^the con^+ersion , Accaxciit^^.y, IVIG.A is able to
                      .: .. ^4     retrieve iransaation data.as.needed going bacle ta^atieast ^i^99^..^-                                 • :.        :^
                                                                            ..   ^                ^     .. -                v               ..
                          .l5
                                                       I declare under penalty^a^'perjury under the`la^ws of the'United.States                   .
                          ^7       that the foregoing ^ s ixae and correct.                -
                                                       lxecuted this 10`x` day of-September, Oa7,.at Van Nu , Cali£grnia.
                          18                                                                                       ,.
                                                                      -             .
             -            ^ 9^            ^
                         - 20^     ^          ^    ^                                              Dap ne Gronic                      .

                                                                                                                -
                          22
                          23
                                                                   .                       ^
                          24                                                                                            .



                                                       -                                                                    --
                          27


                                  LA2;SgfA8U.l                          ^            ^7-
                                                                                                                        . o^a^vi^^ AFCZ.. ^^
                                                                                                       .^ ^CVQq-o9D49^sC3I ,(LtN[3X}



                                        ^^^^ ^               ^^
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 26 of 95 Page ID
                                  #:57774




                               EXHIBIT 13
         Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 27 of 95 Page ID
                                           #:57775
                                              .;^
                                              ^^

                                                                                                                    I
                        1 QUINN EMANUEL URQUHART OLIVER & HEDGES, LLP
                           John B. Quinn (Bar No. 090378}                                              .
                        2   ohnquinn qulnnemanuel.com .
                           ^ ichae l T e ll er (B ar N o. 196417 }
                        3  (michaelzeIier^quinnemanuel.com}
                           Jon D. Corey ( ar No. 1$5066
                        4    oncorey@quinnemanuel.eom
                           Ti mothy L . Al ger (B ar No. 16 303) '
i                       5   timalger(^quinnemanuel,com} .          '
.                         $65 South Figueroa Street, 10th Floor
                        6 Los Angeles, California 94017-2543
                          Telephone: 213 443-3000 .
                        7 Facsimile: ^213^ 443-3100
                        S Attorneys for Mattel, Inc.
                        9
                       1p                           UNITED STATES DISTRICT COURT
                       ^i                       CENTRAL DISTRICT OF CALIFORNIA
                       12                                 EASTERN DIVISION
                       13 CARTER BRYANT, an individual,               CASE NO. CV 04-9049 SGL {RNBx}
                                                                      Consolidated with
                       14              Plaintiff,                     Case Nos. CV 04-09059 & CV OS-2727
                       15        vs.                                  Hon. Stephen G. Larson
                       16 MATTEL, INC., a Delaware                    MATTEL ENC.'S CORRECTED
                          corporat i on,                              PHASE O^IE WITNESS LIST
                       17
                                         Defendant,                   Phase l:
                       18                                             Discovery Cut-Off January 2^^ 8008
                                                                      Pre-Trial Conference: May ,
                       19 AND CONSOLIDATED ACTIONS                    Trial Date:           May 27, 2008
                       20
                       21
r^       ^
                       22                                                                          -
                       23
                       24
    ^                  25
                       26
                       27
                                                                      ^                                        .
                       28
     07209^Z4418A5.7                                              1
                                                                            MATTEL, INC.'S PHASE ONE WITNESS LIST
      Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 28 of 95 Page ID
                                        #:57776

                                                                                         ''


                      1        TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                      2                   .. Mattel, Inc. ("Mattel") hereby identifies the following witnesses that it
                      3        intends at this time to "call at trial, other than those witnesses contemplated for
                      4 impeachment or rebuttal. Mattel reserves the right to present these witnesses'
                      5 testimony through prior deposition or other testimony to the extent a witness is

                      6 unavailable to provide live testimony at trial or such testimony is otherwise
                      7; admissible. Mattel reserves the right to call any witnesses included in the witness

                      8 Iists of other parties to this action and any. amendments thereto, including any expert
                      9 witnesses. Mattel reserves the right to supplement or amend its designation of
                     10 witnesses and their testimony.
                     11
                     12                        Witnesses Mattel Intends to Call In Its Case In Chief
                     13              1.       Nana Ashang
                     14              2.       Kerri Brode
                     15              3.       Carter Bryant

                     16              4,       Ana Isabel Cabrera
                     17              5.      Beatriz Morales
                     18              6.      Elise Cloonan
                     19              7.      Mel Woods
                     20              8.      Robert Eckert
-•a     M-n
        ^       21                   9.      Lissa Freed
n^      va
        =.^ 22                       10.     Rachel Harris
                     23              11.     Andreas Koch

'^                   24              12.     Farhad Larian
                     25              13.     Isaac Larian

                     26              14.     Steven Linker
                     27              1 S.    Maria Veronica de Souza Marlow
                     28              16.     ^ Liliana Martinez
  D72D4/244i845 .7                                                         _2_ , . ,

                          I^                                                           MATTEL, ING. 'S PHASE ONE WITNESS L15T
               Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 29 of 95 Page ID
                                                 #:57777
                                                  x,,^..,
                                                                                    ..^5
                                                  ^;



                                 I   17.    Jennifer Maurus
.                                2   1$.    Carl Meyer
                                 3   19.    Victoria O'Connor
                                 4   20.    Sarah Odom
                                 S   21.    Denise O'Neal
                                 6   22.    Jeff Weiss
                                 7   23.    Jacqueline Ramona Prince
                                 8   24.    Anna Rhee
                                 9   ^25.   David Rosenbaum
                                10   2b.    Maria Elena Salazar
                                11   27.    Maureen Tkacik
                                12   28.    Lisa Tonne
                                13   29.    Paula Dianthe Treantafelles (Garcia}
                                14   30.    Anne Wang
                                1S   3I.    Sandy 'Yonemoto

                                16   32.    Kitty Hamrnons

                                17   33.    Xvy Ross

                                18   34.    Cassidy Park
        .^        r^            19   3S.    Bryan Armstrong
    ^'
    ern           ^ 20               3 6.   Margaret Hatch--Leahy
                  w
                  ^'            21   37.    Samir Khare
                                22   38.    Sheila Kyaw
                                23   39.    Edmond Lee
                                24   40.    Mark Menz
                  6

                                2S   4I.    Valery Aginsky
                                26   42.    Lloyd Cunningham
                                27   43.    William Flynn
    .                 ^   ^     2$   44.    Frank Keiser
             o7xognaa ^ aas.7
                                                                                   MATTEL, INC.'S PHASE ONE WITNESS GIST
          Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 30 of 95 Page ID
                                            #:57778
                                               ,^
                                               ^'                             ^'



                              1   45.    Lee Loetz
                             2    46. -Ralph Oman
                             3    47.    Walter Rantanen

                             4    48,    Carol Scott

                             5    49.    Michael Wagner
                             6    S0.    John Alex
                             7    Si.    Bruee Stein
                             8    52.    Kenneth Hollander
                             9    53.    Angel Gomez
                            10    54.    Robert C. Lind
                            i1    5S.    Heather McComb                 '
                            12    56.. Nicholas Mirzoeff
                            13    57.    Denise Van Patten
                            14    5 8.   Ginger McRae
                            15    59.    Christopher Palmeri
                            16    60.    Jill Nordquist
                            17    b 1.   Arnold Artavia
                            1$               'Witnesses Mattel Ma_y Call In Its Case In Chief
                            19    62.    Joan Gaynor
^         ^
^         ^                 20    63.    Rene Pasko
r^        ^
I.        ^                 21    64.    Pedro Salazar
                            22    6S.    Rodney Palmer

^^                          23
                            24^
                                  66,
                                  67.
                                         Richard De Anda
                                         Kami Gillmore-Bryant
                            25    68.    Robert Hudnut
                            26    69.    Cynthia Pierce
                            27    70.    David Dees
                            28    71.    Wendy Feinberg
     0 720912 44 1 84 5.7                                              -4-
                                                                  ^'         MATTEL, iNC: 5 PHASE ONE WITNESS LIST
              Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 31 of 95 Page ID
                                                #:57779

                                                                    ^,,



                              1   72.   Schuyler Bacon
                              2   73.   Robert Best
                              3   74.   Sandra Bilotto
                              4   75.   Ann Driskill
                              5   76.   Brooke Gilbert
                              6   77.   Daphne Gronich
                              7   78.   Sarah Halpern
                              8   79.   Rebecca Harris
                              9   80.   Martin Hitch
                             14   $1.   Hoi Hoffman-Briggs
                             11   82.   ^ Don Howarth
                             12   83.   Julia Jensen
                             13   $4.   Fred Kawashima
                                                                                                           i
                             14   85.   Cecelia Kwok                                                       I
                             15   86.   Steven Lee
                             16   87.   Victor Lee
                             17   88.   David Malacrida
                             18   89.   Dennis Medici
    ^^          ^            19   90.   Amy Myers
    '^
    `'^'        cs^          20   91.   Joyce Ng
                -=-^
                             21   92.   Charles O'Connor
                             22   93.   Kislap Ongchango                                                   I
    '^
     ^           (^          23   94.   Joni Pratte
                 v_          24   95.   William Ragsdale                          .
                             25   96.   Wendy Ragsdale
                             26   97,   Lon P. Ross
                                                                                                           i
                             27   9$.   Bllis Stern
                             28   99.   Maureen Tafoya
'          OT2Q9/1941895.7                                   C_
                                                                  MA'CrEL, CNC.'S PHASE ONE WITNESS LIST
     Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 32 of 95 Page ID
                                       #:57780
                                      ^^
                                                                  ^^^'



                    1      100. Frankie Tsang
                    2      101. Morad Zarabi
                    3      102. Chris Sesta
                    4      103. Patxica Glaser

                    5      104. Scott Gizer
                    6      105. Alisa Morganthaler-Lever
                    7      106. Douglas Wickham
                           107. Keith Jacoby
                    9      108. Kenneth Lockhart
                   10      109. Carmen Monteagudo
                   11      110. Jessie Ramirez
                   12      111. Neil Friedman
                   13      112, Lucy Arant

                   14      113. Michael Moore
                   15      114. Debora Middleton
                   lb      115. Ernest Dutcher
                   17      i 16. Robert G. Wilson
                   18      117. Alan N. Goldgberg
                   19      118. William Conkle
                   24      119. Mark Kremer

     -:^           21      120. Bryant Delgadillo
                   22 '.   121. Larry Feldman
I^                 23      122. Robert Turner

^ \N
                   24      123. Richard Kellner
                   25      124. Ronald Brawer
                   26      125. Carlos Gustavo Machado
                   27      126. Nick Armando Contreras
                   28      127.. Mariana Trueba Alr^^ada
 07209FL441845.7                                           -^_
                                                                 MA.TTEI.,INC: S PHASE oTIE WITTiESS LIST
        Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 33 of 95 Page ID
                                          #:57781




                        1   -128. Janine Brisbois
                       2    129. Daniel Cooney
                       3    130. Susana Kuemmerle
                       4    I31. Jean Gomez
                       5    132. Janet Bryant
                       6    133. Thomas Bryant                                                .
                       7    134.    Jeanne Galvano

                        8   135. Richard Irmen
                       9    136. Charnayne Brooks
                      IO    137. Sarah Choi
                      ^1I   138. Mei Wah (Sarah} Chui
                      12    139. Larry Clayton
                      13    140. Adrienne Fontenella
                      14    141. Mitchell Kamarck
                      1S    142. Yirn Chong Lo
                      16     143. Ron Longsdorf
                      17     144. Eli Makabi
                      18     145. Susan G, McBride

^ ^c                  19     146. Colleen O'Higgins
^ ^
^'`" ^_               20     147.   Kumi Croom
     -^
                      21     148. .Julia Marine
                      22     149.   Shinn Saiemnia
          ^
^.^o                  23     15D.   Richard Sandham
    w                 24     151. Aileen Storer
                      2S     152. Stephen Tarmichael
                      26     153. Ben Ton
                      27     154. Evelyn Viohl
                      2$     i 55. Spencer Woodman .
-   o7zo9rzaa^sas.^                                     _7_
                                                              MATTEL, iNC.'S PI,iASE ONE WITNESS LIST
              Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 34 of 95 Page ID
                                                #:57782
                                                 f"^`
                                                 ^,^



                              1      156. Milton Zablow
     j                       2       157. Joe Franke
                             3       158, Larry McFarland
                             4       1 S9. Maureen Mullen Chianese
     '                       S       160. Tina Patel
                             6       161. Matt Bousquette
                             7       162, Jve Tivngco
                             8       163. Mercedeh Ward
     .                       9       164. Alan Kaye
                            10       165. Theresa Newcomb
                            11       166.   Paul Warner

                            12       167. Helene Bartels
                            13       168. Traci Feldman
                            14       169. Michael Hebden
                            15
                            16 DATED: April 1, 200$           QUINN EMANUEL URQUHART 4LTVER &
                                                              H DGES, LLP
                            17
                            18                                 B                            ^
     ^v        ^       19                                          yJon D. Corey
                                                                    Attorneys for Plaints   Mattel, Inc.
              ^
              a^      20
              -^
                            21
                            22
^^                          23
                  v
^.                          24
                            ZS
                            26
                            27'
                            2.8
          0720912441645.7
                                                                               MATTEL, INC.'S PHASE ONE WITTIESS LIST
                  Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 35 of 95 Page ID
                                                    #:57783
                                                                                                                                 I




         I

                                 1                                 PROOF OF SERVICE
                                2           I am employed in the County of Los Angeles, State of California. Tam over
     '                          3 the age of eighteen years and not a party to^the within action; m^ business address is
                                4 8bS South Figueroa Street, 10th Floor, Los Angeles, California 90017.
                                5           On April 1, 2008, I served true copies of the following documents described
                                6 as: MATTEL, zNC.'S CORRECTEb PHASE ONE'VVITNESS LIST on the
                                7 parties in this action as follows:
                                8                                                 Mark E. Overland, Esq.
     `                            Thomas J. Nolan, Esq.              ^            David C. Scheper, Esq.
                                9 Ska dd en A rps, Sl a te, iYl eag her &         Al exan der H . C ote, Es .
                                  Flom LL?p                                       Overland Borenstein ^cl^eper &
                  •            l4 300 South Grand Avenue, Suite 3400              Kim LLP
                                     Los An^eles, CA 90 471                       300 ^ outh Crran d Avenue, S u i te 2750
                              ^^     't nolanCc^s a dd en .com '                  Los Angele s, CA 94071

                              ^^                                                  'moverfandCa^obsklaw.com'                      .
                                  John ^!'. Keker, Esq.
                              13 Michael H. Page, Esq.
                                  Chri sta M. Anderson Esq.
                              14 Keker & Van Nest , ALP
                                  710 Sansome Street
                              i S San Francisco, CA 94111
•                             16     'MWerdegar . kvn.com'

                              17
                                       ^X^ B•Y ELECTRONIC MAIL TRANSMISSION: By electronic mail
                              18 transmission from monicaascarrunz@ quinnemanuel.com on April 1, 2408, by
                                 transm ittin g a PDF forma t copy o f such doc um ent{s ) to e ach su ch p erson at the
                              19 a-mail address listed below their address(es). The document(s) waslwere
                  x                  transmitted b electronic transmission and such transmission was reported as
^,^ ^                         20 cornpiete andyw ithout error.
^ ^,
    =^                        21
                              22                                                                                      •
.^                                          Executed on April 1, 2008, at Los Angeles,       lifornia.
^                            23
^;^
 4^S                          24
     !                                                                         Ta                J ran
                             2S
                             26
                             27
                            ^28                                                         ..
             07209/1456597 .176189                                             ..3 _                  Ca5P. N0. Cv 04-9049 s^1I, (RT+IBK)
             47320.2
                                                                                                                  I'ROQP OE SERVICE j
           Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 36 of 95 Page ID
                                             #:57784

                                                4.   F
                                                                                   ^`'x
                                                                                   i




                          1                                 PROOF OF SERVICE
                         2          T am.employed in the County of Los Angeles , State of California.. T am over
                         3 the age of eighteen years and not a party to the within action; my business address is
                         4 NOW Messenger Service, 1301. West Second Street, Suite 206, Los Angeles,
                         5 California 90026.
                         6          Qn April 1 , 2008, I served true copies of the following documents described
                         7 as: MATTEL, INC.'S CORRECTED PHASE ONE WITNESS LIST on the
                         8 parties in this action as follows:
                        9 Thomas J. Nolan, Esq.
                          Skadden, Ar^ ps, Slate
                       10 Meagher & Flom LLP
                          300 South Grrand Avenue, Suite
                       11 3400
                          Los Angeles , CA 90071
                       12
                       13
                                 ^X] PERSONAL: B pei"sonall delivering the document listed above to
                       14 the person(s) at the address(es^ set Earth above.
                       15
                                    T declare that T am employed iri the office of a member of the bar of this court
                       16
                              at whose direction the service was made
                       17
                                    Executed on April 1, 2008, at Los Angeles, California.
                       1$

    ^       ^          19
    :^      ^
    rn .    ^,         20
            ---i
                       21
                       22
.               ^ 23

                ^ v_ 2A^
                1
                     25
                       26
                       27
                       28
      07209l1456597. k76E89                                             _^_                 Case No. CV 04-9U49 SGL {RNBx}
      47320.2
                                                                                                       PROOF OF SERVICE
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 37 of 95 Page ID
                                  #:57785




                                EXHIBIT 14
        Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 38 of 95 Page ID
                                          #:57786




              1 QUINN EMANUEL URQ_UHART OLIVER & HEDGES, LLP
                  Jahn B. Quinn {Bar No. 0090378)
             2   j ohnquinn@qu^nnemanuel. com
                        chael T. e11er {Bar No. 196417)
             3    ^michaelzeller@quinnemanuel.com}
                     on D. Corey (BBar No. 1.85066
             4    ({ ^ oncorey@quinnerr^anuel. com
    .             't`imothy L. Alger (Bar No. 16 303)
             $. {timalger quinnea^anuel.com)
                865 South igoeroa Street, 10th Floor
.            6 Los Angeles, California 90017-2543
                Telephone: 213 443-3000 '
             71 Facsuuile: ^213^ 443-3100
             8 Attorneys for Mattel, Inc.
             9                            UNITED.STATES DISTRICT COURT
         10                              CENTRAL DISTRICT OF CALIFORNIA
         11                                     EASTERN DIVISION
         1z CARTER BRYANT, an individual,                 CASE NO. CV 04-9049 SGL (RNSx}
         13                  Plaintiff                ^   Consolidated with
                                                          Case No. CV 04-09059
         14           vs.                                 Case No. CV 45-02727
          15 MATTEL, INC., a Delaware                     Hon. Stephen G. Larson
             corporation,
          16
                          Defendant.                      MATTEL'S PROPOSED JURY
         .17                                              INSTRUC'T`IONS
         18 AND CONSOLIDATED ACTIONS
                                                          Phase 1:
         19
                                                          Discovery Cut-Off:       January 28 2008
         20                                               Pre-Trial Conference:    May 5, 208
                                                          Trial Date:              May 27, 2008
         21
         22
         23
         24
         25
         26
         27
         28
o^na^9a^.i


    ^^^^^^^


    PAGE _                  ^^^
    Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 39 of 95 Page ID
                                      #:57787




              1        Plaintiff Mattel, Inc. ("Mattel") hereby proposes the following jury
          2 instructions for Phases 1 {a) and 1(b) of the trial i.n this master . Mattel requests and
          3 reserves the right to amend , modify, withdraw and/or supplement the following
          4 instructions before or during the trial ofthis matter . Mattel intends to submit
          5 further proposed jury instructions depending upon and based upon rulings issued in
          6 connection with the parties' pending motions for partial surrumary judgment, any
          7 motions in limine or other pre -trial or trial motions, and the evidence and theories
          8 proffered by the parties during the course of the trial. See Fed . R. Civ. P. S1.(a).
          9
                  DATED: April _, 2048             ^ QiTINN EMANUEL URQUHART OLIVER &
        10                                          l-SEDGES, LLP
        ll
                                                     B
        12                                               yJon D. Carey
        I3                                                Attorneys for Mattel, inc.

        14
        15
        16
        l7
        18
        19
        20
        zl
        2z
        23
        24
        25
        26
        27
        28
09l24G39411

                                         MATTEL'S P120POSBD 1TJRX II^TSTRUCTTONS




^A^^                    ^? # .
    Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 40 of 95 Page ID
                                      #:57788




               1                MATTEL'S SPECIAL JURY INSTRUCTION NO.
               2                            EVIDENCE OF SPOLIATION
               3
               4         During the trial, the plaintiff, Mattel, intends to introduce evidence that the
               5 defendants, including Carter Bryant, MGA, MGA's CEO Isaac Larian andlor MGA
               6 Hong Kong, did not preserve evidence relevant to this case , In certain
               7 circumstances, you znay assume that such evidence is or would have been
               8 favorable to Mattel and adverse to the defendants . At the end of the trial, l will
               9 instruct you an the law in this regard.
          la
          11
                   Authority: Glover v. BI'C Corp , 6 F.3d 1318 1329 (9th Cir,1993^Akonia v.
          I2 ^`Jnited States, 93$ F.2d 158, 161 (9th Cir.199^) cert. denied, 503 .S. 962 {1992};
              Housin Rt tits Center v. Sterlin 2005 WL 3 10739, *$ C.D. Cal. 2005 ;
          13 Residen iaunding Corp. v. De^eor e Fin. Corp. 306 F^d 99, 110                }
              2d Cir.2002) ; Rogers v.. T.J. Samson ^ommunity ^osp., 276 F.3d 228, 232-33 {6th
          14 ^ir.2002). This instruction will appropriately explain to the 'ury, at the start of
             trial why evidence will be presented regarding the defendants ` spoliation of
          15 evic^^nce . Without any foundational instruct€on, the fury may be confused by the
               zesentation of spoliation evidence . This instruction lays an appzopriate
          lb ^ouudation foz the presentation of such evidence.
          17
          18
          19
         20
         21
         22
         23
         24
         25
         26
         27
         28
09f7A63941.1
                                       _^                   „g_
                            J               MATTEL'S PROPOSED JL ^R'Y INSTRUCI'^O1V5
 X^^ ^ ^!T
^^^^                       ^^^
   Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 41 of 95 Page ID
                                     #:57789




                            MATTEL'S SPEC^iL JURY INSTRUCTION NO.
          2                   ADVERSE INFERENCE FROM SPOLIATION


          4         The plaintiff, Mattel, contends that the defendants, including Carter Bryant,
              1VIGA, Isaac Larian and MGA Hong Kong, did not take appropriate steps to
              preserve relevant evidence and destroyed such evidence . The defendants deny that
          7 I contention.
          8         If.you find that relevant evidence that was within the defendants ' control is
          9 missing or loos been destroyed and that the evidence is missing because of the
        10 defendants' bad faith or negligent, unjustified or careless actions or inaction, you
        11 may infer that such evidence, if available now, would have been favorable to
        12 Mattel and adverse to the defendants.
        13          Defendants ' destruction of evidence was negligent , unjustified or careless if
        14 they had notice that the evidence might be relevant to this litigation when they
        l5 destroyed the evidence or made the evidence unavailable . A person is under a duty
        16 to preserve evidence that he or she knows, or reasonably should know, could be
        17 relevant to a case.
        18
       19 Authority: Glover v. BIC Corp., 6 F.3d 1318, 1329 (9th Cir. 1993)("[A] trial
          court also has the broad discretionary power to permit a jury to draw an adverse
       20 inference from the destruction or spoliation agaanst the party or witness responsible
          for that behavior."}; Akiona v. United States, 938 F.2d 158, 161 (9th Cir. 1991}
       21 ("Generally a trier of fact may draw an adverse inference from the destruction of
          evidence relevant to a case."}}; Advantacare Health Partners v. Access IV,
       22 2004 WL 1.837997, * 6 (1V.I^. Cal. 2004) (" In the Ninth Circuit, spaliation.of
          evidence raises a presum  mp tion that the destroyed evidence goes to the meats of the
       23 case, and fiu-ther, that suc^Yi evidence was adverse to the ^aarty that destroyed it."}
          (citations omitted). Irn ortan.#ly, "a fin.dut of'bad faith is not a prerequisite to this
       24 corrective procedure. ^ee, e. , Glover, b ^.3d at 1330• see Byrnie v. Town of
          Cromwell, Bd. afEduc., 243 ^.3d 93, 109 {2d Cir. 200} (culpable state ofnund
       25 far an imposition of an adverse inference includes negligence]. A litigant has a
          frcestandiri duty "to preserve what it knows, ar reasonably should know is
       2^ relevant in the action,. is reasonably calculated to lead #o the discovery oI'
          admissible evidence is reasonably likely to be requested during discovery andlor is
       27 the sub'ect of a ppending discovery r uest." Housing nights C-enter v. Sterling,
          2005 ^ 3320739, *3 (C.D. Cal. 205}.
        28
o^nac39ai.^
                                                          -53-
                                       MATI'F.;I.'S PROPOSEO.iURY INST'RUC1'IONS

^^+^^^E^


^^^^                  ^- 7^
    Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 42 of 95 Page ID
                                      #:57790




               1            An adverse inference jury instruction should be given where " [s]ufficient
                     evidence exists to permit a jury to determine the factual predicate" wnderlyy ing a
               2                p oliation. Ro ers v. T.J. Samson Community Hosp. 276 F.3d 2Z8,
                     claims of sp
                     234 (6th Cir. 2002).        en a genuine question exists as to w^iether a p      's loss
               3     or destruction of evidence was negligen^ (or worse), it is a propmate to der that
                     question to the Jury, by instructing jurors that rf they find that the spoliation of
               4     evidence was at least negligent they may infer that the missing evsdenc^e would
                     favor the non-s oliati€ng ply ' One Beacon Ins. Co. v. Broadcast Development
               5     Group, Inc., 205 WL 207799, * 5 (6th Cu'. 2005).
               6
               7'.
               8.
               9
          la
          11
          12
          13
          14
          15
          16
          17.
          18
          19
         20
         21
         22
         23
         24
         25
         26
         27
         2$
U9/Z463941.]




PAGE                          ^^^I
     Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 43 of 95 Page ID
                                       #:57791




                1         Plaintiff Mattel, Tnc. ("Mattel") hereby proposes the follawing jury
            2 instructions for Phases 1(a) and 1(b) of the trial in this matter. Mattel requests and
            3 reserves the right to amend, modify, withdravc+' andlor supplement the following
            4 instructions before yr during the trial. of this matter. Mattel intends to subrs^it
            5 further proposed jury instructions depending upon and based upon rulings issued in
            6 connection with the parties' pending motions for partial summary judgment, any
            7^ motions in limine or other pre-trial or trial motions, and the evidence and theories
            8 proffered by the parties during the course of the trial. See Fed. R. Civ. P. 51(a).
            9
                    ^ DATED: April ^ 2QQ8              QUINN EMANUEL URQUIIART OLIVER &
          10                                           H DGES, LLP

          11
          12                                            S
                                                            yJon D. Carey
          13                                                 Attorneys fvr Mattel, Inc.

          14
          15
          16
          17
          18
          19
         20
         2I
         22
         23
         24
         25
         2G
         27
         28
09!2963?4 3.l


                                            MATTEL'S YKOPOSED 3URY FNSTRU^TTONS




 ^^;^ ^                     ^ 75
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 44 of 95 Page ID
                                  #:57792




                               EXHYBrT 1 S
   Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 45 of 95 Page ID
                                     #:57793




                       1  William C. Conkle SB# 076103}
                          Mark D, Kremer (S^# 1bQ978)                                LU5 ANCs G1.R 5 s UP^ItlOR C
                                                                                                                       pURr
                       2 Eric S. En el (SB# 1fl56S6}, mezr3hets of
                          CONKI..E^.^ OLESTEN                                             FHB +^ g 2.fl1)5
                       3 Professional Law Corporation                                         .
                          3130 ^VilshireBoulevard, Suite 5Q0                       aoriN^.eu^. 3^^^ ^^
                       4 Santa Monica, California 90403-`?4fl3                     gY
                                                                                        J. S          ^PllTY
                       5 Telephone: (310) 998-9 [ 00
                       6 Attorneys for Plaintiff Farhad Larian       ^^^^ ^3^1Q^^d ^^'                   {

                       7                                             S:3d^3^ ^6k"'l' C^                               ;^ ^'

                       8                    SUPERIOR COURT OF THE STATE OF CALIFORNIA                            ^'
                       9                            FOR THE COUNTY OF LOS ANGELES
                   IO
                  x1        FAR.I-IA.D LARXAN,                            CASE.NO.         ^ ^'^ Z 9 5q ^
                  l.2                            Plaintiff,              VERIFIED COMPLAINT FOR:
                  ] 3 v,                                                  1)   FRAUD
                  14 MORAD ZARABI, ISAAC LARIAN                          2)    NEGLIGENT
                      AND I^.AMSIZ ZARABi AND DOES 1                           MISREPRESENTATION
                  15 through 5, INCLUSIVE
                                                                         3}    CONSPIRACY
                  1G                             Defendants.
                                                                         4}    DECLARATORY RELfEP'                             j
                  17                                                 _                                                         ^
                                                                         5)    CONSTRUCTIVE TRUST                              r
                  I8
                                                                         6)    INJUNCTIVE RELIEF                               ^
                  19
                  20
                                 Plaintiffalleges as follows:
                  2X
                  22
                                 1.        Plaintiff, Farhad Larian also known as Fred Larian ("FREI^)Yis^n^wand
                                                                                                     ^•^^^^
                           at al f times relevant to this Complaint was a resident ofLos Angeles Cour^'alnia.
                                                                                                    ^a
                                                                                                ^ S C,       h
                                                                                                m
                                                                                                             •ONC'^ N


                          ?.    Defendant, Morad Zarabi ("MORAD") is now and at ali time^^^^tto
             ^ ^ 26
             ^. 27 this Complaint was a resident of Los Angeles County California..
                                                                                                     G                w
                                                                                                                 a        ri
                                                                                                                 :'       ..
             ^-   ^^
                                                                                                             c^ n
                                                                                                             of
              ^                                                                                              Cn ^<

                           zzzT.oaz^sszs
                                                                   Complaint




` XHIS{T
           ^^
PAGE       ^1^
     Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 46 of 95 Page ID
                                       #:57794




                                                                                                                             .r


                                                                                  i

                        I          3.    Defendant, Isaac Lai•ian ^`'ISA,AC") is now and at ail times relevant to this
                             Complaint was a resident of T.os Angeles County California.
                        3
                        4          4.    Defendant Karnbiz Robert Zarabi (``I^:AMBIZ'') is now and at all times
                        5,^ ^ relevant to tlmis Complaint was a resident of Los Angeles County California.
                        s
                        7'         S.    Plaintiffis unaware ofthe true names az;d capacities of Does 1 through 5
                       8 ^'i and therefore sues such defendants by such fictitious names. Plain#iff ^vil! amend this
                       9 Complaint to identify the true names and capacities of these defendants if and when
                      ^a additional information against them is ascertained. Plaintiff is informed and believes
                      II -that each afthe doe defendants is liable in somemar ^ner for the acts and omissions and
                      .12 the injuries and damages alleged in this Complaint.                           .
                      I3
                      I4          6.     At all times relevant to this Complaint, each defendant was the agent or
                      IS employee of each of the other defendants as the case'may have been, and was acting II
                      I6' within the course of the scope of such agency or employment in performing the acts
                      I7^ alleged in this Complaint.
                      IS
                      19          7..   h'I^ED and TSAAG are brothers who for over 24 years engaged in btasiness
                      zo as partners through equal ownership of several businesses and ventures they
                      2I co-founded. They shared profits and losses on an equal basis.
                      ZZ
                      ^3          S.    The businesses they co-founded included the eornpanies known as ASC
                      24 International Traders, inc. ("ABC") and MGA En#ertair ^ment Hong rang I:,td.
                      2S ("MGAEHIC"). ABC and.MGA.EHK. collectively are referred to as "MGA". At all
                   i'.r 26 times relevan#to this Complaint FRED and 15A,4C each owned 45°l° aftlme outstanding
                       . 27 staclt,whiletheirbratherinla ^vJangahirMakabi("MAKABi") awned 14%ofMGA.
,_
                   ^• 28 FRED's ^!5% interest amounted to 14,404,404 shares of eonmman stack in ABC and

                   ^. it z2z,.ooaws2a           .
                                                                      -'-
                                                                   Complaint .
                                                                                                             -

               .
                   ^^ ^                                                                                                  r
     ^^^^^0^
  Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 47 of 95 Page ID
                                    #:57795




                                                                                    .^.



                         I    450 shares of cotnmonstock in MGAEI-fiC (collectively "FRED 'S Stock"). Over time
                      2 FRED and ISAAC divided responsibilities in MGA's business ; ISAAC, as CEO
                     3 assumed responsibility for finance, sales, marketing and product development while
                     4 FRED, as Executive Vice President was responsible for operations , including customs,
                      5 warehousing , distribution and facilities.
                      6
                    .7              9.       MORAD is the uncle ofISAAC and FRED.
                     8
                     9              10.      In the spring of2040 IS AAC offered to buyFIZED's d5°1° interest in MGA
                    Ea Far $9,000,004 valuing MGA at $20,400,000. FRED responded that he wanted an
                    E1       appraisal of iVIGA to^ consider selling his interest. Consequently, ISAAC and FRED
                    i2       continued tonegotiate abuy-sell agreement for {SAAC to buy FRED'S Stocit. ISAAC
                    13' told FRED that he only wanted to appraise MGA as of Decembzr 31, 1999. FRED
                    E^       demanded a current appraisal. To avoid an appraisal ISAAC suggested using a process
                    15 ^ by which he or FRED would make an offer to buy the other's interest which if not
                    E6       accepted would require the refusing party to purchase the offerar's^interest for the sarYte
                                                                                                                           i
                    17       price. FRIrDrejectedthemethodteiiinglSAACthatl~REDdidnotwanttobeabuyer.
                    18       Ultimately ISAAC refused to go through with abuy-sell agreement that required three
                    19       appraisals of MGA,
                    20
                    2]             11.       From the inception oftheirpartnership,FRED and ISAAC had agreedthat
                    22 their salaries and other compensation from MGA would always be equal. They had
                    23       followed this agreement for more than twenty years, taking equal raises and pay-cuts
                    24       at the same time. In early 20Q0, however, while he was attempting to buy FRED out
                    25 ofMCxA, ISAAC secretly gave himself a $] 00,000 raise to about $3?5,000.1SA.AG
            '' 26 Eater demanded that the MGA Board of Directors raise his salary to $500,000, ratify
            ^• Z7 $750,000 as a bonus far 1999, authorize a $1,500,000 bonus for X000, and give him a
            •^ 28 4% royalty on items he '`personally develops for MGA's 2001 line or products".
            !^._^
                             2221.00219929                             -3-
                                                                     Complaint


^Y^^^^^T   tJ f^
y'A^a ^             ^^
   Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 48 of 95 Page ID
                                     #:57796




                          1    Subsequently, Isaac'stwobrothers in-lawpurporting to act as MGA directors increased
                       2       ISAAC's salary to always be three times that of F'RED's salary aad authorized an
                       3       additional bonus of up to 50% of ISAAC's tripled salary. FRED is infot-tned at^d
                               believes that ISAAC engineered the compensation increase to put additional pressure
                       S       on FRED io sell out his interests in MGA. FRED is ft:riher infonned and believes that
                       6 in exchange for MA.EtAB]'s vote, ISAAC promised MA.f+.ABI: sortaeportion offiRED's
                               Stock ifFRED agreed to self it to ISAAC.
                       8
                       9             12.      Cn or around the summer of 3l]OU, following ISAAC's refusal to proceed
                      10      with the buy-sell agreement, MORAD contacted FRED and urged him to let MORAD
                      13      arbitrate tEze impasse between CSAAC and FRED over the stock sale. MORAD told
                      12 FRED that FRED should not wait any longer to resolve his disputes with 1SAAC as
                      13^ ISAAC was attempting to "take over the company" by the enormous raise in
                      14 ,compensation which MORAD said was "just a part ofISAAC's plans to oust FRED".
                      15      MORAD suggested that he determine which brother should sell his interest in MGA
                     ]6 and at what price. FRED responded that he did not want to be a buyer and required for
                     17 any arbi traf ion, that the price of his stock be determined by an appraise! of the current
                     18       value ofMGA, as ISAAChadcontro] ofhe financial and business inforciration. FRED
                     t9' also told MORAD he required a resolution of certain other partnership accounts. In
                     2tl      response MORAD promised FRED that the price ofF'RED's interest in MGA would
                     21       bedetermined by a current and accurate appraisal ofMGA that MORAD would obtain.
                     22 MOAAD called the appraise! ``the central piece of the arbitration". MOR.A.D also
                     23 promised to resolve the accounting of the other partnership accounts.
                     24
                     25.            l3.    In several communications with FRED, MORAD stressed his unique
              ^^ zs position to serve as an arbitrator . MORAD held out his familial relationship to the
              :'     27       brothers as assuring his impartiality and trustworthiness . MORAD promised to ireat
                   • 28 each bmther "as one of his eyes", an expression meaning that MOR.AD would allow
              4,.
              ^i
                              2221.00219929                             -4-
                                                                      Complain^

              f It
             ^/Jl
^^^E'^^T

:'^^^        ^^^
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 49 of 95 Page ID
                                  #:57797



    y ..




                       i    no harm to come to either of theirs. MOl2.AD claimed that his basiness experience
                       2    would assure the accuracy of the appraisal and the accounting and that he would hire
                       3 a CPA, Mike Shenassafar, to assist him. MOR.A.D said that he would serve as art
                       d arbitrator free of charge, requiring reirrtbursement only for expenses, such as Fees for
                       5 the appraisal and the CPA. MORAD told FRED that•he could trust MORAD to resolve
                       6 the brothers " dispute, ending the unhappiness it was causing their family.
                       7
                       8'          [4.    MORAD presented FRED with an Agreement for Arbitration and
                     -9 Selection of Arbitrator ("Arbitration Agreement"}, a copy of which is attached as
                      t0 Exhibit I to this Complaint. FRED is informed and believes that MORAD's attorney
                      1l. Ellis Stern drafted it. MORAD told FRED thathe should nat hire an attorney to advise
                      12 him about the Arbitration Agreement because "attorneys are in it for themselves and
                    ' I3    would never alio^v this to er^d until they got all of the money for themselves".
                      1^ MORAD reiterated to FRED that he could trust MORAD.
                      XS
                      I6           15.    In rel lance on the represe=ntations o f MOR,AD, on or about September y8,
                     ^.7 2000 FRED signed the Arbitration Agreement without the advice of counsel and did
                      X8    not hire counsel to represent him in the arbitration.
                      l9
           -         za            Ili.   Plaintiff is informed and believes that the representations of MORAD
                     21' were false when made in and around the summer of 2000 prior to FRED's execution
                     22 of the Arbitration Agreement,             MORAD engaged in misrepresentations and
                     23 concealments to induce FRED 's agreement to allow MORAD to arbitrate the
                     24 controversy with ISAAC so that MORAD could fis the sate price without an appraisal.
                  zs MOR.AD never intended to engage in any neutral arbitration using an accurate and
               !; z6 current appraisal of MGA and never intended to use a CPA to assist him with the
               ^^    27 appraisal . MORAD intended to trick FRED to seal his interest in MGA to ISAAC and
               `. 28 settle the other partnership accounts by mating FRED believe the price far FRED`s

                            222'1.00219929 '                          -S-
                                                                    Complaint


           1^
 Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 50 of 95 Page ID
                                   #:57798




                                      ,..




                         Stock had been established by an accurate appraisal and accounting, but in fact was
                         pre-determined by MORAD. In furtherance of his plan, MOItAD concealed from
                 3 FRED MORAD's inability to competently read and write English.
                 4
                 5              17,         1'Eaintiff is informed and believes that MORAD made his false
                 6 representations pursuant to an agreement and plan formed between MORAD and
                 7 . ISAAC to induce FRED to give MORAD authority to determine a value far MGA and
                 8 trick FRED into selling his interests in MGA at a price pre-determined by ISAAC
                 9 without an appraisal. Under the plan and agreement with dSAAC, MORAD agreed to
                10       induce FR.ED's consent to the Arbitration Agreement, by promising FRED an accurate
                11       and complete appraisal, but would fix the price for which FRED would sell his Stock
                12i to ISAAC and settle the partnership accounts, at or below the $9,00x,000 ISAAC had
                13 previously offered to pay for FRED's Stock, irrespective of the true appraised value
                Y4 of NIGA.
                15^
                I61            18.          Following execution of the Arbitration Agreerrient, MORAD took steps
                I7 in accordance with his intent and the plan to defraud FRED into accepting a price for
                YS his interests not determined by an appraisal including the following;
                I9                          18.1   Consistent with ISAAC's earlier proposal to avoid an appraisal,
                za prior to comrr^issioning the appraisal MORAD induced FRED to give him a written
                2l offer to purchase ISAAC's 45% interest in MGA based upon a value of $17,500,000. i
                ZZ FRED withdrew the offer the same day.                             ^.                              ^
                23                          l 8? MORAD hired^National business Appraisers ("I^1BA"} to perform
                24 an appraisal of ABC, and in order to lower the appraised value ofABC, allowed NBA
       •        25 to restrict the valuation period to the end of December 1999 thereby eliminating year
           ^'   26 ?000 financial and business information front the appraisal, including information
                27 relating to the ``Bretz" product line.
           ':   2$
       1   (3
           1.
                         ^zz^.aoz^sszs                                  ^-

                                                                    . Complaint

    rr               N
^^^f^^^


^^^^       ^^
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 51 of 95 Page ID
                                  #:57799




                                         I83 MCIRAD allowed N13A to value only ABC and omit valuation
                 2 I MGAEHK.
                 3^                      l 8.4 Upon receiving the initial draft ofNBA's appraisal of ABC with a
                         value of $26,942,OD0 as ofDecember 31,1999, M4RAD instructed NBA to reduce the
                 5 valuation to get close to $20,000,000 which would yield a price of $1,000.004 for
                 s ){RFD's interest.
                 7                       18.5 M4RADsubsequentlyconcealedfromFREDtltatthefnaireduced
                 8 appraisal ofABC was at $? 1,604,000 and represented that the appraisal found the value
                9 of MGA to be $17,500,000.
               IO                        18.6 On infarntation and beliefMORAD never involved the CPA in the
               II appraisal process, never showed the appraisal to the CPA, nar allowed him to review
               ICI it for accuracy. ,

               13
               14              19.       In or around Fate November or early December ?000, MORAD came to
               its FRIED with a proposed price of $8,77'5,400 for safe of IiR)aD's Stock ^to ISAAC
               IG calculated on 4S°la of a combined valuation of $19,500,000 for MGA and the other
               I'^. partnership accounts, MORAD represented tv FRED that the appraisal placed thevaiue
               18       of MGA at $l9,SD4,D00. MORAD said the $2,000,000 difference between the
               I9^ appraisai.of $17,SDO,ODO and the $19,SOO,ODO was to satisfy the amount due from
               20 ISAAC to FRED fortlte other partnership accounts. Believing in his uttcIe's integrity,
               21       ^D trusted MORAD's representation of the value found by the appraisal. In
               22       reliance on MORAD's representations, FRED agreed to Seale Iris disputes with ISAAC
               23 by sel ling h i s interest at the price MORAD represented was determined by the appraisal
               za of MGA and the partnership accounts.
               2s
          :f z6               20.    MORAD's personal attorney Ellis Stern drew up agreements for the sale
            . z7 and settlement of PRED's interest in MGA to ISAAC and the partnership accounts
          ;,.
           • 28 including an Agreement for Sale of Stock, PledgeAgreement, Promissory Note, Mutua]
          I'
          i;            22^ 1.00219929                             -7-                       _
                                                                 Complaint

                    x




               ^^
 ^^^i
 Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 52 of 95 Page ID
                                   #:57800




                   1       RefeaseandConsultingAgreement(collectiveiy"Uecember2000Agreeinent"). FRED
                   2 asked MORAD if FRED should have an attorney to advise hitn about the transaction,
                   3 MORAD said no. MORAb said that ha would make sure the agreements accurately
                   a reflected the transaction and protected both FRED and ISAAC. Based on MORAD's
                   5 representation, FRED did not have counsel advise him with respect to the transaction.
                   6 and signed the December ?404 Agreement.
                   7
                   8              21.       In inducing FREl7's agreement to sell F'RED's Stockto ISAAC, MORAD
                   9 continued to conceal his fraud and deceit from FTtED. MORAD assured FRFD that the
                  lfl sale price based on a combined valuation of$ 19,504,040 far MGA and theparmersliip
                  11       accounts was determined by the appraisal and accounting, MORAU convinced FRED
                  xz to agree to resolve any disputes with ISAAC over the December 2040 Agreement by
                  Z3 arbitrating them before MO1zAD or if M^JRAD was unavailable before his son
                  X4 [CAMBIZ. MORAD repeated to FRED that he should keep resolution of such matters
                  15 in the family and FRED could trust both MORAD and KAM131Z. MORAD also
                  16 claimed that as a director of MGA and as the arbitrator, -he would be in a position to i
                  f7 protect FRED's interest. In reliance nn MORAD's representations including that the
                  l$ appraised value of MGA had been $17,504,400 upon which the safe price for his
                  I9 interest in MGA was based, FRED agreed to the provisions for resolving any disputes
                  24 over the December ?400 Agreement by arbitrating before MORAD (cad if MORAD
                  21 rues unavailable to serve, MORAD's son KA.Iv1EIZ) ("December Arbitration
                  22 Provisions").
                  23
                  24             22.    MORAD's representations to FRED that FRED should trust him to
                  2S continue to act as an impartial and honest arbitrator of disputes that might arise under
                  26 the December 2400 Agreement were false and were made to conceal MORAD's fraud
           ;:i•   27 and deceit in the appraisal and valuation of MGA and to induce FRED's agreement to
           i
                  28 the December Arbitration Provisions so to allawMORAb to hide his wrongful acts and

           I_,             222'E A0219929
                                                                  ComplaEn[

                       A




^^^^ _         ^^
       Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 53 of 95 Page ID
                                         #:57801




                                                   I omissions and/or conspiracy with ISAAC. MORAD had not honestlyand impartially
                                                   2 acted as an arbitrator in the past and had na intent to arbitrate or otherwise act
                                                   3 impartially and honestly to resolve any disputes that might arise under the Decer,nber
                                                   4 2000 Agreement MOKAD intended only tv use his position as arbitrator to continue
                                                   5 to conceal his fraud and deceit and other wrongful acts and omissions toward FRED.
                                                   ti

       '                                           7          33.      Under the December 2000 Agreement, MORAD became a director of
                                                   $ MGA and took possession of the share certificates far FRED's Stock as Trustee to be
                                                   4 held as collateral for tSAAC's payrnent of the full purchase price tv 1~ItED.
                                                 ^0
                                                 ^ 1.         24,      Following the execution of the December 2000 Agree]nent, MORAD
                                                 I2 requested FRED to '`return the favor" far what MOR.AD called his `'pro-bono
                                                 13 arbitration work" in 2000. MORA.D requested $10,000.00 from FRED forMOR.AD's
                                                 14 relative. MORAD told FRED that ISAAC had already paid an identical amount.
                                                 i5 FILED paid the money MORAD requested. In June ?004 FRED's attomzys asked
                                                 16 MORAD to disclose and produce evidence of these payments. MORAD, through his
                                                 17 attorney EIlis Stern, refused. in or around June 2004, in relation to 1?RED's inquiry ',
                                                 18 about these payments, MORAD publicly threatened that he "will destroy FRED and ^
                                                 19 make him equal to dirt". On information and belief MORAD sought and obtained a
                                                 ZO larger payment from ISAAC for MO]ZAD's "prabona arbitration work" and for that
                                                 21     reason refused to disclose such payments.
                                                 22
                                                 Z3           2S.   In '_'001, ISAAC was unable tv make the payment under the promissory
                                                 24 note given FRED as part of the December 2000 Agreement. MOR.AD i educed FRED
                                                 Z5 tv extend the due date of the note and advanced money on behalf of ISAAC to FILED
                                         ! .:
                                                 Zti    for payments on the promissory note.

                                         r
                                                 27
                                         i^
                                         is
                                                 28
                                                  O

                                         1

                                         !^             z^z^.aoz^sas                               -9-
                                             .                                                 , Comp]ainl



            f
. ^ .. ^^       ..: ^ i _ .«...^.«....



  i' ^• ["'

' ! 3 ^^..d ^ ...^^...
     Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 54 of 95 Page ID
                                       #:57802




                                                                             .^


                                 26.      in or around the summer of 2002, FRED became aware of facts that
                          suggested the valuation of MGA in 2004 represented by MORAD may have been
                          inaccurate and that the actual valuation of MGA was significantly higher because of
                       a a license and plans for a product fine called ``Bretz" which were undisclosed to FRED.
                     5 FRED requested a copy ofthe appraisal ofMGA performed in ?004. MORAD refused,
                       6 maintaining that he was legally not allowed to disclose it. Fi^ED did not suspect
                     7 MORAD ofany wrong doing at th is time, believing instead that ISAAC had withheld
                     8 the Bretz information from both FRED and MOItAD without MORAD's knowledge
                    9 or consent,
                   I0
                   11           27.       Subsequently FRED submitted to MORAD his claim that FRED had been
                   I2, defrauded by ISAAC.
                   I3^
                   I^t          28.       A few months after FRED's submission of his claim to MORAD for the
                   15 fraud in the sale ofFIZED's Stock, MORAD called a meeting at his offices on January ',
                   i6 26, ?003. He advised FRED that no lawyers wauld be allowed and that no evidence
                   I7 would be presented as this was an informal meeting. MORAD tape recorded the
                   I$ meeting which lasted less than two hours. A#Ier ISAAC left the tweeting, he called
                   l9    MORAD and MORAD reported to FRED that !'SAAC said "figure out a way to pay
                  zo FRED something and get rid of him". On or about September 14, 200 MORAD
                  2I declared under oath that the meeting occurred on a different day and was an
                  22 ^ "arbitration Bearing'' upon which he ``took the matter under submission"!
                  23
                  ?4            29.    After the January meeting in several communications, MORA.D and
                  25 KAMBIZ advised FRI;i] ways to settle the claim against 1FSAAC including buying
                  Z6 back a portion of FRED's Stack, which MOLZAD said he had convinced ISAAC to
                  Z7 allow.
                  28

                         222'I.00219929                            -10-
                                                                 CamAlain[



  7F        ^^    u




 'i tt          ^^
:^ ^?
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 55 of 95 Page ID
                                  #:57803




                                    ''                                       .._^
                                             ^


                 1            30,        In 2003, FRED learned that sometime after the January 26, ?003 meeting
                 2 MORADhad commissioned another appraisal ofMGA ("2003 Appraisal"), MOR.AD
                       told. FRED.he had commissioned the 2003 Appraisal but did rtot show it to him. In
                 4 Deccrnber 2004 FRED leamed that the valuation date ofthe 2003 Appraisal was as of
                 5 December 3 I , 2000 {the effective date under the December'000 Agreement) and that
                 G it found the value of ABC to be $33,805,000. In December 2004 FRED also leamed
                 7 that in or about Apri 12004, MORA,D had commissioned yet another appraisal of IvIGA
                 8 based on a valuation date ending December 31, '?00I ("2004 Appraisal").
                 9
               1t0            31.        Throughout 2003, FRED again asked MORA17 and also K.p ^MBTZ to
               Y1     provide FRED a copy of the appraisals. They initially refused to disclose any of the
               12 documentation for the appraisals. FRED filed suit in August 2003 against ISAAC far
               13 fraud arising From the non-disclosure of the Bratz line (The "Bratz Action"}, In
               l4 Septernber2003, MORAD promised to giveFRED all documents and records relating
               1S to the 2000 and 2003 appraisals in exchange for payment of $15,000. MORAD's
               ldl attorney, Ellis Stern corroborated MORAD's promise to give FRED all of the
               17 documents and records related to the appraisal. FRED paid MORAD the $15,000 but
               X8 I, then MORAD refused to provide all ofthe records to FRED. MORAD said instead he
               I9 had turned over his records and files to his attorney Stern who refused to pradt^ce
               za copies to FRED.
               zl
               22            32.         'When FRED continued to press for production afMORAD's entire file
               23 concerning the 2000 and 2003 appraisals, ISAAC opposed production and demanded
               24 that na records from the appraisal be produced. Finally after the Courtin the Gratz
               25 Action ordered discovery, MORAD's attorneys produced certain of the documents
          1f
          ,'   2ti ^ related to the ?000 appraisal but refused to produce documents related to the 2003

          ^'   a^ Appraisal. MORAD's attorney Stertt represented to have produced all of the 2000
          '=   2811 appraisal documentation and provided a privilege log which he later Bled in Court. No
                    ^^ 2229 .U0219929                              -.1^-
                                                                 Compia[nt
  Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 56 of 95 Page ID
                                    #:57804




                                                                                ^._._




                           i draft appraisals were produced to FRED by MORAD personally or by his attorneys.
                        Z The draft of the ?000 appraisal, the ?004 Appraisal, and some-correspondence from
                        3 NBA relating to The 2000 appraisals were neither produced nor listed on the privilege
                        9    log Stern had submitted to FRED and the Court. FRED pursued discovery ofNBA and
                        5 the appraiser bur both ISAAC and MORAD opposed it. Ultimately it was riot until
                        6 FRED went toNBA directly inDecember2004 #hathediscoveredthe extentandnature
                       fi of MORAD's wrongful acts. The documents and informatioq pro^+idad by NBA also
                       8 revealed that MORAD's attorney, Stern had submitted a false privilege log tb FRED
                       9 and to the Court.
                      10
                      ll           33,       In or around April to July 2004 FRED learned of translations that
          f
                      1Z i MORAD had ordered including translations related to a January 30, 2003 fetter
                      13 i MOf2AD had received from F1tED's attorney, and ofMORAD's need to use translators ^
                      14 in the contemplated arbitration of FItED's clairris against ISAAC. These facts and l
                      YS documents were suppressed from FRED by MOItAD and his attorney:
                      I6
                      17           34.       Tn or around January 2004, FRED demanded of MOR.AD that FRED's
                      18 Stock held by MORAD as trustee pursuant to the December 2000 Agreement be
                      19 maintained pending resolution ofF1ZED's cIaiins against ISAAC.Through his attorney
                      20 Stern,il^lORADagreed. lnoraroundDecember?004, FRED demanded#hatMORAD
                      2I show FRED the stock certiftcates. MORADxefused
                      zz
                      23           35.       In or around December 2004, FRED obtained documentation and
                      24     information directly from NBA disclosing that:

              ^;      zs                 35.1 NBA had never provided MORAD with an appraisal valuing ABC
                      26 or MGA at $17,500,000 as MORAD had represented to FRED;
                      27                 35.2 In or around October 2400 NBA transntitted to MORAD an initial
                      28 draft appraisal valuing ABC at $25,942,000. MORAD then instructed NBA to decrease
              i.^:.
                            222'1.00219929                           ..1^_
                                                                   Casnplain!




^h^^^^^       f5
  '           ^^
   Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 57 of 95 Page ID
                                     #:57805




                                                                                . ,^^
                                                ^^


                      1 the value to get close to $20,000,000 and alEowed the valuation date to be as of
                      z December 3 I, 1999;                                                                  ,
                   3                        35.3 hIBA's final reduced appraisa! in November 2000 was
                   ^{ $31,600,000.00 far the period ending December 31, 1999 and excluded MGAEHK.
                   S from the valuation;
                   6                        35.4 Comrneneing in February 2003, NBA ntet with MORAD and
                   7 KAMBI^ concerning the November 2000 appraisal because afFRED's claim against
                   8 ISAAC far fraud;
                   9                        35.5 In February 2003, MORAD commissioned the appraisal of MGA
                 ]0 as ofDecember 31; 2000 {2003 Appraisal) without consideration of the 19ratz License
                 1< I       and product line. This appraisal found the value to be $33,805,000.00;
                 y2^                        35.6 MORADsubsequenilyrequestedlYBAtoreducethe2003Appraisal
                 y3{ .by applying a minority shareholder discount.
                        i
                 ]4                  .      3S.T In 2000, N8A had given the draft 2000 appraisal to MORAD and
                 yS his attorneys..
                 x6                         35.8 In 2004, MOILAD's attorneys advised NBA to destroy any drafts
                 X7 of the 2000 appraisal.
                 xs                         35.9 In 2004 MORAD camrxussioned the appraisal of ABC as of
                 19 December 3i, 2001 (2004 Appraisal} to obtain a valuation lower than the 2003
                 20 Appraisal. The 2004 Appraisal, the draft ?040 appraisal, and some correspondence
                 2T from NBA relating to the 2000 appraisals had been suppressed from FRED and omitted
                 22 from the privilege log Stern submitted to both FRED and the Court.
                 23
                 24               36.    FRED is informed and believes that MORAD's suppression of 'the
                 25 appraisals, his attempts to destroy and prevent discovery of evidence, and his lies to
                 26 FRED were calculated to conceal his fraud in the inducement of the Arbitration
                 27 Agreement and December Arbitration Provisions, his corruption of the appraisal in
                 28

                            2221.00219929                            -l 3-
                                                                   Cnmplair^l



^i^^^i^3i   ^^


^n^
   Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 58 of 95 Page ID
                                     #:57806




                                                                               .a

                     I 2000, and/or in furtherance of the conspiracy with ISAAC to trick FR.I^D into selling
                     2 Fred's Stock at a price pre-deterit;ined by ISAAC and/or MORAD.
                     3
                     ^t       F1rRST CAUSE QF A.CTION FOR PROM1<SSORX 14RAUD INDUCi<NG
                     5                    " CUNSENT TO THE ARBITRATION AG1tEEMENT
                    6                                  AGAINST MORAD ZARABi
                                 37.      Plaintiffrealleges paragraphs l through 36 of this Complaint.
                    8
                    9            38.      MOIZAD's representations to PIaintiff concerning MORA.D's intention
                   10 to neutrally, honestly, completely and accurately appxaise the current value ofMGA,
                   11     and account for the other partnership matters, to resolve Plaintiffs disputes with
                   12 ISAAC were false and known by MORAD to be false when he made them. The
                   13 misrepresentations and omissions were material and made to induce Plaintiffto consent
                   14 to the Arbitration Agreement and selection afMOR"A.D as arbitrator. The true facts
                   f5 were that MORAD xtever intended to engage in an accurate, complete and current
                   16 appraisal of MGA or accounting of the other partnership matters, but rather to set a
                   17 pre-deternined price for the sale of F1ZED's Stack to ISAAC, In furtherance of this
                   1s intent, MORAAU concealed his disability in reading and writing English.                         ^
                   ^^
                   20           39.       Reasonably refying an MOILAD's representation of what M4RAD ^
                   21 intended to do as an arbitrator and that Plaintiffcould trust him, Plaintiff was induced
                   xz to sign the Arbitration Agreement and selection of MORAD as the arbitrator. Had
                   23     Plaintiff known MORAD's true intentions, Plaintiff would not have signed the
                   z^ Arbitration Agreement, and would not have agreed to the December Arbitration
                   2S Provisions.
             Is
                   26
                   27.          40.    As a result of the fraud and deceit alleged herein,l'laintiff is entitled to
             ^;:
             ^•
                   28 rescission of the Arbitration Agreement and the December Arbitration Provisions
             ,:a
             _^           zzzs.oaz^sszs                              -t ^_
                                                                   Complains


EX8161T     i5 '
PAGE        ^^
   Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 59 of 95 Page ID
                                     #:57807




                                                                                     .^^
            .   ^ ^          II


                        1         proximately caused by it as we11 as restitution of all sums obtained by MORAD from
                        Z Plaintiff because of them.


                        ^l                       SECOND CAUSE OF ACTION FOR NEGLIGENT
                        5                        MISREPRESENTATIONS INDUCING CONSENT
                        6                             TO THE ARBITRATION AGREEMENT                              .
                        7                                    AGAINST MORAD ZARABI
                        8               4I.    Piaintiff'realieges paragraphs ]through 36 of this Complaint.
                        9
                      l0 ^              4Z.    MORAD owed a duty of reasonable care in making representations and
                      11' statements to Plaintiff regarding MO1tAD 's ability and intentions ^^vith respect to the
                      12          appraisal ofMGA and'the accounting of-the other partnership matters.
                      13
                      !^#               43.    MORAD breached his duty to Plaintiff by making tisrepresentatians of
                      Y5 material facts and by omitting and failing to disclose material facts which he knew or
                      16 in the exercise of reasonable care should have known were untrue or inaccurate and
                      17 which he was under a duty to disclose to Plaintiff, including witltout limitation, his
                      I8 inabil iry to competently read and write Engl ish, his intent toset apre-determined price
                      19          far Fred's Stock and the value of the other partnership accounts.
                      za
                      z1                44.   MORA.D made the misrepresentations and omissions with the intent to
                      22 induce Plaintiff' to agree to the Arbitration Agreement consenting to arbitrate before
                      Z3 MORAD as the arbitrator of the disputes between Plaintifl'and ISAAC aver MGA and
                      Z4 the other partnership matters.
                      Z5
                li
                      Z6                ^5.   Plaintiff actually, reasonably and justi #iably relied upon the false

                3'
                      27 statements and omissions of MOlLAD and consented to the Arbitration Agreement.
                ^..
                !•

                      28 Had Plaintiff known the true facts, Plaintiff would not have entered into the Arbitration
                !^
                             2221.00219929                                -15-
                                                                        Complaint


^x^^^lr__       ^^ ^
Pp^^             ^^
    Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 60 of 95 Page ID
                                      #:57808




                                                                                     i
                            Agreement and selection of MORAD as the arbitrator, and would not have given
                            MORAD authority as arbitrator to detemune the price at which Plaintiff would sell his
                       3    interest in MGA and the other partnership accounts.


                       5               46.    As a result of the misrepresentation alleged herein, FRED is entitled to
                    6 rescission of the Arbitration Agreement and the December Arbitration Provisions
                    7 proximately caused by it and restitution ofall sums obtained by MORAD from Plaintiff
                            because of them.                                                 .
                    9
                   l0                  Tl'3dRD CAUSE•Q7±, ACTION FOR CONSPIRACY TO COMMIT
                   I1                        PROMISSORY)^'RAUA INDUCING CONSENT TO THE
                   I^                                    ARBITR.A.TION' AGREEMENT
                   I3                         AGAINST MORAD ^ARABI AND ISAAC LARIAN
                   14              47.       Plaintiffrealleges paragraphs 1 through 36 of this Complaint.

                  ICI
                  Yb              48.        Plaintiff is informed and believes that commencing in or around the
                  I7 summer and fail of2000, ISAAC and MORAD conspired and agreed together to induce
                  Y8 •FRED to give MOItAD power' and. authority as an arbitrator to set a price
                  I9 pre-determined by iSAACand/or MORAD, at which ISAAC would purchase FRED's
                  24 shares in MGA.
                  ZI
                  22              49.        In furtherance of the conspiracy, MORAD made the misrepresentations
                  23 and omissions of material Facts alleged in this Complaint Co induce 1~RED to consent
                  24 to arbitration before IVIORAD and to execute the Arbitration Agreetnens. MORAD's
                  2S representations were false and l:.nown by MOIZ.AD and ISAAC to be false tivhen made.
                  2b
                  27              50.        In reasonable reliance on the representations of MORAD, Plaintiff
                  28 executed the Arbitration Agreement,

                           2227 .1}0219929                              -16-
                                   •                        ^         Complsint



^x^t^^^
^s^^^       ^^
   Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 61 of 95 Page ID
                                     #:57809




                         1               51.      Plaintiff is entitled to. rescission of the Arbitration Agreement and the
                         21 December Arbitration Provisions proxirrtately caused by it and restitution of ail sums
                        3       obtained by MORAb frofn Plaintiffbecause ofthem.
                        4
                         5                FOURTH CAUSE OF ACTION FOR DECLARATORY RELIEI~
                         6                     OVER VALIDITY OF THE ARBITRATION AGREEMENT                                 '
                         7                       AND THE DECEMBER ARBITRATION PROVCSIONS
                         8                        . AGAllV5T MORAD ZARABI AND ISAAC LARIAN
                         9               5?.      Plaintiffreallages paragraphs 1 though 3d of this Complaint.
                       !,0
                       lI                53.      An ac#ua! justiciable controversy exists betweenPlaintiffontheone hand,

                       12       and Defendants MOIZAD and ISAAC an the other hand in that Plaintiff contends that ;

                       13 the Arbitration Agreement was void ab initio due to the fraud and deceit of MORAD
                       14 and/or ISAAC inducing 1'laintift"s consent to it, and that the December Arbitration
                       15 Provisions are iif^ewise void because they were proximately caused by Plaintiff's
                       16 consent to the Arbitration Agreement.                  Plaintiff is informed and believes that

                       17 Defendants M41tAD and ISAAC contend that the Arbitration Agreement is valid and
                       i8 enforceable and that there is no basis far invalidating or voiding the Arbitration
                       19' Agreement or the December Arbitration Provisions.
                       20,
                       21                54.      Plaintiff has no accurate remedy at law and the parties require a judicial
                                                                                                                               i
                       22 declaration of their legal rights and obligations v+rith respect to the Arbitration
                       23 Agreement and the December Arbitration Provisions.
                       24I
                       xs ^'
              ;:
              ^:       2G
                       27,
              ,.^:,.   z$,
              e
              t•

                               ^ 2221 .ot)z^s s 2 s                           -ll-
                                                                            Complaint          .



^^^^^^t_   ^5 ^ .
^^^^        2^y
  Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 62 of 95 Page ID
                                    #:57810




                                                                                .^


                     Z         FIFTH CAUSE OF ACTION FOR FRAUD IN TI^IE iINDUCEMENT
                  2                      OF T1FIE DECEMBER ARBITRATION PROVISIONS
                  3                                   AGAINST MORAD ZARABI
                  d             SS.      Plaintiff reallegesperagraphs 1 through 36 ofthis Complaint.
                  5
                  b             S6.      MORAD's representations to FRED in or mound the end ofNovember or
                  7       the beginning of December 2004 concerning the accuracy ofthe appraisal of MGA, the
                  S 'appraised value being $17,500,000, and MQRAD's honesty and trustworthiness were
                  9       false when made and known by MORAD to be false when made. The true facts were
                10       that MORAD concealed the appraisal showing the value of MGA to be significantly
                XI       greater than the representation to Plaintiff, and concealed the fact that he had corrupted
                I2       and acted to distort the appraisal ofMGA by ordering the appraiser to reduce the value
                I3       to close to $20,000,400. In making the misrepresentations and omissions, MOIZAD
                ld       intended to induce Plaintiffto agree to resolve any disputes arising from theDecember
                15^ .2000 Agreement by arbitration before MORAD and/or KAMBIZ, so that MORAD
                I6^ could continue to conceal his fraud and deceit and his wrongful acts and omissions.
                17
                1S             57.       The misrepresentations and omissions to Plaintiff were material end
                l9       Plaintiff reasonably relied are them to his detriment and by them was induced to enter
                20 into the December Arbitration Provisions.
                2Y
                22 ^,          58.    As the result of MORAD's fraud and deceit, Plaiintiff is entitled to
                23 ^, rescission ofthe December Arbitration Provisions and restitution ofall sums obtained
                24 by.MORAD from Plaintiff because of them.                                          .
                2S
                26
                27
                2$

                         222f.Qa219929                              -18-                                              I
                                                        .       ^ Cumglain^                                           IJ


^^^^^^T_   ^^   ^
       Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 63 of 95 Page ID
                                         #:57811




                                                                           .            ..!
                         1                         SIXTH CAUSE OF ACTION FOR NEGLIGENT
                        2                        MISREPRESENTATION INDUCING CUNSENT TD
                        3                         THE DECEMBER ARBITRATxON PROVISIONS
                        4                                    AGAINST 1VIORAD ZAR.ABI
                         5             59.      Plaintiff realleges'paragraphs 1 through 36 of this Complaint.
                        6
                        7              b0.      MORAD owed. a duty of reasonable care in malting representations and
                        8 statements fo Plaintiff regarding the appraised value of MGA and the accounting ofthe
                        9' other partnership matters,
                      1U
                       II             bl.       MO13AD breached his duty to Plaintiffby making misrepresentations of
                      12 material facts and by omitting and failing to disclose material facts which he knew ar
                      33        in the exercise of reasonable care should have known wexe inaccurate and which lie
                      i4        was under a duty to disclose to Plaintiff, including without limitation, the true and
                      15 correct valuation of MGA found by NBA's appraisal.
                      f6
                      I7              6'?.      MOIZAD made the misrepresentations and omissions with the intent to
                      18        induce Plaintiff to consent to the December Arbitration Provisions selecting MORAD
                      19 and his son I;AMBI^ as the arbitrators with sole authority to determine disputes .I
                      20        between Plaintiff and ISAAC arising from the December 2040 Agreement,                   i
                      2I
                      2Z              b3.    Plaintiff actually, reasonably and justifiably relied upon the false
                      23 statements and o^nissions of MORAD. Had Plaintiff known the true facts, Plaintiff
                      24 would not have entered into the December Arbitration Provisions which selected
                      25        MORAD and his son RAMBIZ as the arbitrators.
                 i^
                      26
                      z^
                      xs ^^
                 ^,
                                2221.OQ2t9929                              -19-
                                                                         CompleinE ..

             ^^             4
 ^^
^l,^^^^^


PAGE          ^^
    Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 64 of 95 Page ID
                                      #:57812




                     1              6^.      As a result of MORAb's misrepresentations Plaintiff is entitled to
                    2 rescission of the December Arbitration Provision and restitution of al! sums obtained
                    3 i by MORAD frog,. PlaintifFbecaUSe of them.
                    4
                    5                     SEVENTfi CAUSE 4F ACTION FOR CONSPIRACY TO
                    b                         FRAUDULENTLY INDUCE EXECUTION OF THI;
                    7                             DECEMBER ARIIITRATION PR.OYISXONS
                    8                         AGAINST MORAD Z.AI2ABI' AND ISAAC LARIAN
                    9               65.      Plaintiff reailegesporagraphs !through 3b of this Complaint.
                   10
                   11               6b.      Plaintiff is' informed- and believes that the misrepresentations and
                   I2. omissions by MOlZAD in late November tv December 2000 were carried out pursuant
                   13        to a conspiracy and agreement between MORAII and ISAAC to induce FRED Co agree
                   ]^^ to arbitrate al! disputes before MOitAD and KAMBIZ so they could continue to
                   15 ^ conceal 1vi0RAD's and ISAAC's fraud and conspiracy,
                   16
                   .17             67.       In fi^rtherance of the conspiracy, MORA.D cor^^rtitted the acts alleged in
                   3,8 thisCompiaint,includingwithoutlimitationmartipulatingandcorruptingtheappraisal,
                   19 lying to F'1ZED about the appraised value of MGA and inducing FRED to resolve all
                   z0 disputes arising out of the agreement by arbitration before MORAD or KAMBIZ in
                   21 order to conceal the conspiracy.                  .
                   22
                   ^3              68.    As the result of the misrepresentations by MORAD pursuant to the
                   2^# conspiracy of.[SAAC and MORAD which induced l~RED's consent to the Decerilber
                   25 Arbitration Provisions, Plaintiff is entitled to rescission ol'the December Arbitration
                   2G Provisions and restitution of all sums obtained by MORAD from Piaintifr'because of
                   27 them.
                   Z$
              r•
              r
              I
                             2221.00219929                                  ^70^

                                                                      Complaint



EXH IBIT    ^            ^
PAGE __^J5
       Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 65 of 95 Page ID
                                         #:57813




                               I            EIGHTH CAUSE OF ACTION FOR DECLARATORY RELIEF
                              Z       OVER VALIDITY OF THE DECEMBER ARBITRATION PROVISIONS
                              3                                   AGAINST I5AAC I,ARIAN
                              4           64.      Plaintiff reaIlages paragraphs l though 3d of this Complaint,
                              5
                              6           70,      An actual justiciable controversy e^cists between Plaintiffon the one hand
                              7 and 35AAC on the other hand in that Plaintiff contends that the Decet^ber Arbitration
                                                                                                                                i
                              8    Provisions were void ab initio due to the fraud and deceit of MORAD andJor ISAAC
                              s inducing Plaintiff's consent- to them while Plaintiff is informed and believes that             :}
                             1^ ISAAC contends that the December Arbitration Provisions are valid and enforceable
                         • 11      and that there is no basis for invalidating or voiding them, in whole or part.
                             12I
                             ^^I          71.      Plaintiff has na adequate remedy at law and the parties require a,}udicial
                             14 declaration of their legal rights and obligations with respect to the December
                             15 Arbitration Provisions.
                             16
                             X7           NINTH CAUSE OF ACTION FOR DECLARATORY JUDGMENT
                             38                 OVER THE DISQUALIFICATION OF MORAD ZARABY
                             I9      AND KAMBIZ ROBERT ZARABI FROM SERVII^TG AS ARBITRATORS
                             20                       AGAINST ISAAC LARIAN, MORAD ZARABI
                             21                              AND 1KAMBIZ ROBERT ZARABI
                             2Z           7?.      Plaintiffreallages paragraphs i through 3b ofthis Complaint.
                             Z3
                             24           73.    An actual justiciable controversy exists between Plaintiffan the one hand
                             15 and Defendants on the other hand in that Plaintiff contends that as a result of the
                 !?•,,
                             25 pasitivn, Facts and circumstances concerning MOR.A.D and KAiVIBIZ alleged in this
                             27 Complaint, they are disqualified under California law from exercising any power or
                 ^;
                             28 authority as an arbitrator of any disputes between Plaintiff and Defendant FSAAC
                 ^.
                 ^^                                                           -?1-
                                   2221.00219829
                                                                            Complaint




PR^^                     ^            -
       Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 66 of 95 Page ID
                                         #:57814




                                                           •                                   i
                             1        LARIAN; while Plaintiff is informed and believes that Defendants and each of them
                            2         contend that MOIZAD and KAMBfZ are not so disqualified.
                            3
                                             74.      Plaintiff has no adequate remedy at law and the parties require a judicial
                            S declaration of their legal rights and obligations with respect to the ability of MORAD
                            6         and I:AMBIZ to exercise power and authority as arbitrators under the December 2pU4
                            7 Agreement.


                            9               TENTH CAUSE OF ACTION FOR DECLARATORY JUDGMENT
                           10'               OVER ENFORCEABILITY OF ARB)<')f'RATION AGREEMENTS
                           11                                        AGAINST ISAAC LARIAN
                           12                75.      Plaintiff realleges paragraphs I through 36 of this Complaint.
                           13
                           1^1               75.      An actual justiciable controversy exists between Plaintiff on the one hand
                           15         and Defendant ISAAC LARIAN on the other hand in that Plaintiff contends that the
                           i6         Arbitration Agreement and the December Arbitration Provisions are unenforceable in
                           17         that they are agreements to arbitrate solely before MORA.D ZARABI and in the case
                           18         oftlte DecemberArbitration Provisions, KANI13lZ ZARABI i f MORAD is unavai fable
                           f9         or such arbitrators as either of them might appoint if MORA.D and KAMBIZ are both
                           ^0         unavailable . Because MO1Z4D and ICAMBCZ are disqualified under California law,
                           2i         neither may serve as arbitrator or appoint arbitrators . Plaintiffis informed and believes
                           2Z         that Defendant ISAAC L.AItiAN disputes the disqualification of MOItAD and
                           23         ICAM$1Z ZARAAI and that notwithstanding any disquslifcation of MO}ZAD and
                           24         KAMBIZ, contends the arbitration agreements are legally enforceable.
                           25
                  ^:`'^_   Z6               77.    Alaintiff bas no adequate remedy at law and the parties require judicial
                           27 declaration of their rights and obligations with respect to the Arbitration Agreement
                  ;^.
                           28 and the December Arbitration Provisions and their enforceability.
                 f:
                 i.
                                      2221.00219929                               -22-
                                                                                Complaint


               j C^              Il
^^N^^IT
^^^^            ^y
      Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 67 of 95 Page ID
                                        #:57815




                                                       i                                  i
                              x                    ELEVENTH CAUSE OF ACTION FOR RESCISSION .
                              2        OF THE DECEMBER 2000 AGREEMENT BASED ON PROMISSORY
                              3         FRAUD INDUCING CONSENT TO ARBITR-ATION AGREEMENT
                              9                     AGAINST iVIORAD ZARABI AND ISAAC LARI(AN
                 _            5           78.      Plaintiff realleges paragraphs I through 36 of this Complaint.
                              b
                              7^         79.       The fraud and deceit of MORAD and/or conspiracy of MORAD and
                             8 '^ iSAAG to deceive and defraud , inducing Plaintiff to consent to the Arbitration
                             9 Agreement proximately caused Plaintiff s consent to the December 2000 Agreement.
                            la As a eonseque^ce of Plaintiff's entitle3nent to rescission of the Arbitration Agreement, ',
                            11 PlaintitT is also entitled to rescission of the December 2000 Agreement, including the
                            i2     fledge Agreement and restitution of his stock in MGA subject to any accounting
                            13 required by lave.
                            14
                            X5           Sq.       As a proximate resultofDefendants wrongfu! conduct, Plaintiffhas been
                            ^s damaged in an amount and of a nature according to proof at trial.
                            17
                            18           8I.       MORAD's wrongful acts were conducted ^xtaliciousfy, oppressively and
                            rs fraudulently withthe intent to injure Plaintiff. Plaintiff is therefore entitled to an award
                            ^a ofpunitive damages sufficientto punish MORAD and detersuch conduct inthe future.
                            2I
                            22                     TWELFTH CAUSE OF ACTION FOR RESCISSION
                            23                          OF THE DECEMBER 2©00 AGREEMENT
                            ^24                    AGAINST MORAD ZARABi AND ISAAC LARiAN
                            25           82.    Plaintiff realleges paragraphs ! -through 36 of this Complaint.
                 3.
                 ^::        26
                            Z7           83.    MOItAD'sfraudanddeceitand/artheconspiracyofMORA^DandISAAC,
                 ;:
                            zs to defraud and deceive, ind€tcing Plaintiff into believing that MO1tAD had carried out
                 ^•
                                   2221.QQ219929                              -?3-
                                                                            Complaenl                                -



^^^^ ^ ^ ^^
              ^s
^^U^ ^.                ^/
       Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 68 of 95 Page ID
                                         #:57816




                          l     an accurate, complete; and current appraisal of MGA which purportedly had
                          2     determined the value of MGA to be $17,SOO,OOt? proximately caused Plaintiff to
                          3     consent to the Decenr^ber 2000 Agreement and consequently Flaintiff is entitled to
                          4 rescission of it, including the Pledge Agreement and restitution of his stack in MGA
                          5 subject to any accounting required bylaw.
                          6
                          7           84.      As a proximate resu It of Defendants wrongful conduct, Plaintiffhas been
                          8^' damaged in an amount and of a nature according to proof at trial.
                          9
                        XO            8S.      MORAD's wrongful acts were conducted ina[iciousiy, oppressively and
                        11     fraudulentlywiththeintenttoinjurePlaintiff. Plaintiffisthereforeentitledtoanaward
                        12     ofpunitive damages sufficient to punish MORAD and deter such conduct in the future.
                        13
                        1 ^#        THIRTEENTH CAUSE OF ACTION FOR RESCISSION BASED ON
                        15                     NEGLIGENT MISREPRESENTATIONS INDUCING
                        ib                             THE DECEMBER 2000 AGREEMENT
                        17                                  AGAINST 1VIORAD ZARABI
                        1$           86.       Plaintiff realleges paragraphs 1 through 36 of this Complaint.
                        19
                        20           87.       MORAD owed a duty of reasonable care in making representations and
                        2X     statements to Plaintiffregarding a}his purported inter ^tion to impartially arbitrate the
                        zz sale of Plaintiff s interest in MGA by an accurate, complete, and current appraisal and
                        23 b} the true and correct appraised value of MGA and the accounting of the other
                        24 partnership matters.                     .
                  r,    ^5
                  L^
                  .;    26           88.    MdR.AD breached his duty to Plaintiff by making misrepresentations of
                        27 material facts and by omitting and failing to disclose material facts which he I:new or
                 f:
                 ;'     28 in the exercise of reasonable care should have known were inaccurate and which he
                 ;•,
                 ^._^
                               2221.00219929                              -Z^-
                                                                        Complaint


€xNieit     ^S ^
PAGE           ^^
   Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 69 of 95 Page ID
                                     #:57817




                                                     ^^


                           i    was under a duty to disclose to Plaintiff; including without limitation, MORAD's true
                        2 intentions regarding setting the price for PlairZtift's stock and the true and correct
                        3       valuation of MGA found by NBA's appraisal.
                        4
                        5              $9.      MORAD's misrepresentations induced Plaintiff's execution of the
                        6 December ?000 Agreement and Plaintiff is entitled to rescission of it, including the
                       7 Pledge Agreement and to restitution of his stock in MGA subject to an accounting
                       8 required by law.
                       '9
                      ]0              90.. As a pr^:cimate result of Defendants wrongful conduct, Plaintiff has been
                      11       damaged in an amount and of a nature according to proof at trial.
                      12
                      13                    FOITRTEENTH CAUSE OF ACTION FOR I3ECLARATORY
                      14           RELIEF OVER VALIDITY OF THE DECEMBER 2(#00 AGREEMENT
                      15                                       AGAINST ISAAC LARIAN
                      16^             91.       Plaintiff realleges paragraphs 1 through 36 ofthis Complaint.
                      17
                      18              92.       An actual j usticiable controversy exists between Plainti ff on the one hand
                      X9 and Defendant ISAAC on the other hand in that Plaintiff contends that the December
                      20 2000 Agreement was void ab initio due to the fraud and deceit of MORAD and/or
                      21       ISAAC inducing Plaintiff s consent to it while Plaintiff is informed and believes that
                      22       ISAAC contends the December 2000 Agreement is valid, enforceable and that there is
                      23 no basis far invalidating or voiding it.
                      24
                      25              93.     Plaintiff has no accurate remedy at law and the parties require a judicial
             i.i
                 ,'   26 declaration of their legal- rights and obligations with respect to the December ?000
                      27 Agreement.
             ^•.
             `^       28
             F_-
             i                                                              _7^_
                               222'I.OO219929
                                                                          Complaint



^^^^^Ai    1^


^^^^^      ^v^'
     Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 70 of 95 Page ID
                                       #:57818




                                                         •                                 ' + ^^




                                                   FIFTEENTH CAUSE OF ACTION FOR CONSTRUCTIVE
                                                  TRUST, PREL1lMINARY INJUNCTION AND ACCOUNTING
                                                      AGAINST 1VIOItA© ZARABI AND ISAAC LARIAN
                              4              94.    Plaintiff realleges paragraphs I through 35 of this Complaint.
                     .        5
                                  I
                              6              95.    The share certificates for F12ED' s Stack were held intrust by MORAD
                              7 pursuant to a pledge agreement made by ISAAC in connection with the December
                           8 2000 Agreement. Plaintiff has made demand on MORAD to show him the share
                           9 certificates , but MOIZAD has failed and refused to do so. Plaintiff is informed and
                         XQ believes that MOR^AD has turned over the stack certificates or other instruments
                         ll           affecting the stock certificates to ISAAC.
                         12
                         13                  96.    By virtue of their fraudulent acts, Plaintiffs entitled to rescission ofthe
                         I4           December ?fl00 Agreement and to restitution of his stock in MGA subject to an
                         I5 accounting by the Court of any amount of the consideration Plaintitl: received for his
                         I6 stock that mast be retetrned to Isaac, which Plaintiff hereby offers to restore.
                         l 7 '' Defendants and each of them hold FIZED's Stock as a constructive trtastee for
                         18           Plaintiffs benefit. Plaintiff is informed and believes that the stock certificates may be
                         14           voided, lost ar destroyed and Plaintiffs stock interest diluted or altered to Plaintiff s
                         20 detrimentunlessDelendants and each of them are enjoined and restrained from taking
                         21           any acts of any nature with respect to Plaintiff's stock certificates and stock interest.
                         22
                         23                 97.     Plaintiff does not I:rtow what amounts, if any have accrued or been
                         24 distributed on account of Plaintiff's MGA stock and an accounting is therefore
                         zs necessary to determine what amounts , if any are due Plaintiff on account of his MGA
               ^:
               ,,        zs stock.
                _        ^^
               '         28
               i.i
               .,
               F."
                                  2221 .oa2L9 szs                               -2b-
                                                                              Complaint

            ^^ u
^^^^^^^


^^           ^^^
    Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 71 of 95 Page ID
                                      #:57819




                                                                                                                                   i




                                   .1          WHEREFORE, Plaintifl'prays for judgment as follows.
                                    2
                                   3           1.       That the September 28, ?000 Agreement to Arbitrate acid Selection of
                                   A Arbitrator is declared void ab initio ar is rescinded;
                                               ?.       That the December Arbitration Provisions are declared void ab initio or
                                   a ara rescinded;
                                   7           3.       ThatMORADZA.RABIisjudiciallydeclared^asdisquali^edfrainserving
                   I               8 as an arbitrator of any disputes between Plaintiff and Defendant ISAAC 1,ARIAN;
                                   9           4.       That KAMBIZ ROI^ERT ZARAI3I is judicially declared as disqualified
                                  1a from serving as an arbi#rator of any disputes between Plaintiffand Defendant ISAAC
                                  11    LARIAN;
                  .               12          5.        That Defendants and each of thean and their agents and employees hold
                                  13    Plaintiffs MGA Stack as constructive trustees^far Plaintiff's benefit;
                                  14'         6.        That Defendants and each of them, their agents, employees and a!! those
                                  15 in active concert and participation with 'them are prelianin.arily and permanently.;
                                  l t4 enjoining from transferring, disposing of, or altering FRED's Stock certificates or
                                  17 interest in MGA;                                        '
                                  18          7.        That the December2000 Agreement (including all related agreements) is
                                  19 declared void ab initio ar is rescinded;
                                  2^;
                                              S.        That Plaintiff s stock in MGA be restored to him;
              i                   21          9.        For an accounting of alI monies accruing to or distributed on account of
                                  22 i Plaintiffs stock in MGA;
                                  23          10.     1=or damages as allowed bylaw and according to proof at trial;
                                  24          1l.     For reasonable attorneys fees;

                       ^.         2^          l?.     For costs as allowed by law;
          ^                       26          i 3^.   For punitive damages as allowed by law and according to proof at trial;
          '
          <            _:<:^^,.   27 and
                       ...        28
                       I`
                       ^•                                                          -27-
                                        2221.©0219929
          ^'                                  .                      ^           Complaint
          !
          I

                       ^^
^^^^L]'!I F



^1^^^                  3n ^
     Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 72 of 95 Page ID
                                       #:57820




                           ]          t4.   Far such other relief as the Caurt deerns,^ust and proper.
                           2
                           3 Dated: February 24, 2005                                     William C. Conkle
                                                                                          Mark D. Kremer
                           4                                                              Eric S. En e!, members of
                                                                                          CONKLE ^ OLE STEN
                           ^                                         ^                    Prafessiana9 Law Corporation
                           6                       .
                           7                                                     Ey^
                                                                                                     emer
                           g                                                              Attorneys for Plaintiff

                           9
                          ld
                          11
                          12
                          13
                          14
                          15
               ^          16
               ^          17
                          38                                                                                  _
                          ]9
                          20
                          21
                          22
                                                                                                                            I
                          23                                    ',
                          24                                                                                                {
           ^              25
                    ^:!                                                      .
                          26
                          27
                      '   28
                    i^
                               2224.t7p219929                            _         ^^$-
 .         i
                                                                                 Compfaine       ^                  ^   .
           ^       ^^
    4!
^^t^i^^^
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 73 of 95 Page ID
                                  #:57821




                                     .i                                              !

                 Ii
                 z
                            I have read the foregoing Verified CamplaiAt and know its contents.
                 3
                      ^     I atn a pa^y to this action. Tl;e matters stated in the foregoing document are true
                 4 of my own know]edge accept as to those matters which are stated on tnfarfnatcon and
                      belief, and as to those matters l believe them to be true.
                 S
                   t7 ^ I am          of        a arty to this action, and am authorized to tneke this
                 6 veri cation^"'
                               o ra^id an^e'hal^, and I iuake this veri&catioa for that reason.
                 7 v      I am informed and believe and on that ground aIIege that the matters stated in the
                   foregoing docu[nerit are true.
                 S
                   ^     The matters stated in the foregoing, document are true of my own Ccnawledge
                 9 except as to those matters which are stated on information and belief, and as to those
                   ^nattcrs [believe thenrt to be true.
               xo
                      ^     I am one oI'the attorneys for             a party to this action. Such p   is absent
               ^1 from the county of aforesaid where su^ttameys have their offices, and f make this
                      vetiScation far and an behalf of that party for that reason. f am informed and believe
               1z and on that ground aitege that the matters stated to the foregoing document are true.
               13           Executed an February 25, 2005.
               ^^            I declare under penalty ofper^ury under the laws of the State oi'California that ,
                      the #'oregoing is true and correct.        ^.
               i5
               is ,
                                     an
               ^7 Isnnt ame o '^ignator                        Signature

               18
               19
               24
               Zit
               zz
               z^
               ^a
               xs
               zs
               ^^
               zs

                                                        Vcrificatfort to Complaint
        Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 74 of 95 Page ID
                                          #:57822




                                                                 ^ n a r Ir ^ ^ F n ^                                  ^                                           r:lu.n,n
                   A77OAHEY tin AARlY rihrHOUTAYTUWiEY {NOmt. Nd etw nwndrr,            1                                                    FOR COURT USEONLY
                   Mark il. Kremer    ..
                    onF:le ^ Olesten, Prcfessienal Law Corporation
                   3].30 Wilshire Blvd., Suite 504
                                                                                                                                LOS ANGELES SItPERfOR COURT
                   Santa Monica, CH 90403
                         rr=r.er++onEr{o       310-998-91.64            FN[RO: 310-598-9109                                                  ^^$ 2 $ ^fl^rJ             _
                   ATIURREY FUR            tl  P1   1
                   SVPERIORCOURTOFCALIFORNIA ,000NYYOfL05 Angeles                                                              ^^^^-
                      51'REETAppA€SS:      111 N. Hill Street                                                                  BY
                      MNLINGA!]ORESS
                                                                                                                                        ^ . ^^        r   ^{'_ V F i
                     crtYnHOZrPtAOb Los Angeles, CA 94012-3614
                          aRwxcrrwwE Central District
                   cASENAME:           Farhad Laxian v. Moxad Zarabi, et a7..

                      CIVIL CASE COVER SHEET                              Complex Case Designation                            cost: e^aEA'
                                                                        CI Courrter    ^ Jolniter
                  © (lllmo)
                         ar i! d           ^ ^UU n ou^t                 Flkd with frrsf appearance by defendant               ^uoGtw
                         demanded                   demanded 1s
                         exceeds ; 25 DOD              Q00 or less             (Cal. Rules of Court, rule 181 i}               oErr:
                                                                                                                        vrr
                  1. Check one box below (or the case type that best describes this case:'
                     quto TaR                                           Contract                                      Provicionaily Complex Civil Utlgation
                     UAuto (22)                                         ^ Breach of contracUvlorianly {p(i}           (Cal. Rules of GGUrt. rules 1DaD-1812 )
                     Q Uninsured malorist {4fi )                        ^ CoUactians {09}                             [] AntltrusVTrade regulation (D3}
                     Other PllPDlWD (Persona! InjuryiProperty           Q Insurance eaverage (16)                     _Constrodlon dated {1Q)
                                                                                                                      []
                     DamagalVYrongtu ! Death) Tort
                                                                             r]lher cenlrect {37)                     L.I Mass tort (4D)
                     I^ Asbestos (oa}                                                                                 0 Securttles lltigatlon (28)
                                                                        Ftcai Property
                           Product 1€abirdy (24)                                                                      ^ E nvi ronmen ta l(Toxic t oq (30 )
                                                                        ^ Eminent domalydlnverse
                     I^ fAedicat malpractice (45}                            condemnation t14}                        Q Insurance cavarage e)akns arislRg tram the
                     Q Other Pt1PDA^!D (23}                                                                                 above Itsted provisbnally eamplax case
                                                                        ^ Wrongful eviction ( 33)                           types (4i)
                     Non•PIIPDIVYD (Other) Tart
                                                                        CI C}Ihar teat property (261                  enforcement of Judgment
                     iJ-
                       8uslness torUunleir business practice (07)
                     I^ civn d9nts {Da)                                Unlawful potalner                              G' FJrforcement of judgment (20)
                           i]efamalion (13)                            ^ Commercial {31}
                                                                                                                      R4lscalfaneous C[vll Complaint
                                                                       ^ Residanllal (32)
                     [^ Fraad {16}                                                                                    Q RICA {271
                     i^ tnleiledual property (19)                      ^ OrUgs [3B}                                   (- ) Other camplalnt (not specrrredabove) (42)
                                                                       Judicial Review
                           Professional nagligenoo {25}                                                               Miscellaneous Civil Petition
                                                                       O Asset fodeiiure (D5)
                     [] Olner non^I1P0AND tort (35)                                                                   ^ Partnership and cprpprate govamance (21]
                                                                       ^ PetK[on re: arbllraGon award ISi)
                    t:mp[oymant                                                                                       ^ Other petition (not specified nbave] (43)
                         Wrongful terminatlnn {36)                     [] Writ olmandate (D2)
                                                                       ^ piher judicial review {39)
                    I^ Other empbymant [l6}
                 2. Th[s case [] is ®!s not complex under rule 1800 of the California fiules of Court. if case is complex, mark the factors
                     requiring excepEional)udidal management:
                    a. ^ large number of separately represented parties d. ^ urge number afwiinesses
                    b. Q Fadenstve motion practice rasing difficul(ornovel e. 0 Cattrdinailonwithrelatedadionspendinglnoneormorecourts
                                issues thatwit! be lima-consum(ng to resolve                         in otter counties, states orcotmbte s, orln a federal ca+lrt
                     c. L^ Substantial amount of documentary evidence  1. Q Substantial post judgment judicFai supervision
                 3. Type of remedies snugttt (check aA that apply):
                     a, l^ monetary b. ^ nonmonetary; dedaratory or inJunct(v6 relief c. ® punifve              '
                 -0. Number of causes of action (specify): 15
                 5. This case Q Is ^ is trot a doss action suit.
                 Dale: Febzuary 24, 2005                                                            ,
                    lr     D.                  r

                                                                                     NQT)CE
                  r:.Plalntlft must fie this weer sheet with file first paper filed in the action or proceeding (except small da(ma cases or cases fried
                   'i•under the Probate, Family, of Welfare and Institutions Cade). (Cal. Rules of Coud, rule 201.8.) FeHure to file may result in
                     sarrctions.
                  ..'File Ihis cover sheet in adduon to any cover sheet required by local court rule.
                    df this case is complex under rule 1800 et seq. of the Caftfernia Rules of Court, you must sewe a copy at this cover sheet on all
                    Ather parties to the action or proceeding.                           ^                  '


                   h+aiea^ Co,s+ci a Galanv^
                   U6oiotRw. JJr f. Zourl




E^^iB^T

{'^^E          JDJ
   Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 75 of 95 Page ID
                                     #:57823




         .                                                `_                          ^RiGiNAiw ..
                      sHaerrnce. Earhad Larian v. Morad ^arabi , et a^..                                                   c^sEUUr,rarx
                                                                                                                                              i]Lr 72^;]U

                                             CIVIL CASE GOVER SHEET ADDENDUM AND STATEMENT OF LOCAT)OlN
                                          (CERTIt=fCATE OF GROUNDS FOR ASStGNMINT 70 COURTHOUSE fOCATION)
                             This forrir 1a required pursuant to EASC local Ruie 2 ,fl fn all new civEt case fitinga in the los Angeles Superior Court.
                  tram I. Check the types of hearing and fil ^l ^-In- rthe estimated length of hearing expected far this case:
                    JURY TAIAL7 © YES L'lASSAG7i0t4'J         IJ YES tA1rTE0 CPSE7 Q YES TIME ESTANhTEO FOR TAIAt . 7          ^ ti0llRSr ®pAY5.
                  item 11. Select the calTect district arld courthouse location {R steps -- if you checked "limited Case", strip to Item III, Pg. 4}:
                  Step 9: After first: cantplsting the Civil Case Caver Sheet Form, fnd the main civil case saver sheet head 'sng (ar your case !n
                  the left margin below, and, la the right in Column A, the Civil Case Caver Sheet case type you selected.
                  Step 2: Check one Superior Court type of action in Catumn Sbelow which best describes the nature of this case.
                  Step 3: !n Column C, cirete the reason for the cour# location choice that applies to the type of acton you have checked.
                  For any exception to the court location, see Las Angeles Superior Court Local Rute 2.0.
                                                  Appifcable Reasons far Choosfttg Courthouse Location (See Column C bs3awl
                             1. Class Adions must he fried in the County Courthouse, Central DIsMd.              6.   Location or propeRy or pennanantly garaged ve >>lcle.
                             2. May ba filed fn Central {Other county, or na Bodily Injury]Proparty damage }.    7,   location where petitioner recldes.
                             3. Location whera.cause of adton arose.                                             6.   Lacatwrt vrherein defendanVrespondent fundians wha[ly.
                             a, Location wtrera bodily injury, death or damage occurred ,                        9,   LaceUan where one or more of the parties reside.
                             5. location where performance required or defendant resWas.                        10.   Location of Labor Commissioner office.
                 Step 4 : Fifi In the information requested an page 4 in Item III; complete t#em N. 51gn the declaratlon.

                                     A                                                            B                                                                C
                          Civil Case Cover Sheet                                             TYPa ofActlorl                                        Applicable Reasons -
                               Category Ho,                                 ^               (Cheek only one)                                        Sae Stop 7 Above
                 0
                 ti
                 0
                                  Auto (22 )               ^ A7t00 Molar Vehlde -?ersonaf tnJurylFroparry DamageJWrarrgiul Death                    1 ., 2., 4.
                 d          Uninsured Motorist [46)        ^ A7f 14 Personal InjurylPrapeAy DamageNYron9ru! Death -Uninsured Motorist               1„ Z., 4.

                                                            0 A6070             Asbestos Property Damage                                            2.
                                Asbestos (04)
             T a-                                                  A722i    Asbestos - PerSOnallnJuryNYrangfulDeath                                 2.

             QF
             os              Prodad LiabiGly {24}          n A7260 Product Liabir^ty ( not asbestos or ioxidenvironmenta !)                         t., 2., 3., 4., 8.
                ..
             a a
             a. a'
                D
                             Medical Malpractice           ^ A72i0 Medical Malpradica • Physldans 8 Surgeons                                        1. , 2. , 4.
              a .r
             •^ w                   {45j                   [] A7240 Other Professional tioallh Care Malpradice                                      1., 2., 4,
                 a
                 c
             c c
             a 3                  Other                    0 A7254 Fremises Isdbtrily (e.g., slip and fall]                                         1., 2., 4.
             d `a             Personal inJury              Q A7230 tntenUonai Bodily tn)ruylProperty DamageMfrongful Death {e.g„
                tr
                             Properbr Damage                       assault, vandatfsm , elcj
             m̀ ^                                                                                                                                   1., 2.. 4.
                              wrongful Death
             o^                     [^)                    Q A7270 fntentlonal lnfHdlon oE&notiana ! Dlstresc                                       1„ 2., 3.
                                                           [^ A7220' Other Personal fn]urylPropartypamega]4Vrongfuf Death                           i„ 2., 4.

             ^^              Business Tort (07]            Q Atr02g Qther CommerdallBuslnessTort (not Gaudlbreach of contrail}                     1., 2„ 3.
             m` ^"
             ^' ^             Civ7 Rights (OB)             CI A6005 Civil RighfslDiscrimlrtaEinn
                W                                                                                                                                  i., 2., S.
             a v
             ^^
             ^3             r Defamation {i3)             ^ A6410 Defamation [slanderl6hal}                                                        1., 2„ S,
             C d7
               C
             ^ G
             c y                 Fraud (i9)               ^] ASOf3 Fraud (no contradi                                                              1., 2., 5.
             a$
             N
                      ^^
             0   ^
             a ra     IptalraUtral Properly (19]          Q A6016 Inlelledual Property                                                             2, 3.
             o ^      ;^.
             zd
                      r
                                                                   ClVllr CASE COVI=R SHEET ADDENDUM                                                       IASC, rare x.o
                      cfv log a3-w                                                                                                                           ^Pa9e.tof4
                      LASC Approved                                   AND STATEMENT OF LOCATION                                           ^
                                                                                                                                                                         lAaBr



^^^^^^       ^^




PACE             3^
    Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 76 of 95 Page ID
                                      #:57824




           m                                                    i                                                  •
                             sHOarrnt:: Faxhad Lariall v. Monad Zarabir et al.                                     ctiserarrnarx
           o-
           ^-
                                       A                                                   B^                                                               C
                               Clvl! Case COVeI'                               ^     Type a! Action                                          Applleable Roasans
           ^ 1                Sheaf Category Na.                                    (Cfteek only ane )                                       - Set Step 3 Above

           '^ a                  Prafassksnel
                                                        Q A60f7 CegalMa^practic^                                                             i. , 2. , 3.
                                  NegllQence
                                     (25)               0 A8050 Othei ProfesslonallAa [pracllCO (not medkal or legal}                        i., 2., 3
           R^
           ^;
           4 ,
           C ^
           O
                   ^              Other (35)            0 A6025 Other Nan^Peraonal In(urylProperty Damage tors                               2., 3.
           z^
                              Wrongful Termination
                                      f35)              ® A6037 Wrongful Terminalbn                                                          1., 2., 3.
               0
                               Other Employment        ^ A602a Other Employment Complaint Casa                                               ;., 2., 3.
            u7                         (1$)            ^ A5109 LaborCommrssionafAppeals                                                      10,

                                                       ^ Ab004 Breach of RentaULeaso Contr.^q {not llniawful Detalner a wrongful
                               Breach ofContrdeV                                                                            eviction}        2., 6.
                                    4Yarranty          ^ A6008 ContractfYYarcanty Breach^Seller Plaintiff (no fraudlneg [fgenw)              2., 5.
                                       tom)
                                 {not insurance )      0 Ali0i9 Negligent Breach of CondacfllNarrahty (na fraud )                            1., 2., 5,

                                                               AS02d O1herBreachofContracUwarranly {notftaudanegtigence}                     1..2.,5.

                                   Coiladlons          ^ A6002 Calfectlons CaseSeller Fialntlff                                              2., 5., 6.
                                       Imo)            ^ A6012 OtherFramissoryNOtefCOGet^tonsGasa                                            2., 5.
            o
            U
                              insurance CaYergge
                                      {i g}            ^ A6015 insurance Cwera9e [not oampfex}                                               1., 2., 5., l1.


                                 Other Contract        0 A6009 Cordracluai Fraud                                                            i.Q 3., 5.
                                       (37)            C] A6031 Torsions In[erferenca                                                        1., 2., 3.. 5.
                                                       [] Ati027 OtherContraG Dispute (not breachfinsurantclfraudlnegllgeRCe }              1., 2., 3., e.

                                  frnineni
                               DomaiNlnverse           Q A7300 Eminent DarnauuCandemnatbn Number of parcels                                 2.
                              Condemnat"bn (1A}
                               vlfrongful Eviction     ^ Atip23 Wrongful EvldWn Case                                                        2., 6.
                                          }
            ^.Q
                                                              A6018 Mortgage Foreclosure                                                    2., B.
                              Other Real Property
                                     ^^                ^ A6032 Qutet 7llte                                                                  2..6.

                                                              AS660 Other Real Properly toot eminant damaln , IandtorNtenant, foreclosure   2., ti.

                              Unlawful Detainer-
                               Comrnardat (31}         [] A6021 Unlawful tlQlalnar-Cortrmerdat (not drugs or vnoggful evid[on}              2,. 6.

            O                 tJnlaaful Detainer -
                                Residential {32[       ^ Ati020 Vrsiawfu[ Defamer-Residential (oat dings a wrongful eviction}               2., s.

           `c
                              Untavrful Detainer -
                         I                             ^f     A802Z Unlawful Dcfainerx3rugs                                                 2., e.
                                  ^9s ^}



           m                 Assts ForfeNure (OS)      ^] A8108 Ansel FoAedure Gale                                                         2., 6.
           rr
           i4          r
                       petlllan re Arbitration {i 11   ^ A61 I S Paiitton to CompeUConfirrrtf Vacate Arbitration                            2,. 5.
           n
           a
                       1^'
                       ^:^

                   CIV 109 03^a                               CIVEL CASE COVER SHEEP ADT)EI^bUNI                                                      t.ASC; rule 2.0.
                   uric appr^rea                                 AND STATEMENT OF LOCATION                                          -                    Page 2 of a .


^^^^^^     ^^
P^^^        3v7
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 77 of 95 Page ID
                                  #:57825




                          sHOarnne         Farhad Laxian v, iyorad Zarabi, et al.                                                    cASetat7[.+a^rt


                                    p                 ^                                               B                                                                C
                         Clvil Cana CoverSheet                                                 Typa of Actloh                                          Applicable Reasons-
                              Category No.                                                    (Chock only olio}                                         Sea Stap 3 Above
             v
                                                                  A81S1 Wrlt-gdminlslntlvaMendamus                                                      2., 8.
                             Writ of AReadato                                                                                                                                      t
              3                                           Q 86152 Wrlt - Mandamus an Eimltad Court Casa Matter                                          2.
             .^
                                    roe)                  ^ A6153 Writ - Other Lkniled Court Case Revlaw                                                2.
            w
                          Other Judi¢tsl Review
            v                     (3g}                    ^ A8i50 Oilier Wr1t 1 Judicial (tEwew                                                         2.. B.

                             AntitrusUTrada               0 A6h63 An1^7rusUTrade Regulation                                                              t ., R., 8.
                             Regulation (03}
                                                                                                                                                                                   i
                         Construction DeraU {14)          ^ A$407 Corrstructlan defeG                                                                   1., 2., 3.

        s                                                                                                                                                                          i
                         Claims Invalving Ma6S
        G.
                                                          ^ A600b Claims lnvaiving Ntass Tort                                                           1 ., 2., B.
                                Tort (44)                                                                                                                                          ^
                                                                                                                                                                                   5
    1   ^       R
                         Securities Lltigalion (28}       ^ A60.35 Secur €tles Llt(galion Cass                                                          i., 2., 8.                 Z


    1   '°.Na
    ^
        a
        o
                               Tonic Tod                  l^ A6436 Toxic TortlEnvironmentai                                                             1., 2., 3.. 8.
                           Environmental t3D)
    ,   ^
                           Insurance Coverage             ^ A6014 . Insurance CoveragelSubrogapon (camplax case only}                                   1 ., 2,, 5., 8.
                          Claims from Complex
                                Casa (41}

        Y ^+
        ^ C                                                      A6141 Sister Slate Judgment                                                           2., 9.
        V O
        E E:                  Enforcement                 ^ A6t60 AbslrauafJudgment                                                                     2., 6.
        d^                    of Judgmerrl
           a                                              (^ A610T Confession of Judgment (nan•domestie rela5ons}                                       2., 9.
        ^^
        [ w                        f^D1                   I^ A614p Administrative A9encyAward {not unpaid texas)                                       2., 8.
        41 9
                                                                 A6114 Pe4tbnlCertiCCale fer Entry of Judgment an Unpaid Tax                           2., 8,
                                                          Q A6ii2 OtherEnlorcemeMotJudgmantt :ase                                                      2., 8.,8.

                               RICO (27}                  0 A6033 RacJceteering (RICO} Casa                                                            1., 2., 8,
        V H

                                                                 A6434 t) eGaratory Relieft7ny                                                         t., 2, 8.
                           Other Camplaihts
        ^ ^                                                      A60 4 0 I nj u nct ive R e fie tO n ly (no t d omes tl cJh a ra s sme ap              2 ., 8 .
                         iNot SpodCed Above }             0
        ^U
        w                                                 {`] A6411 4therCammercialGomptafrrt Case {pen-torflnornCOmpta^s }                            i., 2., 8.
                                  (42)
                                                          ^ p^5g00 Other Citii Cgmpialnt {non4arUnan-wmplex}                                           1 ., 2., 8.

                         Partnersh'gHCorporatlan
                            Oovemence 1                   ^ ASii3 Pannershlp and Corporate Governance Case                                             2„ 8.

        :^
                                                                A6t2t GivBtfarassment                                                                  2.,3.,9.
        a
        .$                                                [^ A6123 Workplace Harassment                                                                2.. 3., 9.
        a                   01her Petitions
                                                          ^ A6124 ElderlDaparrdenl Adult Abuse Casa                                                    2, 3., 9.
                     ° lNat Specified Above )
        0                                                 Q A6i90 Election Contest                                                                     2.
                                  (43}
                                                                A6i t0 Petition for Change of Name                                                     2, 7.
        w
        w                                                 Q Ab170 Petillan for Rellei tram Late Claim Law                                              2., 3., 4., 8.
                                                          Q A6100 Oihar Civic Yetdsan                                                                  Z., 9,

                    1^
                    l
                                                                CIVIEr CASE COVER SiiEET A[l>aEHf]UM                                                              LASC, rule 2.0
                    CtV 109 03.01                                                                                                                                   page 3 of 4
                    LASGApproved                                   i4ND S^'AT^IVIEtd3 ' OF LOCATION
        q^
      Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 78 of 95 Page ID
                                        #:57826




                         sHnRrrrne   Eazhad Larian v. Mvrad Zarabi, et a1 .                                   CASE HUMBER




                    Item lit. Statement of LocaQan : Enter the address of the accident , part}rs residence or place of business, performance, or
                    other circumstance indicated Irt Item il., Step 3 on Page 1, as the proper reason for filing In the court location you selected.
                     REASON ; CHECKTRE NUMBER UN^EFi cor.VMN C YVHK ;H APPLIES ihi mi1S CASE   AGGRESS.

                         >]i. p2. ©3. t^4. ©5. Q6. D7. (:]8. ^ 9. Ciao.                        24120 Plummer Street
                     CRY'                    ^             SFATE         71P Dove
                         Chatsworth                         CA            91311


                    ttem 1V. DeclaraBorr of Assrgnmerrt: f declare under penalty of perjury under the laws of the State of California that the
                    foregoing Is true and correct and that the above- enuued matter is properl}r tiled for assignment to the ^a n 1 ev Mas k
                                             courthouse In the Central                          District of the Las Angeles Superior Court
                    (Code of Clv. Prot„ § 392 et seq., and EASC Local Rule 2.0, subds. (b}, (c) and (d}).




                         Gated: E'ebruarv. ^9. 2005                                            _..,__.,.__^^                    ,.._                              ,
                                                                                                              1SIGNA71RiE OF ArFQFiflEYlFLLJJG PARFY)




                            PLEASE HAVE THE FALLOWING DOCUMENTS COMPLETED AND READY TO Bl; FILED IN ORAEfi TO
                                                PROPERLY COMMENCE YOI.IR NEW COURT CASE:

                           1. Original Complaint or Petition.
                          2. It filing a Comptainf , a completed Summons form for issuance by the Clerk.
                          3. Civil Case Cover Sheet form JC 982 .2(b}(1}.
                          4. Complete Addendum to Civil Case Cover Sheet form CIV 109                                                         (elf. Qate).
       .                  5. PaymenE In fuH of the filing fee, unless fees have been waived.              .
                          ti, Signed order appointing the Guardian ad l.item , JC form 382 (a)(27}, if the plaintiff or petitioner is a minor
                              under 18 years of ago, or if required by Court.
                          7. Add [tional copies of documents to be conformed by the Clerk . Copies of the cover sheet and this addendum
                             must be served along with the summons and coinplalnt , or other initiating pleading in the case.
               1
               I




               ,

                     I



                     ^^
           1

                    I!
                                                                                                                                                  LASG rule 2.0
                   crv ias os^a                           CtViL CASE COVER SHEET Afll3ENDUM
                                                                                                                               ^_                   Pege a of ^
           1       LASC Applvved                             ANO STATEMENT' OF LgCATION




^^^                3^^
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 79 of 95 Page ID
                                  #:57827




                               EXHrBrT 16
        Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 80 of 95 Page ID
                                          #:57828




                                                                                                     .                                  Page 2 of I2



                     ^t^t^ilW.

                      123 Ca1.App.4th 75I                                                                                          Page 1
                     123 Ca1.App.4th 751, 19 Cal.Rptr.3d 916, 04 Cal. Daily Op. Serv. 4657, 04 Cal, Daily Op. Serv. 10,191, 2004
                     Daily Journal D.A.R. 13,211                                  '
                     (Cite as: 123 CahApp.4th 751)



                     H                                                                  25T1C(A) Nature and Fvtnt of Proceeding
                     Larian v. Larian                                                      25Tk117 k, Preemptien . Most Cited Cases
                     Ga1.App. 2 Dist.,2004.                                          (Formerly 33k2.2 Arbitration)

                         Court of Appeal, Second District, Division 5,            States 360 X18.15
                                          California.
                         Farhad LARJAN, Plaintiff and Respondent,                 360.States
                                              v, .                                    3601 Polidea! Status and Relations
                           Isaac LARIAN, Defendant and Appellant.                         3601(13) Federal Supremacy; Preemption
                                      No. B17I891.                                           360k1$.15 k. Particular Cases, Preemption
                                                                                  ar 5upersessian. Mast Cited Cases
                                      Oct. 26, 2044.                                  (Formerly 3310.2 Arbitration)
                     As Modifred on Denial of Rehearing Nov, ! 6, 2004            The tJnifed^ States Arbitration Act was inapplicable
                                                                                  to judicial resolution of arbitration agreement that
                     13ackground : Shareholder in family corporation              provided that California !aw applied. 9 U.S.C.A. § 1
                     sued president of corporation , alleging , inter alto,       et seq.
                     fraud in arbitration process ]eading to shareholder's
                     sale of shares at below market value. Przsident              (2] Alternative Dispute Resolution 25T 0113
                     moved to compel erbitratinn pursuant to parties'
                     agreement to arbitrate. The Superior Court, Los             .2STAltemative Dispute Resolution
                     Angeles County, No. t3C301371,Rodney E. Nelson,                 25T1J Arbitration
                     J., denied motion, and president appealed.                         25T11(A) Nature and Form of Proceeding
                                                                                           25Tk113 k. Arbitration Favored; Public
                                                                                  Policy. Most Cited Cases
                    Holding: The Court of Appeal, Turner, P.J., held                 (Formerly 33k1.2 Arbitration)
                    that there was no evidence of fraud in inception or           California taw favors enforcement of arbitration
                    execution of arbitration agreement, and thus                  agreements.              '
                    shareholder's claim chat president's fraud was
                    sufficient to warrant nonenforcement of arbitration          (3( Alternative Dispute Resolution 25T X139
                    agreement was to be resolved in arbitral forum.
                                                                                 2STAlternative Dispute Resolution
                                                                                    25T11 Arbitration
                                                                                       2STI1(B) Agreements to Arbitrate
                    Reversed with directions.                                              25Tk13ti Construction
                                                                                              25Tk139 k. Construction in Favor of
                                                                                 Arbitration. Most Cited Cases
                                                                                    {Formerly 33k7.1 Arbitration)
                    Mosk, 3., filed an opinion concurring in the result.         Any doubts as to whether an arbitration clause
                    West Headnotes                                               applies to a particular dispute should be resolved in
                    ]1] Alternative Dispute Resolution 25T X117                  favor of requiring the parties to arbitrate.

                    25T Alternative Dispute Resolution                           (4] Alternative Dispute Resnlu#ion 257' X112
                      25T[I Arbitration

                                                ®2007 ThomsonlWest, No Claim to Orig. U,S. Govt, Works.


^A^^(^^^


^^^ ^                 ^^^
         http://web2.west(aw.comlptint/printstream.aspx?prfE^I^1TMLE& destiAation =atp&sr+=Split&rs^WLW7.I ... I I /29/2007
 Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 81 of 95 Page ID
                                   #:57829




                                                                                             ..                                 Page 3 of 12



                123 CeLApp.4th 75!                                                                                         Page 2
               123 CaLApp.4th 751, l9 CaLRptr.3d 91b, 44 Cal. baily Op. 5erv. 9657, 44 Cal, Daily pp. Serv. 14,191, 2404
               Daily Jcumal D.A.R. 13,2I 1
               (Cite as: 123 Cal.App.4th 751)


               25T Altemative Dispute Resolution                          claim, the petitioning parry has the burden of
                 25Th Arbitration                                         proving the existence of a valid arbitration clause
                       25TI1(A) Nature and Form of Proceeding             and the dispute is covered by the agreement.
                          25Tk1 i2 k. Contractual or Consensus[
               Basis . Most Cited Cases                                   ]7J Alternative Dispute Resolution 25T ^21D
                 (Formerly 33k2.2 Arbitration)
                                                                           25T Altemative Dispute Resolution
               Alternative Dispute Resolution 25T X134(1)                     25T1T Arbitration
                                                                                 25TII(D) Performance, Breach, Enforcement,
                25T A Iternarive Dispute Resolution                        and Contest
                   25TH Arbitration                                                   25Tk244 Remedies and Proceedings for
                      25TI1(B) Agreements to Arbitrate                     I~nfarcement in Genera[
                         25Tk131 Requisites and Validity                                25Tk214 k. Evidence. Most Cited
                            25T1c134 Validity                             Cases
                                25Tk134( I) k. In Generdi, Most               (Formerly 33k23.10 Arbitration)
               Cited Cases                                                if a parry moving to compel arbitration meets its
                  (Formerly 33kb.2 Arbitration)                           burden of proving the existence of a valid
               The right to compel arbitration depends upon the           arbitration clause and Ehe dispute is covered by the
               existence of a valid agreement to arbitrate between        agreement, the opponent of arbitration has to prove
               the parties, and this question is determined 6y            by a preponderance of the evidence any defense to
               reference . to the. law applicable to contracts            the. petition or motion to compel the dispute to be
               generally.                                                 arbitrated.

               {5] Alternative Dispute Resolution 25T x112                j8J Alternative 17ispute Resolution 25T X134(3}

               25T Alternative Dispute Resolution                         25TAItemative Dispute Resolution
                 25TI1 Arbitration                                           25TH Arbitration
                      25T11(A} ldature and Form of Proceeding                   25TI1(B) Agreements to Arbitrate
                         25Tk112 k. Contractual or Consensual                      25Tk131 Requisites and Validity
               Basis. Most Cited Cases                                                25Tk134 Validity
                 (Formerly33kE.1 Arbitration)       -                                     25Tk134(3) k. Validity of Assent.
              Aithough Ca[ifamia has a strong public policy in            Most Cited Cases
              favor of arbitration, there is no preference for the           {Formerly 33kb.2 Arbitration}
              arbitral forum when the parties have not agreed to          There was no evidence of fraud in inception or
              arbivate.                                                   execution of agreement to arbitrate between
                                                                         shareholder and president of Family corporation,
              ]6{Alternative Dispute Resolution 25T ^Z14                  and thus shareholder's claim that president 's fraud in
                                                                         arbitration process, leading to sliazeholder 's sale of
              25T Altemative Dispute Resolution                          shares at below market value, was sufficient to
                 25T[3 Arbitration                                       warranE nonenforcement of arbitration agreement
                    25T11(D} Performance, Breach, Enforcement,           was to be resolved in arbitral forum; shareholder's
              and Contest                                                evidence indicated only fraud in inducement, which
                       25Tk204 Remedies and Proceedings far              was not        sufficient   to    render agreement
              Enforcement in General                                     unenforceable.
                          25Tk210 k. Evidence. Most Cited                See ti Witkin, Cal, Procedure (4th ed 1997)
              Cases                                                      Proceedings Without Trial, ^¢ 501, 502; Ktright et
                 (Formerly 33k23.10 Arbitration)                         af., Cal Practice Guide: Alternative Dispute
              Before a party may be compelled to arbitrate a             ltesolulion {The Buller Group 2003) g 5,•112 et

                                       ^ 2047 Thomson/West. No Claim to OriR.11.S. Govt. Works.




^^^^ ^ 3
   http://web2. westlaw.cornlprintlprintstream. aspx?prft=HTMi,EBcdeskination=alp&sv=Split&rs=WLW7. I ... 11/24/2007
               Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 82 of 95 Page ID
                                                 #:57830




                                                                                                                                                 Page 4 of l2



                                123 Cal.App.4th 751                                                                                          Page 3
                               123 Cal.App.4th 751, !9 Ga1.Rpti.3d 916, 04 Cal. Daily Op, Serv. 9657, 04 Cal. Daily Op. Serv. 10,191, 2404
                               pally Journal D.A.R. 13,211
                               (City as: 123 Ca[.App.4th 751)


                               seg. (CAA17R Ch. S-D); Cal. Jur. 3d Arbitration              company. In 1994, plaintiff and defendant became
                               and award, ^ 36; Cal. Civil Practice                         equal 45 percenE shareholders in MGA Hong ICong,
                               (7'homson/Wes! Zt7t73J Procedure, ,¢ 16:49.                  Limited and operated part of ABC International
                                                                                            Traders, Inc. through this entity. Tn 2002, the name
                               **917 Kaye Schuler LLP, Larry R, Feldman,                    of A$C International Traders, Inc. was changed to
                               Robert M. Turner, and 3. Andrew Sjablom, Los                 MGA Entertainment, Inc. In 1993, plaintiff and
                               Angeles, for Defendant and Appellant.                        defendant began having disputes over the operation
                               Howarth & Smith, Don Howarth, Suzelle M. Smith,              of the company. Plaintiff and defendant discussed
                               Brian D. Bubb, and Robert D. Bain, Los Angeles,              having one brother huy out the other's equity
                               for Plainkiffand Respvndent.TURNER, P.I.                     interest . An outside appraisal of the company
                                                                                            valued the company at $35 million to $40 million.
                                             *754 I. INTRODEJCTION
                                                                                           **918^ Sy 1999, defendant, as president, assumed
                               Defendant, Isaac Larian, appeals from an order              control of sales, product development, and financial
                               denying his motion to compel arbitration. The               matters. Plaintiff was Tess invotved in the
                               lawsuit containing numerous causes of action was            day-to-day sates and financial control of the
                               fled by plaintiff, Farhad Larian. Plaintiff and             company. In late 1999 or early 2000, *755
                               defendant are brothers. We conclude there is no             defendant became aware of "Bretz" dolts, a new
                               evidence the parties signed the September 28, or            product line which had a tremendous potential. The
                               December 4, 2000, arbitration agreements because            complaint alleges that, after learning of the product
                               of any fraud in the inception or execution as defined       line, defendant devised a plan to keep the business
                               by the California Supreme Court in Rosenthal v.             opportunity, the Bretz dolt product line, secret from
                               Great Western Fin. Securities Corp. (1996) 14               plaintiff and to gain control of the company. The
                               Ca[.4th 344, 415-416, 58 Ca1.Rptr.2d 875, 926 P,2d          complaint alleged that defendant intended to^gain
                               106.1. In the absence of evidence of fraud in the           control of MGA Entertainment, Inc. by buying
                               inception yr execution of the September 28 or               plaintiffs shares at a depressed value. The buyout
                               December 4, 2000, arbitration agreements, the trial         would net include the potential business opportunity
                               court was required to grant defendants motion to            involving the new doll line.
                               compel the parties to arbitrate their dispute. We
                               reverse the order denying Cite motion to compel              In "early" 2000, defendant called a meeting to
                               arbitration,                                                discuss the new Bretz product line with selected
                                                                                           members of the company. Defendant concealed
                                                                                           the meeting and discussion about the proposed new
                                                [I. BACKGROUND                             product line from plaintiff In l+ebruary 2000,
                                                                                           defendant tried to dissuade plaintiff from attending
                                                 A. The Complaint                          the New ^ York Toy Fair. Plaintiff had routinely
                                                                                           attended the New York Toy Fair in the past.
                                                                                           Defendant was furious with plaintiff for attending
                               The complaint, containing 10 causes of action, was          the toy fair, whore discussions and research for
                               filed on August 25, 2003. It alleges plaintiff and          market potential and new product lines take place.
                               defendant'fvrmed an aqua! partnership in 1979 to            Defendant expeEled plaintff from meetings , plaintiff
                               import and distribute name brand consumer                   tried to attend. Plaintiff was excluded from any
                               products.    In   1982,      the   parntership    was       discussions defendant may have had relating to the
                               incorporated as a closely held corporation, ABC             Bretz product tine at the fair.
                               International Traders, Inc. in 1985 or 1986, ptaintiff
                               and defendant sold 10 percent of their stock to their       In early March 2000, defendant offered to purchase
                               brothor-in-law, After the sale, plaintiff and               all of plaintiffs 45 percent interest in the company,
                               defendant each owned 45 percent of the stook of the         MGA $ntertainment, Inc., for $9 million. The

                           ^ ^                            ®2007 Thomson/West . No Claim to Orig. II.S . Govt. Works.
  ^^/     ^^}} rr
^f: I"i i t? l



^^^^                      3 ^`Z
                    http://web2.westlaw. comlprintlprintsiream .aspx?prft=HTMLE& destination=atp&sv=Split&rs='4VLW7. l ... 11129!2007
       Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 83 of 95 Page ID
                                         #:57831




                       123 Cal.App.4th 751                                                                                          Page 4

                       123 CaLApp.4th 751, l9 Ca1.Rptr.3d 916, D4 Cal. Daily Op. Serv. 9657, 04 Cal. Daily Op. Serv. 10,191, 2D04
                       Daily 3ournal D.A.TL 13,211
                       (Cite as: 123 Ca1.App.4th 751)


                       offer was based an a tote! value of the company at          including a requirement chat the company be valued
                       $20 million. This did not include plans and actions         by an independent appraiser outside of the family;
                       already taken regarding the Bretz producE line,             and defendant fraudulently concealed the true feats
                       which allegedly would bring $3 billion in sales in          from plaintiff and the arbitrator during the
                       the next few years. The financial information at the        arbitration process.
                       company was handled by defendant and its
                       controller, Dennis Medici.                                  On December 4, 2000, as a result of the Septembee
                                                                                   28, 2000, agreement to arbitrate the sale of the
                       The complaint further alleged that throughout 20D0,         stock, the parties entered into a settlement and
                       defendant repeatedly and routinely shared with              resolution of their differences, whereby plaintiff
                       plaintiff misleading financial information showing          agreed to sell his shares to defendant at a below fair
                       the company was performing poorly. in May 2000,             market price of less than $9 million. Plaintiff
                       defendant instructed Mr. Medici not to share any            discovered the true facts in spring or summer 2002.
                       information about the financial operation of MGA            Plaintiff requested rescission and damages based
                       Entertainment, lnc. with plaintiff. Defendant               an the following theories: fraud and deceit in the
                       continued to conceal the company's plans and                inducement of the arbitration agreement {first};
                       actions regarding the new doll line,                        fiduciary duties breach (second); fraud and deceit
                                                                                   in the arbitration process (third}; breach of the
                        It is alleged that, on September l8, 2000, defendant       implied covenant of good faith and fair dealing in
                       caused Ehe company to enter into a worldwide                the arbitration agreement {fourth}; violation of
                       licensing agreement of the Gratz dolls and related          California Corporations Code {ffttr and sixth);
                       items. Defendant -canceaked the existence of the            fraud and deceit regarding the December 4, 2000
                       Licensing      agreement    from   plaintiff.  During       agreement {seventh}; negligent misrepresentation
                       September 2000, defendant continued to seek to              (eighth); unfair competition in violation of
                       buy plaintiff's interest in MGA Entertainment, Inc.         Business and Professions Code section 17200 et
                       The complaint alleges: "[Defendant) kept the Bretz          seq. (ninth}; end rescission based on mistake (10th).
                       opportunity and other information about the true
                       financial *756 condition of the Company hidden
                       from [plaintiff] in an effort to secure [plaintiffs]                B. The Motion to Compel Arbitration.
                       agreement to a proposed arbitration process with
                       their uncle, Monad 7.arabi. [Defendant] agreed, and         On October 24, 2003, defendant-moved to compel
                       induced [plaintiff] to agree, to the arbitration            arbitration of the action on the grounds the parties
                       process      without disclosing that during the             entered into a broad arbitration agreement which
                       arbitration he would conceal the Company's plans            covers the disputes alleged in the complaint; by
                       and actions undertaken regarding the Bretz line, and        executing the September 28, 2000, agreement,
                       other financial information about the Company so            plaintiff agreed to submit the fraud claim asserted in
                       that such information would not be included in Mr.          the complaint to the arbitrator, and the arbitrator
                       Zarabi's valuation of the Company."                         must decide 8tc fraud claims as a matter of law. In
                                                                                   support of the motion, defendant attached a copy of
                       On September '28, 2000, plaintiff and defendant             the *757 September 28, 20110, arbitration
                       executed an "Agreement to Arbitrate and Selection           agreement, Paragraph 5 of the September 28,
                       of Arbitrator." Plaintiff alleges he was unaware of         2000, arbitration agreement gave an uncle, Monad
                       the true facts before executing the arbitration             7,atabi, the power to arbitrate the disputes between
                       agreement; had he known the true facts, he would            the brothers.
                       not have entered into the agreement to arbitrate and
                       would not have **919 agreed to sell his shares; he          Defendant declared that the parties participated in
                       would have placed greater restrictions and                  the arbitration. The arbitrator, Mr. Z,arabi, retained
                       obligations on the powers of any arbitrator                 an appraiser, an accountant, and attorneys. Mr.

                                                 ^ 2007 ThomsanlwesG No Claim to Orig.1J.S. Govt. Works.

^ll^i€Y1^



^^^^                 X13
            lzttp :llweb2.westlaw.corn/printlprintstream.aspx?prft=HTMLE& destittation=atp&s^r^-SplitBcrs=WLW7.1... 11(2912007
     Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 84 of 95 Page ID
                                       #:57832




                                               _.                                                 ..,                              Page 6 of 12



                   123 Cal.App.9th 751                                                                                         Page 5

                  123 CaLApp.4th T51, 19 Ca1.Rptr.3d 91b, 04 Cat. Daily Op. 5erv. 9657, 04 Cal. Roily Op. Serv, 10,191, 2004
                  Daily Journal D.A.R. i3,2i 1                  .
                  {Cite as : 123 Cal,App.4tlt 751)


                  Zarabi also gathered information and conducted              the arbitration proceedings could be void. Plaintiff
                  hearings. ^ In December 2000, ^ Mr. 7.arabi, the            declared that on September 18, 2009, defendant
                  azbitrator, issued his award. 'lire December 9,             secretly finalized and obtained a worldwide license
                  2000, agreement required defendant to purchase              agreement for *7'58 the Bretz dolls. The
                  plaintiffs stock . According to defendant, "['The ,         September !B, 2006; agreement provided thak
                  award ] was embodied in the Agreement for Sale of           defendant and IvIGA Entertainment, Ittc. were the
                  Stock drafted by the arbitrators attorneys , Stern &        exclusive worldwide distributors of Bretz dolls and
                  Goldberg." Under the terms of the Recember 9,               related praducts .^ Ten' days Eater, on September 28,
                  2900,     agreement,    plaintiff was    to receive         2490, defendant induced plaintiff' to sign the
                  $8,775,000 for his stock . Far the stock, defendant         arbitration agreement without disclosing the Bretz
                  was to pay. plaintiff 5500,000 at the closing of            opportunity and Licenses . 'The Bretz product line
                  escrow. Defendant was also obligated to execute a           has .generated several hundred million dollars in
                  promissory note for - the balance . Under the terms         revenues for MGA Entertainmerit, Inc. and is
                  of the promissory note, defendant was required to           expected to earn more than $ 1 billion annually for
                  pay plaintiff 52 million by April 15, 2003.                 the company. Further, according to plaintiff, Mr.
                  Moreover, defendant was obligated to pay plaintiff          Zarnbi never returrted an award. Kanter, the
                  $83,798.90 commencing the first of each month               December 4, 2000, stock sale agreement was the
                  commencing June 1, 2001. Interest was to accrue             result . of negotiations between plaintiff and
                  at the rate of 9.5 percent per annum on unpaid              defendant.
                  sums. Paragraph 9 of the Recember 4, 2000, sales
                  agreement contains the following arbitration clause:        In reply to the opposition, defendant argued
                  "[A]ny controversy between the parties arising out          plaintiff did rat dispute the critical facts which
                  of [his Agreement or the Agreements wntained in             required arbitration of the dispute. Those facts
                  the Exhibits attached hereto shall be submitted to          included that the parties agreed to arbitrate the sale
                  [Mr, Zarabij who shall serve as sole arbitrator with        of the stock in September 2006. Mr. ?.arabi, the
                  respect to said disputes . The decision of [Mr.             arbitrator, decided which party should sell his stock
                  Zarabij shall be final and binding upon both parties.       to the other and the price. On December 4, 2066,
                                                                              the    brothers signed the sales            agreement
                                                                              incorporating the price and terms as determined by
                  On January 26, 2903, plaintiff submitted a list of          the arbitrator, Mr. Zarabi. 'The parties have fully
                  claims to the arbitrator, Mr. Zarabi. Plaintiff             performed the sales transaction. Defendant
                  asserted these claims were subject to arbitration.          contended plaintiff submitted the fraud issue do the
                  The fist included: "The December 2009 appraisal             azbitrator in January 2063. Defendant further
                  of MGA, *^920 which the arbitrator relied upon to           argued that the complaint only alleges 'fraud during
                  establish the value of MGA, was substantially               the events loading up to the agreements; it does not
                  understated as a result of [defendant's] concealment        allege facts showing fraud in the inducement or
                  of the Bretz doll license agreement. 'Ilrat License         execution of the arbitration clauses . Acwrding to
                  agreement was material to the value of MGA but              defendant, the issue of whether ht: fraudulently
                  was not considered in setting MGA's value because           withheld information during the arbitration process
                  of (defendant's] concealment from the arbitrator."          must be decided by the arbitrator.

                  Plaintiff opposed the motion to compel arbitration         'lire trial court denied the motion to compel
                  on the grounds the court, not the arbitrator, must         concluding that the allegation of fraud in the
                  decide whether a party was fraudulently induced to         executioq of the arbitration agreement as alleged in
                  consent to an arbitration agreement ; fraud in the         the complaint must be decided by the court. In
                  inducement of the arbitration agreement was not            denying the motion, the court cited Code of CLvi[
                  submitted to any arbitrator; and the court should          Procedure section 1281 fit; Rosenthal v. Creai
                  resolve the fraud iir the inducement claim because         Western l:'!n. Securities Corp., supr[; l4 Cal.4th aE

                                            ®2097 ThomsonlWest . No Claim to Orig. U.S. Govt. Works.

^r^^^^^r           ^-P

       http:llv+reb2.westiaw.com/printlprintstream.aspx?prft^HTMT,&4cdestination =alp&s^+=Spiit&rs^W1,W7, i... 11/29/2007
    Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 85 of 95 Page ID
                                      #:57833



                                                                                                                                       Page 7 of 12



                       123 Cal.App.4th 751                                                                                         Page 6

                      123 CaLApp.4th 751, 19 Cal.Rptr.3d 916, 04 Cal. Daily Op. 5erv. 9657, 04 Ga[. Daily Op. Serv. 10,191, 2004
                      Daily Journal D.A.R. 13,21 i
                      (Cite as: 123 Cal.App.4lh 751)


                      page 419, 58 Cal.Rptr.2d 875, 926 P.2d 1041; and             832 P.2d $99.)Section 1281 provides: "A written
                      Bolter v. Superior Court {2001} 87 Ca1.App.4th               agreement to submit to arbitration an existing
                      900, 906, 104 CaLRptr,2d 888. The trial court                controversy or a controversy thereafter arising is
                      ruled that the complaint adequately alleged that had         valid, enforceable and irrevocable, Savo upon such
                      plaintiff known about the pending Bretz product              grounds as exist far the revocation of any contract."
                      line, he would not have: signed the arbitration              The trial court has authority to compel arbitration
                      agreement, agreed to participate in the arbitration,         pursuant to section 1281.2, which provides in part:
                      and agreed to sell his shares in MGA Entertainment,          "On petition of a party to an arbitration agreement
                      Inc. The trial court further ruled : "It is true ... that    alleging the existence of a written agreement to
                      there are references to the arbitration process in the       arbihate a controversy and that a party thereto
                      [f]irst [c]ause of [a]ction. The concealment of the          refuses to arbitrate such controversy, the court shall
                      Bretz fine from the arbitrator was a **921 ... piece         order the petitioner and respondent to arbitrate the
                      of the process. That is, plaintiff would have no             controversy if it determines that an agreement to
                      complaint if the full facts had been revealed in the         arbitrate the controversy exists, unless it determines
                      arbitration . Both those references do not eliminate         that ... ('^ {b) Grounds exist far the revocation of
                      the allegations that he would not have entered into          the agreement." Plaintiff argues that he was
                      the arbitration agreement but far the alleged fraud:'        fraudulently induced to enter into the September 28,
                                                                                   2000, arbitration agreement. It is this fraud that
                                                                                   plaintiff argues warrants revocation , or to be more
                                FN1. All further statutory references are to'      precise, nonenforcement of the September 26, 2000,
                                the Code of Civi] Procedure unless                 arbitration agreement. Any doubts as Ea whether an
                                otherwise indicated.                               arbitration clause applies to a particular dispute
                                                                                   should be resolved in favor of requiring the parties
                                        *759 lli. Discussion                       to arbitrate. {Yfanna v. IJoctors' Management Co.
                                                                                   (1994) 27 Ca1.App.4th 1186, E 189, 33 CaLRptr.2d
                                             A. Overview                            168; United Transportation Union v. Southern Cal.
                                                                                   Rapid Transit Dist. {1992} 7 Cal.App.4th 804, 808,
                                                                                   4 Cai.Rpir.2d 702.) However, the right to compel
                       (1](2][3](4][5] The outcome of this appeal is               arbitration depends upon the existence of a valid
                       controlled by the provisions of the California              agreemenE to arbitrate between the parties. (County
                       Arbitrntion Act. The September 28, 2000,                    of Contra Costa v. Kaiser Foundation Neafth Plan,
                       arbitration agreement explicitly provides it is             lnc. {1996) 47 Ca1.App.4th 237, 245, 54
                       subject to the California Arbitration Act. Further,         CaLRptr.2d 628; Marsch v. Williams (1494) 23
                       the 17ecember 4, 2000, agreement provides it is to          Cal.App:4tli 250, 255, 28 Ca1.Rptr.2d 398.) The
                       be applied pursuant m California law . Hence, the           question of whether a valid agreement to arbitrate
                       United States Arbitration Act, lisle 9 United States        exists is determined by reference to the law
                       Code section I et seq ., is inapplicable to this appeal.    applicable to contracts generally.*760 Engalfa v.
                       (Yoft Information Sciences, Inc. v. Board aJ                Permanenle Medical Group, Inc. (1997) 15 Ca1.4tfr
                       Trustees of Leland (1989) 489 U .S. 468 , 470, 109          951, 971-973, 64 CaLRptr.2d 843, 938 P.2d 903;
                       S.Gt. 1248, ID3 L,l;d.2d 488; accord, Mourn                 Kinney v. United HeaUhCare Services, InG (1999}
                       Diablo Medical Center v. Health Net of California,          70 Ca1.App.4th 1322, 1327-1328, 83 Ga1.Rptr.2d
                       Inc. (2002} 101 Ca1.App.4ih 71l, 714-726, 124               348.} Although, as noted, California has a strong
                       CaLRptr.2d      607.)      California     law     favors    public policy in favor of arbitration, there is no
                       enforcement     of     arbitration    agreements.           preference for ttre arbitra! forum when the parties
                       Armendariz v. Foundation Health Psychcare                   have not agreed to arbitrate. {Freeman v State
                       Services, Ina (200D) 24 Ca[.4th 83, 97, 99                  Farm Mut. Auto. Ins. Co. {1475} 14 Ca1.3d 473,
                       Cat.Rptr.2d 745, 6 P.3d 669 ; Moncharsh v. Heify            481, !21 Cal.Rptr. 477, 535 P.2d 34l; Clone v.
                       & Blase (1992) 3 Cal.4th 1, 9, 10 CaLRptr.2d 183,           Foresters liquify Services, Ina (1997) 58

                                                   ®2007 7'homsanlWest , No Claim to Orig. U.S. Govt Works.


EXfi EBfT              I ^-P
PA^^                ^ ^^
            http:/1we62.westlaw.corn/printlprintstream. aspx?prfl^HTM^.Xr &destination =atg&s^rSplit&rs=WC.,W7.1... 11/29/2007
    Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 86 of 95 Page ID
                                      #:57834



                                               ^.                                                                                      Page $ of 12



                  123 Cal .App.4th 751                                                                                             Pogo 7

                  l23 Ca1.App.4th 751, t 9 Cal. Rptr.3d 915, 04 Cal. Roily Op, Serv. 9657 , 04 Cal. Daily Op. Serv. 10,191, 2004
                  Daily Journal 3^.A.R. 13,2!1
                  (Cite as : i23 Cal.App.4th 751)


                  Cal.App.4th 625 , 534, 68 Ca1.Rptr.2d 167.)                   reasonably susceptible of such an interpretation,
                                                                                claims of fiatrd in the inducement of the contract {as
                  **922 [6] [7j Before a party may be compelled to              distinguished from claims of fraud directed to the
                  arbitrate a claim, the petitioning party has the              arbitration , clause itself) *T61 will he deemed
                  burden of proving . the existence of a valid                  subject to arbipation ." (lsricksen, Arbuthnot,
                  arbitration clause and the dispute is covered by the          McCarthy, Kearney & Walsh, lnc, v. 1 t70 Oak
                  agreement. (Engalla v. Permanente Medico!                     Street, supra, 35 CeE.3d at p. 323, 197 Ga1.Rptr.
                  Group, Inc., supra, 15 Ca1.4th at p. 972, 64                  581, 573 P.2d 251 .) Associate Justice ]oseph R.
                  Ca1.Rptr.2d 843, 938 P.2d 403 ; Rosenthal v. Great            Grodin then explained that the trial court 's order
                  Western Fin. Securities Corp., supra, 14 Cal.4th at-          denying rho motion to compel the parties to
                  pp. 413 -414, 58 Ca1 .Rptr.2d 875 , 926 P,2d 1061.)           arbitrate because of the fraudulent representations
                  [f the moving parry meets its burden , the opponent           which induced the tenant to execute the lease which
                  of arbitration has to prove by a preponderance of             contained the arbitration clause was in error: "
                  the evidence any defense to the petition yr motion            Indeed, the claim of substantive breach-that the air
                  to compel the dispute to be arbitrated. (F^r$alla r+.         conditioning did not perform properly-is totally
                  Permanente Medrea ! Group, Inc., supra, 15 Cal.4th            embraced within the claim of fraud -that the lessor
                  at p. 972, 64 CaLRptr.2d 843, 438 P.2d 903;                   Irnew, at the lima of the lease , that the air
                  Rosenthal v.. Grea! Western Fin. Securities Corp.,            conditioning would not perform . Thus, if the trial
                  supra, i4 Ca1.4th at p. 413, 58 Gel , Rptr.2d 875,            court were to proceed to determine the fraud claim
                  426 P .2d 3061.) Each case must be decided on its"            ii would almost certainly have to decide the claim
                  awn facts. (King v. Larsen Realty, Inc. (1981) 121            of substantive breach as well , and the original
                  Cal.App .3d 349, 357, 175 Cal . Rptr. 226; Williams           expectations of the parties-that such questions
                  Constr. Co. v Standard-Pacfc Corp. (1967) 254                 would be determined through arbitration -would be
                  CaLApp .2d 442 , 454, 61 Ca1.Rptr. 912.)                      totally defeated. however the fraud claim were
                                                                                determined, there would be virtually nothing left for
                                                                                the arbitrator to decide . We conclude that the
                               S. Supreme Court Authority                       arbitration clause is broad enough to include this
                                                                                claim of fraud in the inducemenk" (!d at p. 324,
                  'three Supreme GauR decisions define the limited              197 CaLRptr. 581, 573 P,2d 251.)
                  scope of judicial review of a claim that fraud
                  prevents enforcement of an arbitration clause. In             In Rosenthal v. Great Western Fi». Securities
                  Eriaksen, ,4rbuthnot, McCarthy. Kearney & Walsh,              Corp., supra, 14 Cal.4th at page 415, 58
                  Inc. v. 100 t7ak Street ( 1983} 35 Cal . 3d 312, 315,         Cal.Rptr.2d 875, 926 P.2d 1061, the Supreme Gourt
                   !97 Ca1 . Rptr. 581, 673 P.2d 251, a tease contained         explained the distinction between arbitrable and
                  an arbitration clause . A dispute arose about the air         nonarbitrable fraud claims which are asserted as
                  conditioning in the premises and the tenant, a law            grounds for voiding an arbitration clause: ** 923 "
                  firm, Fled sulk The tenant argued it was                      California law distinguishes between fraud in the `
                  fraudulently induced to enter into the lease which            execution' or `inception' of a contract and fraud in
                  contained the arbitration clause, The trig{ court             the `inducement ' of a contract. th brief, in the
                  accepted the tenant's fraudulent inducement defense           farmer case " 'the fraud goes to the inception or
                  to the arbitration clause contention . The trial court        execution of the agreement, so that the promisor is
                  entered an order denying the lessor's motion to               deceived as to the nature of his act, and actually
                  compel arbitration.                                           does not know what he is signing, ar does not
                                                                                intend To enter into a contract at alt, mutual assent is
                  The Supreme Court held that claims of fraud in the            lacking, and [the contract] is void ]n such a case it
                  inducement must be resolved by the arbitrator. "              may be disregarded without the necessity of
                  Therefore, in the absence of indication of contrary           rescission .' "(Ford v. Shearson Lehman ^4mericarr
                  intent , and where the arbitration clause is^                 Express, Ina (1985} 180 Cal.App,3d 1011, 1028

                                             ® 2007 ThomsonlWest. Tlo Claim to Orig. U.S. Govt. Works.


t^Tlf3^t^r^ i ^r




       htlp :llweb2. westiaw, corn/printlprintstt^am. aspx?prft=H"S'MI.E&destination=alp&s^Split&rs=WLW7.1... 11/29/2007
       Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 87 of 95 Page ID
                                         #:57835




                                                                                                                                          Page 9 of I2



                        !2_i Cal.App.4th 751                                                                                         Page 8

                        123 CaLApp.4th 751, 19 CaLRptr.3d 916, 04 Cal. Daily Op. Serv. 9657, 04 CsE, Daily Op. Serv. 10,191, 2004
                        Daily loumal D.A.R. 13,211
                        (Cite as: 123 Cal.App.4llr 751)


                        [225 Cal.Rptr. 895].) Fraud in the inducement, by           the parties' contrary intent, arbitrable under Prima
                        contrast, occurs when " `the promisor knows what            Paint, Included in this rule of arbitrability are
                        he is signing but his consent is induced by fraud,          claims of a `grand scheme' of fraud, or fraud `
                        mutual assent is present and a contract is farmed,          permeating' the transaction." (Rosenthal v Grea!
                        which, by reason of the fraud, is voidable. Tn order        Western Fin. Securities Corp., supra, !4 Cal.4th at
                        to escape from its obligations the aggrieved party          p. 419, 58 Cal.ltptr.2d 875,'926 P.2d 1061.)
                        must rescind....'      {Ibid.)"(Rosenthal v. Great
                        Western Fin. Securittes Corp., supra, 14 Cal.4th at         fi Rosenthal, when defining fraud in the inception
                        p. 415, 58 Ca1.Rptr.2d 875, 426 P.2d 1061; seo              or execution as it relates to an arbitration clause, the
                        Pacific State Bank x Greene {2003} 1.10                     Supreme Court adverted directly to section 163 of
                        Ca1.App.4th 375, 389, fn. 7, 1 Ca1.Rptr.3d 739.)           the Restatement Second of Condacts including
                                                                                    comments a and c, at pages 443-444. {Rosenthal v.
                        The Supreme Court then explained that when fraud            Great Western Fin. Securities Corp., supra, 14
                        in the inception or execution of the arbitration           Cal.4ffi at p, 420, 58 Cal.Rptr.2d $75, 926 P.2d
                        clause is present {the first of the two types of fraud      I061.) Section 163 of the Restatement Second of
                        identified in the immediately preceding citation},         Contracts which is part of the discussion of
                        the dispute is not arbitrable; "[Cjlaims of fraud in        misrepresentation states, "If a misrepresentation as
                        the execution of the entire agreement are not              to the character or essential terms of a proposed
                        arbitrable under either state or federal law. If the       contract induces conduct that appears**9Z4 Fo be a
                        entire Contract is void ab Jnitio because of fraud, the    manifestation of assent by one who neither knows
                       parties have not agreed to arbitrate any controversy .      rror has reasonable opportunity to know of the
                        ,., [yj [By contrast,] fraud in the inducement             character or essential terms of the prapased
                        relating to other *762 contractural terms does not         contract, his conduct is not effective as - a
                        render the arbitration agreement unenforceable,            manifestation of assent." Comment a to section
                       even when it might justify rescission of the contract        163 of the Restatement Second of Gontracts which
                       as a whole. By entering into rho -arbitration               is cited in Rosenthal states in part: "Rationale.
                       agreement, the parties established their intent that        Under the general principle stated in § 19(2}, a
                       disputes coming within the agreement's scope be             parry's conduct is not effective as a manifestation of
                       determined by an arbitrator rather than a court; this       his assort unless he knows or has reason to know
                        contractual intent must be respected even with             that the other parry may infer from it that he assents.
                       regard to claims of fraud in the inducement of the          'this Section involves an application of that
                       contract generally." (Rosenthal rc Great Western            principle where a misrepresentation goes to what is
                       Fin. Securities Corp., supra, 14 Ca1.4th at p. 416,         sometimes called the `factum' ar the 'execution'
                       56 Cai.Rptr.2d 875, 926 P.2d l06l.) The Supreme             rather than merely [he `inducement.' lf, because
                       Court summarized its analysis thusly: "Claims that          of a misrepresentation as to the character or
                       a party has employed fraud in inducing consent              essential terms of a proposed aaniraet, a party does
                       specifically to the arbitration agreement (e.g., by         not lcrtow or have reasonable opportunity to know of
                       actively concealing its existence or misrepresenting        its character or essential terms, then he neither
                       its meaning or value) are, under Prima Paint [ v.           knows nor has reason to know that the other patty
                       Flood & Conklin (1967} 388 1J.S. 395, 404, B7               may infer from his conduct chat he assents to that
                       S.Ct, l BOl ], to be decided by the court, because          canaact." Comment c to section 163 of the
                       they go to the valid making of the arbitration clause       Kestatement Second of *763 Contracts which is
                       itself. Claims that, due to fraud in the execution of       cited in Rosenthal part merely indicates that an
                       the agreement as a whole, the parties reached no            agreement described in this provision is a "void
                       contract wntaining an arbitraticn Clause, are also to       contract."
                       be decided by dte court. But claims that the
                       contract as a whole was obpined through fraud in            In Rosenthal, the Supreme Gottrt reviewed the
                       the inducement are, in the absence of evidence of           evidence presented by the different plaintiffs in

                                                   ®2007 ThamsonlWest. No Claim to Orig, U.S. Govt. Works.


^^4^9^l^'          ^ ^-f'

^A^^         ^     3^^
            http:/1we^2.westlaw.cotnlprinslpr'tntslrcam .aspx?ptf^HTMLE& destination=atp&sv=SpIit&rs=W^.W7. I ... 111291Zfl07
    Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 88 of 95 Page ID
                                      #:57836




                                                                                                    ..                             Page 14 of 12



                  123 Ca1.App.4th 751                                                                                            Page9

                  l23 Cal.App.4th 751, 19 Cal.Rptr. 3d 915, 04 Cal. Daily Op. Seto. 9657, 04 Gal. Daily Op. Serv. 10,191, 2004
                  Daily Journal D.A.R. 13,211
                  (Cite as: 123 Cal. App.4th 751}


                  order to determine whether Eltere was fraud in the           who executed investment contracts containing**925
                  inception or execution of the arbitratior agreement.         arbitration clauses, some of whom had very limited.
                  71te fraud in the inception or execution evidence as         understandings of English, were blind, or suffered
                  it related to the arbitration clauses in Rosenthal           from Alzheime^s disease, could reasonably rely on
                  differed amongst the plaintiffs. For varying                 defendants' agents' representations as to the contents ,
                  reasons, some plaintiffs had nut read the agreements         of the agreements including the arbitration clauses.
                  containing the arbitration clauses. 71te Supreme             This latter group of plaintiffs were entitled to have
                  Court adopted the following test for evaluating the          die Erie! judge evaluate their fraud defenses to the
                  fraud in the inception ar execution claims of the            arbitration clauses. (Id at pp. 427-428, 58
                  plaintiffs which were asserted as a basis for voiding        Cai,Rptr.2d 875, 926 P.2d 1061; .loves x Adams
                  the arbitration clauses: "California taw, like the           Financial Services (1999) 71 Ca1,App,4th 831, 837,
                  Restatement , requires that the plaintiff; in failing to     84 Ca1.Rptr.2d 151 [IegalIy blind signatory to
                  acquaint himself or herself with the contents of a           agreement suffering from dementia entitled to void
                  written agreement before signing it, not have acted          arbitration clause on fraud in execution grounds].)
                  in an objectively unreasonable manner. One pattys
                  misrepresentations as to the nature or character of          *764 Tt bears emphasis that Rosenthal merely held
                 the writing do not negate the other party`s apparent          that a fraud in the inception or execution defense to
                  manifestation of assent, if the second parry had '           an arbitration demand was to be decided by a judge.
                  reasonable opportunity to know of the character or           A party is still entitled to argue a fraud defense
                  essential terms of the proposed contract.' {Rest,2d          before. an arbitrator as a ground for invalidating the
                 Contracts, § i63, p. 443.} ]f a party, with such              arbitration clause. The Supreme Court cautioned, "
                 reasonable opportunity, fails to learn the nature of .        Whether a fraud claim that is insufficient as a
                 the document he or she signs, such `negligence'               defense to an arbitration demand may, if .proven,
                 precludes a finding the contract is void for fraud in         nonetheless form the basis for equitable or other
                 the execution. {G1.7: Corporation v. Panac [                  relief in die arbitral forum, is a separate issue, with
                 (1944) ] 25 Cal.2d [547,] 549[154 P.2d 710].)[x]              which ^we )rave no concern in this case." {Rosenthal
                 it follows that one party's unreasonable reliance on          v Great Western Fin. Securities Corp., supra, 14
                 the other's misrepresentations, resulting in a failure        Cal.4th at p. 423, 58 Cal.Rptr.2d 875, 926 P.2d
                 to read a written agreement before signing it, is an          lOfii.)
                 insufficient basis, under the doctrine of fraud in the
                 execution, far permitting that party to .avoid an             The third Supreme Court case to hold that courts
                 arbitration agreement contained in the contract."             evaluate fraud in the inception or execution defense
                 Rosenhha! v. Great Western Fin. Securities Corp„              to an arbitration demand was Errgalla v:
                 supra, 14 Cal.4th at p. 423, 58 Cal.Rptr.2d 875,              Pertnanente Medical Croup, Inc., supra 15 Cal.4lh
                 92fi P.2d 1061; see Lovejoy v. A T & T Carp.                  at pages 973-984, 64 Ca1,Rptr.2d 843, 938 P.2d 903.
                 (2004) i f9 CaLApp.4th i51, Ibl, 14 CaLRpEr.3d                 In Engalla, the plaintiffs presented evidence that
                 117; Pacific Stale Bank v. Greene, supra, 110                defendant,      a     medical       group,      made
                 Cal.App.4th at p. 393, l Cal.Rptr.3d 739.) Based             misrepresentations concerning its arbitration clause.
                 on this legal premise concerning the scope of fraud          The relevant portion of the health care plan made
                 in the inception or execution, the Supreme Court             the following representations as to the premised
                 concluded some of the plaintiffs acted unreasonably          speed of the arbitration process provided by the
                 in not reading the arbitration clauses. As to these'         medical group:      `Within 30 days after initial
                 plaintiffs, the trial court was not authorized to pass       service on a Respondent, Claimant and Respondent
                 on their fraud defenses posited in response to the           each shalt designate an arbitrator and give written
                 motion to compel arbitration. {Rosenthal v Great             notice of such designation to the other, and
                 Western Fin. Securities Corp., ,supra, f4 Ca1.4dr at         Claimant shall forward $150, made payable to
                 pp. 425-426, 58 Cal.Rptr.2d 875, 926 P.2d IOGI.)             Kaiser Foundation [^] Health Plan Arbitration
                 But the Supreme Court noted that other plaintiffs            Account, to Kaiser Foundation Idealth Plan..,. This

                                             ^ 2007 T'homsanlWest. No Claim to Orig, iJ.S, Govt. Works.

^^,^^^^^          ^k^
^^^ ^             ^^^
      ttttp:llweb2.westlaw.corn/printlprintstream . aspx?pt^h=^ITIvII.E&destination =alp&s^+=Split &rs=WLW7.1... I I/2912407
       Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 89 of 95 Page ID
                                         #:57837




                                                                                                                                    Page 11 off 2



                    123 CaLApp.4th 751                                                                                         Page 10

                    123 Cal.App.4th 753, i9 Cal.Rptr.3d 916, D4 Cal. da31y Op. Serv. 9657, 04 Cal. Daily Op. Setv. 30,19!, 20D4
                    Daily Journal D.A.R. 13,231
                    {C1te as: 123 CatApp.4th 751]


                     $154 will be deposited with Respondent's 5150 in a          [8] In this rase, there is no evidence of fraud in the
                     special account maintained by $attk of America               inception or execution of the agreement as it rotates
                    National Trust and Savings Association [and will] ...        to the arbitration clause . There is no evidence that
                    provide the initial funds to pay the fees of the             plaintiff, to paraphrase section 163 of the
                     neutral arbitrator and expenses of arbitration as'          Restatement Second of Contracts, as cited in
                     approved by him or her.... Within 30 days after             Rosehfhaf,"neither ]ch[ew] nor bald a] reasonable
                     thew notices have been given and payments mach,             opporttutity to know of the character or essential
                     the two arbitrators so selected shall select a neutral      terms of the" September 28 or December 4, 2000,
                     arbitrator and give notice of the selection to              arbitration agreements. Rather, the only evidence
                     Claimant and all Respondents served, and the three          adduced by plaintiff indicates he was induced to
                    arbitrators shall hold a hearing within a reasonable         enter into the September 28 arbitration and
                    time thereafter ...."(Id p. 962, fn. 3, 64 Cal.Rptr.2d       December 4, 2000, stock sale agreements because
                     843, 938 P,2d 903.)There was evidence that in fact          of defendant's misrepresentations concerning the
                     the arbitration process provided by the health cars         prospective Bretz doll venture and the financial
                    group took years to complete. The plaintiffs also            status of MGA Entertainment, Inc. which is fraud in
                    presented evidence the medical group knew its                the inducement There is no evidence, as in
                    agents would not timely appoint arbitrators nor              Engalla, that the arbitration before Mr. 2.arabi
                    move towards and arbitration hearing. {Id. ai pp.            resulting frorp the September 28, 2000, arbitration
                    974-976, 64 Ca1.Rptr.2d 843, 938 P.2d 903.) The              agreement was other than as promised ar reasonably
                     Supreme Court concluded; " In sum, we conclude              expected. Further, there is no evidence of any false
                    there is evidence to support the [plaintiffs'] claims        representations concerning any contemplated
                    that [the defendant] fraudulently induced [the               arbitra! proceedings that will result from the
                    plaintiffs) to enter the arbitration agreement in that       arbitration clause in the December 4, 2000, stock
                    it misrepresented the spend of its arbitration               safe agreement. V^1^ether the alleged fraud
                    program, a misrepresentation on which [the                   concerning the concealment of the .value and
                    plaintiffs'] employer relied by selecting [the               business prospects of MGA Entertainment, Inc. is
                    defendant's] health plan for its employees, and that         legally or equitably sutlicient to warrant
                    the [plaintiffs] suffered delay in the resolution of its     nonenforcement of the September 28 or December
                    malpractice dispute as a result of tEiat reliance,           4, 2000, arbitration agreements is to be resolved in
                    despite [the plaintiffs'] own reasonable diligence.          the arbitral forum. (Rosenthal v Great Western
                    The trial court, on remand , must resolve conflicting        Fin. Securities Corp., supra, i4 Cal.4ih at-p. 423,
                    factual evidence in order to properly adjudicate             58 Ca1.Rptr.2d 875, 926 P.2d 1061 .) Hance, the
                    **926 [the defendant's] petition to compel                   trial court was required to grant the motion to
                    arbitration." (Engalla v. Permanence Medical                 compel arbitration.
                    Group, Inc., supra, IS Ca1.4th aE pp. 9$1-982, 64
                    Ca1.Rptr.2d 843, 938 P.2d 903, fns. omitted,) It             Given our resolution of the fraud in the inception or
                    boars emphasis that the misrepresentations                   execution issues, we need not address the parties`
                    constituCmg Fraud in *765 the inception or                   remainatg contentions. Ftrrtlter, our resaltrtion of
                    execution related to whether the extraordinarily             the frond in the inception or execution issues
                    dilatory arbiiral method at issue was really                 renders ail of defendant's judicial notice and
                    consistent with the promised arbitration process. In         additional evidence requests moot "Irttey are
                    other words, in Engalla, therC was evidence that the         denied on that basis. (People v. &adford (1997) 14
                    arbitral forum the defendant provided was far                Cal.4th 1005, 1058, fi. 6, 60 Cal.Rptr.2d 225, 929
                    different from the promised manner in which                  P.2d 544 [judicial notice]; No Qi^ Inc. t! City of
                    arbitration hearings are normalcy conducted.                 Los Angeles (1974) 13 Cal.3d 68, 89, fn. 25, E1$
                    (Knight et ai., ^ Ca[. Practice tsuide: Alternative          Ca3.Rptr. 34, 529 F,2d 66 [now evidence on
                    Dispute Resotution (The Rutter Group 2003) ^                 appeal].)
                    5: l i 6.1, pp. 5-54-5-60 (rev.# I, 2002).)

                                               ®2007 Thomson/West A1o Claim to Orig. 1].S. Govt. Works.




^^^^             31 `^
         http:/lweb2.westlaw.cornlprindprintstreatn.aspx?prft=HTMLF^.Bcdestinatian=atp&sv=5plit&rs=WLW7.1... I 1/29/2047
    Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 90 of 95 Page ID
                                      #:57838




                                                                                                       _                             Page 12 of 12



                      123 Ca1.App.4th 751                                                                                       Page I1

                      123 Cal.App.4th 751, 19 Cai.Rptr.3d 916, 04 Cal. Daily Op. Serv. 9657, 04 Cal. Daily Op. Serv, 30,191, 2004
                      Daily Journal D.A.R. 13,211
                      (Cite as : 123 Cal,App.4th 751)                                     '


                                       IV. DISPOSITION                            the laws of the State of New York" did not preclude
                                                                                  the applicability of the FAA, In Blue Crass of
                      The order denying the petition to compel arbitration        California v. Superior Court {1998) 67 CaLApp.4th
                      is reversed. Upon issuance of the remittitur, the           42, 62-63, fn. 8, 78 Cal.lZptr.2d 779 , we said that
                      trial court is to grant the motion to compel *766            Yolt Information Sciences, inc. v, Board of Trustees
                      arbitration and stay civic proceedings. Defendant,          (1989) 489 U.S. 468, 109 S.Ct 1248, 103 L.Ftl.2d
                      Isaac Larian, is awarded hts costs on appeal from           488"does not stand for the proposition a general
                      plaintiff, Farhad Cation.                                   choice of law provision evidences in ell cases an
                                                                                  express intent to incorporate a state's arbitration
                      1 concur. GKIGNON, J.MOSiC, J., Concurring.                 rules into an arbitration agreement."
                      1 concur in the result.
                                                                                  *767 1€ we did apply federal law, the result would
                      There was an arbitration pursuant to the September          be the same. Both federal and California state law
                      28, 2000 Agreement to Arbitrate and Selection of            have adopted the principle. of separabiGry by which
                      Arbitrator. The arbitrator issued an award. Thus,           the arbitrator is given the power to determine the
                      because the arbitration had already taken place,            validity of the contract without calling into question
                      #here was no need to compel arbitration **927               the validity of the arbitration clause from which he
                      under that agreement , 'the parties entered into a          or she derives his ar her power. (Ericksen,
                      new agreement on December 4, 2000, and pursuant             Arbuthnot, McCarthy, Kearney & Walsh, Inc v.
                      to that agreement signed mutual general releases.           100 Oak Street {1983 ) 35 Ca1 .3d 31Z, 3I5, 197
                      Therefore, the only existing agreement between the          Ca1.Rptr. 58I, 673 P.2d 251; Prima Paint Corp, v.
                      parties was the December 4, 2000 agreement. That            Flood & Conklin Mfg. Co. (1967) 388 U .S, 395, 87
                      agreement contained an arbitration provision. I             S,Ct. 1801 , 18 L.Ed.2d 1270; I Domko on
                      believe that arbitration should be compelled on the         Commercial Arbitration (3d ed .2003 ) § 11.2, pp.
                      basis of that arbitration provision.                        11.6-11.10.}

                      The December 4, 2000 agreement that contains the            Accordingly, I agree with the conclusion of the
                      operative arbitration provisions includes Ehe               majority.
                      following choice-of--law clause. "'t'his agreement
                      shalE be construed in accordance with and be                Cal,App. 2 Dist.,2004.'
                      governed by the laws of the State of California."           1,arian v. I,arien
                      The majority conclude that this clause renders the          123 Cal.App.4th 7S 1, 14 Cal.Rptr,3d 916, 04 Cal.
                      Federal Arbitration Ac[, title 9, United States Code        Daily Op. Serv. 9657, 04 Cai, Daily Op. Seto.
                      section I, et seq , (FAA) "inapplicable:'                   10,191, 2004 Daily.Iournal D.A.R. 13,211

                      1 am not so certain chat the choice-of--law clause          EKED OF DOCUMENT
                      does exclude the application of the FAA. The issue
                      is whether the applicable choice-of--law clause
                      manifests an intention to be governed by California
                      procedural rules applicable to arbitrations. (See
                      Mount Diablo Medical Center x Health Net aJ
                      Cvlifornia, Inc. (2002) 101 Cal.App.4th 711, 722,
                      124 Cal.Rptr.2d 607.) In Mastrobuono v.
                      Shearson Lehman Huttors, Inc, (1995) 514 U,S, 52,
                      58-59, 115 S.Ct. 1212, 13I L.Ed,2d 76, the United
                      States    Supreme     Cautt concluded that        a
                      choice-of--law clause dealing w'rfh a clause
                      specifying that the agreement "shall be governed by

                                                ^ 2007 ThonuonlWest. Na Claim to Orig . U.S. Govt. Works.


EX NEBIT          ^
PAGE                  3^ ----- -
           http://web2 .westlaw.comlprintlprintstreaut .aspx?prft=HTMI.E&destiNation=atp&s^=SplitBrrs=Wi.W7.I... 11 /2912UO7
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 91 of 95 Page ID
                                  #:57839




                               EXHYBrT 17
  Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 92 of 95 Page ID
                                    #:57840




                                                                •
            42/491 045 c8:61 FRS 8187274132                F^tlttA LINGERIE                                         X402




                                                                                                    Monad Zarabi
                                                                                            20120 l?lummer Street
                                                                                           Chatswozth, GA 91311




                       'FebnEary 8, 2403

                       i:ac5imile T,ctter

                       Dear Gentltmcn:

                       Please be advised that i aru unavailable to act as en arbitrator regarding any disputes
                       bctvrcca Farhad I,arian apd Isaac i.arian canceming the controversies ttrat arc the subject
                       ofmy selection as arbitrator, For your zeferepce, iCambiz 2erabi is also unavailab]e.

                       Accordingly, putsparrt to paregrap6 9 of the Sale Agreement, i aaI appointing Iudiclal
                       Arbitcatiats astd Mediation Services, Inc. ("JAIvLS") as my successor arbitrator. Tl^e
                       parses arc instructed to select and hire one of t6c panel members ^vith hus'mess dispute
                       exFrcricnce. If you are unable to agree upon an arbitrator within twenty {20) days after
                       delivery of this letter, then 7AM5 Is authorized to select the arbitrator for you in its
                       discretion. Upon your advising me of the identity of [lie aew arbitrator, I wilt forward a]!
                       my files, including the original stock e4rti5cate evidencing the sale, to We 1lcty arbitrator.
                       LAMS can be contacted at 213-6Z0-i i 33.

                       Should you have any questions, please feel free to contact me iA writing onl}r,




                        Marad ^arebi

             y;         Cc:
            ,-          By email:       Mr. );red T,arian
                        By email        ^Tr. Tisaac I:arian
            :;                          Mt. Ellis St4It1
                                        Mr. Robert Turner Esq. , Ati4mey far Isaac I.arian
                                        ]:vlr. Mark17. ^tncr--Attorney{or^redI,erlan




                                                                                                                   Exhibit 42
                                                                                                                   Page 1 of 1




EKHlBIt_ .---^--'-^"
PAGE       32`
Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 93 of 95 Page ID
                                  #:57841




                               EXHrBrT 18
     Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 94 of 95 Page ID
                                       #:57842




                           SUp^HEO^i COURT 0^ CALIFORNIA, COUNTY O^ LOS ANGEl^S

          DAT&: 05/04/05                                                                      '         DEA'i. 45

          HoKOrcAa[.6 RODNEY E. NELSON                           ^t   Is . LQPISZ                    aErurY cLtxt;

          HONORASLS                                      lUOG@ pR0           •                    ELECTItON1C RECOR>}IHG h10NiTOR

                      C. VA(7GHN/CTRM ASST                  ncpu[ys   NOi+'[E                                Reporttt.

           8:30 am BC3t71371                                          AGia[iFf
                                                                      Cru[uel
                          FARHAD BRIAN                                             NO APPEARANCES
                          VS                                          Oefondun[
                          TSAAC LRRTAN ET AL                          Cnunscl




                          I4A^'[JR£ OF PIZ4CEEb^^1C5:

                          COURT ORDFiR


                          IThe Court is in receipC of Defendants notice that the
                          Ipazties are unable tq agree to an arbitrator.

                          The Court hereby selects Retired fudge Alan B. Haber
                          ias Arbitrator.

                           Counsel axe to contact the Arbitrator and ensure that
                          .proceedings are realized.

                          Clerk to girre notice.

                                       CLERK'S CERTIFICATE OF MATLTNG/
                                          NOTICE OF ENTRY OF DRDER

                          I, the below named Executive Officer/Clerk of the
                          above-entitled court, do hereby certify that I am not
                          a party to the cause herein, and that this date I
                          served Notice of Entry of the above minute order of
                          05/04/2005 upon eaoh party or counsel named below by
                          depositing in the United States mail ak the courthouse
                          in Los Angeles, California, one copy of the
                          original entered herein in a separate sealed envelope
                          Ear each, addressed as shown below with the postage
                          therean•fully prepaid.
                          Date: May 9, 2005>


                                                                      _                              MIN^'TE8 E^EF^fl
                      :                                 Page      l of 2          WEPT. 4b           05/04/05
                      ^                                                                              COgNTY CLERIC
                      3
                      i                                                                 -




 y   ^j



^^^^          ^Z                                                           ^.
 Case 2:04-cv-09049-DOC-RNB Document 3337-4 Filed 04/28/08 Page 95 of 95 Page ID
                                   #:57843




       i'
            ^       a   '     t
                                        SUPERIOR COURT O^ CALEE=QRNIA, COUNTY OE^ LOS ANG^E_ES
                ^           f.•



                    onr^: 05/04/05                                                                                        UER'^'. 46

                    NoNOSine^e RODNEY E . NELSON                             ^uncE    E , LOPEZ                     Derury es^wc

                    EiOhDRA8k.£                                      JUDGE YRO TEM                             £LEC'iAONiC ^CORD4NG MONISOA        't
                                   C.    V}+.UGHN/GERM ASST             ^ry Shenf'f   NONE                                    Reporur

                        6:30 am SC30I371                                              J^t^rti[f
                                                                                      c«^u
                                       FAItHAI3 73A^tIAN                                           NO AP^SARANCES
        ^                              V9                                             nelrnaxm                        .
                                       ISAAC LARIAN ET AL                             Cou^ef
       ,I                                                                                                                                     :I


       .`
                                       lVATUIi$ Ole PROCEEU[PIG5:

                                       .john A. Clarke, Executive Officer/Clerk


                                       8y:             r
                                                    E. Lnp z, DepuCy C erk



                                       CONF:LE & OL5TEN
                                       ERIC ENGEL
                                       3130 FIILSHIRE BLVD., STE. 540
                                       SANTA MONICA, CA 94803



                                       tCAY SCHOLER
                                       CARRY FELDI^lAt+I
                                       1999 AVENUE OF THE STARS, STS, 1'740
                                       C.OS ANGELES, CA 9x467




                                                                                                                    bdINIITSS ENJ,'ERBD
                                   i                                Page     2 0€ 2               DEPT. 46          OS/44/05
                                                                                                                    COCRlT3:' CLSRIt




^^^^                              323
